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                        EXHIBIT 1
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                                             STANDARD FORM OFFICE LEASE
                                                    (BASE YEAR)




    This Standard Fonn Office Lease ("Lease"), dated for reference purposes only as of March 21, 2012, is entered Into
    by ~nd between PTF FOR OPERATING ENGINEERS, LLC, a Delaware limited liability company ("Landlord"), and
    ASSOCIATED THIRD PARTY ADMINISTRATORS, a Callfornla corporation ("Tenant'').

                                                                    ARTICLE I

                                                  BASIC LEASE PROVISIONS

              Each reference In this Lease to the "Basic Lease Provisions• shall mean and refer to the following terms, the
    application of which shall be governed by the provisions In the remaining Articles of this Lease.

    1.          Address of Landlord:               c/o McMorgan & Company .LLC .
                                                   One Front Street, Suite -500· .:.. · . .)
                                                   San Francisco, California 94111
                                                   Attn: Asset Manager

    2.          Premises Address:                  1640 South Loop Road
                                                   Alameda, California 94501

    3.          Address ofTenant:                  1640 South Loop Road
                                                   Alameda, California 94601


    4.       Tenant's Trade Name: Associated Third Party Administrators
                                             ..... ~t·=rllik;..:.
    5.       Tenant's Contact: Diane Gist,   Si:i.h~J.-Slfy.der      Telephone: (610) 337-3050

    6.       Building Square Footage: The parties have agreed that the Premises will be deemed to consist of 49,067
             rentable square feet, regardless of whether or not the actual number of rentable square feet Is greater or
             less than such agreed number of rentable square feet.

    7.       Commencementoate: July 1, 2012

    8.       Term: Sixty-Five (65} Months

    9.       Monthly Rent: The Monthly Rent payable by Tenant under the Lease during the Term shall be as·follows:

                     Period of the Term                             Monthly Rent for Each
                                                                    Month During the Period

                      July 1, 2012 -.Nov. 30, 2013                      $69,771.84
                      Dec. 1, 2013- Nov. 30, 2014                       $99,056.46
                      Deo, 1, 2014 - Nov. 30, 2016                     $102,028, 15
                      Dec. i, 2015 - Nov. 30, 2016                     $105,089.00
                      Dec. i, 2016 - Nov. 30, 2017                     $108,241.67



    Alternate Monthl~ Rent Table If no Qualified Guarantor Regapitallzatlon

    Notwithstanding the above table, from and after October 1, 2013, the Monthly Rent shall be the following If there Is no
             Qualified Guarantor Recapitalization by September 30, 2013:

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                       Period of the Term                    Monthly Rent for Each
                                                             Month During the Period

                       Oct. 1, 2013" Nov. 30, 2013             $58,977.10
                      Dec, 1, 2013 ·Nov. 30, 2014              $88,261.72
                      Dec. 11 2014 ·Nov. 30, 2015              $91,233.41
                      Dec. 1, 2015 • Nov. 30, 2016             $94,294.26
                      Dec, 1, 2016 ·Nov. 30, 2017              $97A46.93


    10.         Letter of Credit: $50,000.

    11.         Permitted Uses: General office purposes consistent with a first-class office bulldlng, all In accordance with
                Applicable Laws and the CC&Rs (as hereafter defined) and pursuant to approvals which have been
                obtained by Tenant or which are to be obtained by Tenant from all relevant City, County and other
                governmental agencies and authorities having jurisdiction.

    12.         Brokers: Cushman &Wakefield of California, Inc. ls repreaentlng Landlord.

                CM Commercial Real Estate, lno, ("Broker") Is representing Tenant

    13.         Landlord's Architect: as designated by Landlqrd from time to time

    14.         Guarantor: United Beneftts and Pension Services, Inc.

    15.         Vehicle Parklng Spaces: Approximately 174 unreserved, unassigned vehicle parking spaces (or such
                number as exist on the Premises, from time to time),

    16.         Additional Insureds: Landlord; McMorgan and Company LLC

    17.         Tenant's Minimum Liability Insurance Limits: $5,000,000

    18.         Operating Expense Base Year: July 1, 2012 to June 30, 2013

    Exhibits:      Exhibit A (Legal Description of Property)
                   Exhibit B (Rules and Regulations)
                   Exhibit c (Letter of Credit)
                   Exhibit D (Tenant Improvement Costs Approved as of March 30, 2012)

                                                            ARTICLE II

                                                          DEFINITIONS

             2.1       Certain Deflnjtions. The capitalized tenns set forth below, unless the context clearly requires
    otherwise, shall have the followlng meanings in this Lease.

             "Additional Renf' means any and all sums (whether or not specifically called "Addltlonal Renf' In this Lease),
    other than Monthly Rent, which Tenant Is or becomes obligated to pay to Landlord under this Lease, but not Including
    Tenant's obllgatlons for damages due to Improper use of the Premises, waste, or for Indemnification, defense or
    attorneys' fees and costs. See also Rent.

              'Alteratlons" means any alteratlons, decorations, modifications, additions or Improvements made In, ori,
    about, under or contiguous to the Premises (or relating to Tenant's use thereo~ by or for the benefit of Tenant (other
    than the Tenant Improvements), Including, but not limited to, telecommunlcalions and data cabling and Wiring,
    lighting, HVAC ·and electrical fixtures, pipes and conduits, transfer, storage and dlspossl fac!llUes, partitions, drapery,
    wall coverings, shelves, cabinetwork and carpeting.


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              "Appllcable Laws" Is defined In Section 5.2.

             "Appllcable Rate" means the greater of seven percent (7%) per annum or three percent (3%) In excess of
    the discount rate of the Federal Reserve Bank of San Francisco in effect on the twenty.fifth (25th) day of the calendar
    month Immediately prior to the event giving rise to the Applicable Rate impos!Uon; provided, however, the Applicable
    Rate shall in no event exceed the maximum Interest rate perniltted to be charged by Applicable Laws.

              ''Brol<er' means, collectlvely, the person(s) or entity(Jes) Identified Jn Item 12 of the Basic Lease Provisions.

             "Building" means that certain building commonly known as 1640 South Loop Road, Alameda, California,
    which Is on and a part of the Premises.

              "Casualty" Is defined In Section 12.1.

            "CC&Rs" means any covenants, conditions, restrictions or other contents of any document recorded, or
    which may In the future be recorded against all or any part of the Premises.

              "City'' means the city in which the Premises are located.

              •commencement Pate' means the commencement date of the Term, described Jn section 3.2.

              •county" means the county in which the Premises are located,

              "Event of Default" means the Tenant defaults described In Section 15.1.

              'Guarantor' means the person(s) or entity Identified In Item 14 of the Basic Lease Provisions, If any.

              'HVAO' means the heating, ventilating and air conditioning system serving the Building.

              "Hazardous Materials" Is defined In Article VI.

             "Landlord's Agents" means Landlord's agents, trustees, representatives, property managers (whether as
    agents or Independent contractors), Investment managers, attorneys, consultants, contractors, partners, managers,
    members, subsidiaries, affiliates, directors, officers and employees, Including, without llmltatian, the Additional
    Insureds named In Item 16 of the Basic Lease Provisions.

             'Landlord's Architecf' means the architect or architectural firm from time to time designated by Landlord to
    perform the function of Landlord's Architect set forth In this Lease.

           "Lease" means this Instrument together with all exhibits, amendments, addenda and riders attached hereto
    and made a part hereof.

           "Monthly Rent" means the monthly rental which Tenant Is to pay to Landlord pursuant to Section 4.1, as the
    same may be adjusted from tlme to time as set forth In this Lease. See also Rent.

              ''Mortgage" means any mortgage, deed of trust, or slmflar lien now or hereafter affecting the Premises or any
    portion thereof, and any renewal, modification, consolidation, replacement and/or extension thereof,

            "Mortgagee" means any mortgagee, beneficiary or lender under any Mortgage now or hereafter affecting the
    Premises or any portion thereof.

              "Notice" means each and every notice, communication, request, demand, reply or advice, or duplicate
    thereof, In this Lease provided or permitted to be given, made or accepted by either party to the other party, which
    shall be In writing and given In accordance with the provisions of Section 21.6.

              "Operating Expenses• means, collectively, Premises Costs and Real Property Taxes.

              'Operating Expense Base Year'' means the period defined In Item 18 of the Basic Lease Provisions;


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           · "Premises" means the premises described In Exhibit A Including the land so described and the Building and
    other Improvements thereon.

               "Premises Costs" Is defined In Section 7.2.

              "Premises Square Footage" means the entire area Included within the Building which Is a part of the
    Premises determined In accordance with the measurement standards set forth In the BOMA ANSI Z65. 1 - 1996
    Standard Method for Measuring Floor Area In Office Buildings as appropriate for single tenant office buildings. The
    Premises Square Footage as of the execution of this Lease Is set forth In Item 6 of the Basic Lease Provisions and Is
    subject to re-measurement In accordance with the provisions of Item 9 of the Basic Lease Provisions.

               "Property" means the real property described In ExbiR!t A.

               "Real Property Taxes" is defined in Section 7.3.

               "Renr means Monthly Rent and Additional Rent, collectively.

             •Rules and Regulations'' means, collectively, the rules and regulations attached hereto as Exhibit C and any
    modifications thereto promulgated by Landlord or Landlord's Agents from time to time.

               'Security Deposit" means the amount set forth In Item 1O of the Basic Lease Provisions.

             'Substantial Completion" and "substantially completed" means the Tenant Improvements, or repair of the
    Premises following a Casualty, have been fully completed except for minor details of construction, mechanical
    adjustments or decoration which do not materially Interfere with Tenan~s use and enjoyment of the Premises (items
    normally referred to as "punch llst' Items), all as reasonably determined by Landlord.

             "Tenant Improvements" means those certain Improvements, If any, to be constructed on the Premises as
    provided In Article XX.

              "Tenant's Agents• means Tenant's agents, representatives, consultants, contractors, affiliates, subsidiaries,
    officers, directors, employees, subtenants, guests, customers and Invitees.

             "Tenant's Personal Property" means 'fenant's removable trade fixtures, furniture, equipment and other
    personal property located In or on the Premises,

               "form" means the term of this Lease, as provided In Section 3.2,

              'Unavoidable Delay" means any delays which are beyond a party's reasonable control, Including, but not
    limited to, delays due to Inclement weather, stril<es, acts of God, inability to obtain labor or materials, inability to
    secure governmental approvals or pennlts, governmental restrlcllons, civil commotion, fire, earthquake, explosion,
    flood, hurricane; the elements, or the public enemy, action or Interference of governmental authorities or agents, war,
    Invasion, Insurrection, rebellion, riots, lookouts or any other cause whether similar or dissimilar to the foregoing which
    Is beyond a party's reasonable control: provided however, that In no event shall any of the foregoing ever apply with
    respect to the payment of any monetary obligation.

             2.2       Other DeflnttlQQ§. Terms defined elsewhere in this Lease, unless the context clearly requires
    otherwise, shall have the meaning as there given.

                                                             ARTICLE Ill

                                                     PREMISES ANO TERM

             3. 1    Lease of Premises, Subject to and upon the terms and conditions set forth herein, Landlord hereby
    leases the Premises to Tenant, and Tenant hereby leases the Premises rrom Landlord.

              3.2       Tenn and Commencement. Unless sooner terminated as provided herein, the Term of this Lease
    shall be for that period of years and/or months set forth In Item 8 of the Basic Lease Provisions, and shall commence
    on the date set forth In Item 7 of the Basic Lease Provisions (the "Commencement Date").

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              3,3        Prior Lease, Tenant Is In possession of the Premises under an Office Building Lease dated
    December 29, 1994, (as amended, the "1994 Lease"). The Tenant shall continue to occupy the Premises under the
    1994 Lease until the Commencement Date under this Lease at which time the term of the 1994 Lease shall be
    deemed to have expired and the Term of this new Lease shall commence. All of Tenant's obligations under the 1994
    Lease shall continue to apply through such expiration of the 1994 Lease and shall be computed and determined
    under and In accordance with the terms of the 1994 Lease. Claims and obligations which are Intended to survive the
    expiration of the 1994 Lease, including without limitation, claims and liabilities under the 1994 Lease for Indemnity,
    defense, maintenance and replacement, and for the payment of rent thereunder, shall continue to apply to any
    claims, liabilities or obligations which arose during or which are allocable to the period prior to the expiration of the
    1994 Lease. Without limiting the generality of the Foregoing, Tenant shall continue to perform all or Its obligations
    under the 1994 Lease relating to the maintenance of the premises and Improvements leased thereunder and shall,
    within ten (10) days after demand and documentation (receipts, work orders, etc.) by the Landlord under this Lease,
    pay all costs paid or Incurred by Landlord for the correction, maintenance or replacement of any Item or matter which
    were not in the condltlon required for surrender of the Premises under the 1994 Lease. Such payment shall be
    additional Rent hereunder and the cost paid or Incurred by Landlord on account of such correction, maintenance or
    replacement shall not be considered to be a Premises Cost hereunder.

               3.4        Option to Extend,

                               (a)       Tenant shall have the option to extend the Term on all the provisions contained In
            this Lease for one (1) five-year period following expiration of the initial Term, by giving written notice of
            exercise of the option (the "Option Notice") to Landlord at least two hundred seventy (270) days but net more
            than three hundred sixty-five (366) days before the expiration of the Initial Tenn. Provided that, If Tenant ls In
            default on the date of giving the Option Notice beyond any applicable cured periods, the Option Notice shall, at
            Landlord's election, be totally lneffeotlve, or If Tenant Is In default on the date the extended Term Is to
            commence, subject to any applicable cured periods, the extended Term In question shall, at Landlord's
            election, not commence and this Lease shall expire at the end of the Term without the extended Term In
            question. Tenant, shall have no other right to extend the Term of this Lease.

                  .            (b)      The Monthly Rent for each of the first twelve (12) months of the extended Term
            shall be the then current Fair Markel Value for the Premises but not less than the Monthly Rent for the last full
            calendar month preceding the extended Tenn after deducting from such Monthly Rent the portion attributable
            to the amortization of the Tenant Improvement Allowance, If any, As used herein, the "Fair Market Value" shoill
            equal the monthly rent being paid for comparable space, with appropriate adjustments for the size of the
            Building and the Premises and the b.ase year, but giving effect only to the following concessions
            ("Concessions"): (a) rental abatement concessions, If any, being granted such tenants In connection with such
            comparable space, and (b) tenant Improvements or allowances provided or to be provided for such
            comparable space, Including design/engineering fees and pennlts, and taking Into account the existing
            improvements In the Premises, such value to be based upon the age, quality and layout of the improvements
            and the extent to which the same could be utilized by Tenant based upon the fact that the precise tenant
            Improvements existing In the Premises are speclflcally suitable· to Tenant, and, (c) real estate brokerage
            commission In connection wlth comparable transactions. The Monthly Rent payable during the second and
            subsequent twelve month periods of the extended Term shall be subject to Increases each December 1st so
            that the Monthly Rent Is three percent (3%) higher than the Monthly Rent which was payable under this Lease
            during the preceding month.

                               (o)    The parties shall have thirty (30) days after Landlord receives the Option Notice In
            which to. agree on Fair Market Value applicable during the extended Term. If the parties agree on the Fair
            Market Value fo~ the extended Term during that period, they shall immediately execute an amendment to this
            Lease stating the terms.

                               (d)       IF the parties are unable to agree on the Fair Market Value for the extended Term
            within that period, then within ten (10) days after the expiration of that period, each party, at Its cost and by
            giving notice to the other party, shall appoint a real estate appraiser with at least five (6) years' full-time
            commercial appraisal experience In the area In which the Premises are located lo appraise and set the Fair
            Market Value for the extended Term. If a party does not appoint an appraiser within ten (10) days after the
            other party has given notice of the name of Its appraiser, the single appraiser appointed shall be the sole
            appraiser and shall set the Pair Market Value for the extended Term. If the two appraisers are appointed by
            the parties as stated In this paragraph, they shall meet promptly and attempt. to set the Fair Market Value for
            the extended Term. If they are unable to agree within thirty (30) days after the second appraiser has been
            appointed, they shall attempt to elect a third appraiser meeting the qualifications stated In this paragraph within

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           ten (10) days after the last day the two appraisers are given to set the Fair Market Value, lfthey are unable to
           agree on the third appraiser, either of the parties to this Lease by giving ten (10) days' notice to the other party
           can apply to the then president of the county real estate board of the county In which the Premises are located
           for the selection of a third appraiser who meets the quallffcatlons stated in this Section, or either party may
           have the third appraiser appointed In the manner provided In Section 1281.6 of the California Code of Civil
           Procedure for appointment of an arbllrator. l::ach of the parties shall bear one-half(%) of the cost of appointing
           the third appraiser and of paying the third appralse~s fee. The third appraiser, however selected, shall be a
         , person who has not previously acted In any capacity for either party,

                                (e)      Within thirty (30) days after the selection of the third appraiser, a majority of the
            appraisers shall set the Fair Market Value for the extended Term. If a majority of the appraisers are unable to
            set the Fair Marl<et Value within the stipulated period .of time, the three appraisals shall be added together and
            their total divided by three; the resulting quotient shall be the Fair Market Value for the Premises during the
            extended Term. If, however, the high appraisal Is more than one hundred ten percent (110%) tlmes the middle
            appraisal, or If the low appraisal Is fess than 90% times the middle appraisal, or both, then such apprafsal
            which exceeds such percentage (In the case of the high appraisal) or which Is lower than such percentage (In
            the case of the low appraisal) shall be disregarded. ff only one appraisal is disregarded, the remaining two
            appraisals shall be added together and their total dlvlded by two, and the resulting quotient shall be the Fair·
            Market Value for the Premises during the extended Term. If both the low appraisal and the high appraisal are
            disregarded In the manner prescribed In this paragraph, then the middle appraisal shall be the Fair Market
            Value for the Premises during the extended Term.

               3,6       Tenant Tennlnatlon Right. Tenant shall have the one-time right to cause the Term of this Lease to
     expire on the last day of the forty-first (41st) full calendar month of the Tenn of this Lease by giving notice exercising
     such right of early termination to Landlord at least twelve (12) full calendar months prior to the date on which the
     termination will become effective. To be effective, such notice must be accompanied by the payment of the "Early
    Termination Fee." As used herein the "Early Tennina!lon Fee" Is the sum of the following: (i) the amount of the
     unamortized leasing commissions and Tenant Improvements paid for by Landlord hereunder as of the last day of the
     sixth (6th) month foiiowlng the effectlve date of the tennlnatlon; (II) the amount of the unamortized Imputed Free Rent
     provided hereunder as of the last dEiY of the sixth (6th) month following the effective date of termination; and (iii) the
    Monthly Rent plus Operating Expenses which would be payable In months 42 through 47, Inclusive, under this Lease
    If such termination were not exercised, The amounts In clauses 3.5(i) and (Ii) above shall be calculated using an
    'interest rate factor of B.5% per annum commencing as of the Commencement Date and assuming that such amounts
     are amortlwd evenly over the Initial Term of the Lease,. without extension or early termination. The amounts in
     clause 3.5(111) above shall equal the actual Monthly Rent for the months In question and six times the Additional Rent
     estimated, by Landlord, to be payable for the last full calendar month of the Term prior to the effective date of the
     termination. As used herein, the term "Imputed Free Rent" Is Four Hundred Eighty Thousand, Eight Hundred Fifty.
     Six and 60/1 oo Dollars ($480,856.60), which Is the amount derived when the agreed rentable square feet of the
     Premises, 49,067, Is multlplled by five (5) months and then multiplied by $1.96.

             3.6     'AS-Js• Condition of Premises. Tenant shall accept the Premises from Landford in Its "AS-IS'
    condition and Tenant acknowledges and agrees that Landlord has no obllgatron to Improve, alter or remodel the
    Premises in <iny-mannerwhatsoever,

              3.7     No Representations. Tenant acknowledges that neither Landlord nor any of Landlord's Agents has
    made any representations or warranties as to the suitability or fitness of the Premises for the conduct of Tenant's
    business, Including, but not llmrted to, any representations or warranties regarding zoning or other land use matters,
    or for any other purpose, and that neither Landlord nor any of Landlord's Agents has <igreed to undertake any
    alterations or additions or construct any tenant Improvements to the Premises except as expressly provided ln this
    Le<ise.

              3.8      Landlord Termination Right. If at any time during the Term the Landlord determines that
    termination of the Lease is required for continuing compliance with the Employee Retirement Income Security Act of
    1974, as amended ("ERISA") by Landlord, this Lease shall termlnate upon one hundred eighty (1BO) days' written
    notice to Tenant by Landlord. Landlord shall notify Tenant as soon as lt ls reason<ibly determined that termination of
    the Lease Is necessary In order to comply with ERISA. ff Landlord receives a notice of action or Intended action by
    the l.R.S, or the Department of Labor or other agencies which leads Landlord to believe that It must terminate the
    Lease, Landlord will advise Tenant of the notice. Landlord will allow Tenant to participate at all levels of appeal with
    said agency and exhaust any administrative remedies with the agency before terminating said Lease under this
    paragraph.


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                                                   RENT ANO ADJUS'J"MENTS

             4.1       Monthlv Rent. From and after the Commencement Date, Tenant shell pay to Landlord, for each
    calendar month of the Term, the Monthly Rent set forth In Item 9 of the Basic Lease Provisions. Monthly Rent shall
    be due and payable to Landlord In lawful money of the United States, In advance, on the first (1st) day of each
    calendar month of the Term, without abatement, deduction, claim or offset, and without pJior notice, invoice or
    demand, at Landlord's address set forth In Item 1 of the Basfo Lease Provisions or at such place as Landlord may
    from time to time designate.

             4.2      Additional Rent. All Additional Rent shall be due and payable to Landlord in lawful money of the
    United States, at Landlord's address set forth In Item 1 of the Basic Lease Provisions or at such other place as
    Landford may from time to time designate, without abatement, deduction, alarm or offset, within ten (10) days of
    receipt of Landlord's Invoice or statement for same, or, If this Lease provides another time for the payment of certain
    Items of Additional Rent, then at such other time.

            4.3       e_roratlons. If the Commencement Date Is not the first (1st) day of a month, or ff the expiration of
    the Term of this Lease Is not the last day of a month, a prorated Installment of Monthly Rent based on a thirty (30)
    day month shall be paid for the fraction al month during which the Term commences or expires, as applicable.

             4.4      Application of Paxrnents. Landlord shall have the right to apply payments received from Tenant
    under this Lease to any sums past or currently due under this Lease, whether Monthly Rent, Addftlonal Rent or
    otherwise, In such order and in such amounts as Landlord, In Its sole discretion, may elect, regardless of any
    designation of such payments by Tenant to the contrary.

               4.5     Late Payment Charaes. Tenant acknowledges that late payment by Tenant to Landlord of Rent
    under this Lease will. cause Landlord to incur'costs not contemplated by this Lease, the exact amount of which Is
    extremely difficult or Impracticable to detennlne. Such costs Include, but are not limited to, processing and
    accounting charges, late charges that may be Imposed on Landlord by the terms of any Mortgage, and late charges
    and penalties that may be Imposed due to late payment of Real Property Taxes, Therefore, if any Installment of
    Monthly Rent or any payment of Additional Rent due from Tenant Is not received by Landlord In good funds by the
    fifth 5th) calendar day from the applicable due date, Tenant shall pay to Landlord an additional sum equal to five
    percent (5%) of the amount overdue as a late charge for every month or portion thereof that such amount remains
    unpaid. The parties acknowledge that this late charge represents a fair and reasonable estimate of the costs that
    Landlord wili Incur by reason of the late payment by Tenant. Acceptance of any late Rent and late charge therefor
    shall not prevent Landlord from exercising any of the other rights and remedies avallable to Landlord for any other
    Event of Default under this Lease. In no event shall this provision for a late charge be deemed to grant Tenant a
    grace period or extension of time within which to pay Rent or prevent Landlord from exercising any of the other rights
    and remedies available to Landlord for any Event of Default under this Lease. Notwithstanding the foregoing
    (I) should any payment of Rent by personal check be rejected for Insufficient funds, Landlord shall have the right,
    upon notice to Tenant, to require that all future payments by Tenant under this Lease be by cashier's check
    acceptable to Landlord, and (II) upon the third (3rd) occurrence during the Term of Tenant's failure to tlmely pay Rent
    when due, Landlord may, upon notice to Tenant, require that Monthly Rent For the balance of the Term be made In
    quarterly Installments, In advance, In an amount equal to the sum of the Monthly Rent amounts payable during such
    three (3) month period. Notice Is hereby given to Tenant that the acceptance of partial Rent by Landlord shall not
    constitute a waiver by Landlord of any rights, lnc/udlng, without llmllatlon, the rlght of Landlord to recover possession
    of the Premises and/or sue for the remaining balance owed. The foregoing notice shall be deemed to constitute
    notice to Tenant as required under California Code of Civil Procedure Section 1161.1(c).

            4.6 . Grace Period. Tenant shall have a one·tlme grace provision for late payments wherein no late
    payment penalty will be applicable so long as Tenant submits the full payment due within three (3) business days of
    delinquency notice from Landlord.

                                                            ARTICLE V

                                                                USE

              6, 1      Tenant's Use. Tenant shall use the Premises solely for the purposes set forth In Item 11 of the
    Basic Lease Provisions and shall use the Premises for no other purpose, Tenant's use of the Premises shall be
    subject to all of the terms and conditions of this Lease, Including, but not llmlted to, all the provisions of this Article V.

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    Tenant, at Tenant's sole cost and expense, shall procure, maintain and make available for Landlord's Inspection
    throughout the Term, all governmental approvals, licenses and permits required for the proper and lawful conduct of
    Tenant's permitted use of the Premises. At Landlord's request, Tenant shall deliver copies of all such approvals,
    licenses and permits to Landlord.

               5,2        Compliance with Applicable Laws. As of the Commencement Date forward, and throughout the
    Term, Tenant, at Tenant's sole cost and expense, shall comply with, and shall not use the Premises, or suffer or
    permit anything to be done In or about the same which will In any way conftlct with, (I) any and all present and future
    laws, statutes, zoning restrictions, ordinances, orders, regulations, directions, rules and requirements of all
    governmental or private authorities having jurisdiction over all or any part of the Premises (Including, but not limited
    to, state, municipal, county and federal governments and their departments, bureaus, boards and officials) pertaining
    to the use or occupancy of, or applicable to, the Premises or privileges appurtenant to or In connection with the
    enjoyment of the Premises, (II) any and all applicable federal, state and local laws, regulations or ordinances
    pertaining to air and water quality, Hazardous Materials (as defined In Article VI), waste disposal, air emissions and
    other environmental or health and safety matters, zoning, land use and utility availability, which Impose any duty upon
    Landlord or Tenant directly or with respect to the US£;l or occupation of the Premises or any portion thereof, (Ill) the
    requirements of the Board of Fire Underwriters or other similar body now or hereafter constituted relating to or
    affecting the condition, use or occupancy of the Premises or any portion thereof, (iv) any covenants, conditions,
    easements or restrictions, Including, but not limited to, the CC&Rs, now or hereafter affecting or encumbering the
    Premises or any portion thereof, regardless of when they become effective, and (v) the Rules and Regulations,
    (collectively, (I) through (v) above are hereinafter referred to as "Applicable Laws"). Tenant shall not be required to
    comply with any law that requires structural alterations unless the structural alterations are required as a result of
    Tenant's Alterations to the Building or Premises or any structural alteration triggered by any use specific to Tenant or
    triggered by any change In use by Tenant. Tenant shall immediately furnish Landlord with a copy of any notices
    received from any governmental agency, Insurance company, or Inspection bureau In connection with the Premises,
    Tenant shall not commit any waste of the Premises, or any public or private nuisance or any other act or thing which
    might or would disturb the quiet enjoyment of any other person or entity. Tenant shall not place or pennlt to be
    placed any loads upon the noors, walls or ceilings in excess of the maximum designed load specified by Landlord or
    which might damage the Premises or the Building, or place or permit to be placed any harmful liquids In the drainage
    systems, and Tenant shall not dump or store, or permit to be placed or stored, any Inventory, waste materials, refuse
    or other materials or allow any such materlals to remain outside the Building proper, except In designated enclosed
    trash areas. Tenant shall not conduct or permit any auctions, sheriffs sales or other like activities at the Premises.
    As of the Commencement Date, Landlord shall be responsible for the lnstallatlon of all changes or upgrades to the
    Building structure or major Building systems, If any, required by any Applicable Laws, unless cause<! by or required in
    connection with: (I) Tenant's lnltlal work; (JI) any Alteration during the Term; (Iii) any change In use by Tenant: or,
    (Iv) any use specific to Tenant other than general office uses.

              5.3      ~. Tenant agrees that this Lease Is subject and subordinate to the CC&Rs, as the same may
    now or hereafter exls~ and that It wlll execute and deliver to Landlord within ten (10) days of Landlord's request
    therefor, any further documentation or Instruments which Landlord deems necessary or desirable to evidence or
    effect such subordination, Without limiting the provisions of Section 5.2, Tenant shall, throughout the T£;lrm, timely
    comply with all of the terms, provisions, conditions and restrictions of the CC&Rs which pertain to, restrict or affect
    the Premises. or Tenant's .use thereof,. or. Tenant's use of any other. area of the Premises permitted hereunder,
    Including the payment by Tenant of any psrlodlc or-special dues or ·assessments charged against the Premises or
    Tenant which may be allocated to the Premises or Tenant In accordance with the provisions of the CC&Rs. Periodic
    or special dues and assessments which would constitute Premises Costs under this Lease If paid by the Landlord
    shall be paid by Landlord and such payments shall be treated as Premises Costs hereunder. Tenant shall hold
    Landlord, Landlord's Agents and the Premises harmless and shall Indemnify, protect and defend Landlord and
    Landlord's Agents from and against any loss, expense, damage, attorneys' fees and costs or liability arising-out of or
    In connecUon with the failure of Tenant to so perform or comply with the CC&Rs. Tenant agrees that It will
    subordinate this Lsase to any other covenants, conditions and restrictions and any reciprocal easement agreements
    or any similar agreements which Landlord may hereafter record against the Premises and to any amendment or
    modlftcatlon to any of the existing CC&Rs, provided that such subordination does not unreasonably Interfere with
    Tenanfs access to or use and enjoyment of the Premises,

               5.4      Landlord's Right of Entry. Landlord and Landlord's Agents shall have the right to enter the
    Premises at all reasonable Hmes upon twenty four (24) hour notice to Tenant (except for emergencies or to provide
    janitorial services, In which case no notice shall be required) to inspect the Premises, to take samples and conduct
    environmental Investigations, to post notices of nonresponslbllity and similar notices and signs Indicating the
    availability of the Premises for sale, to show the Premises to Interested parties such as prospective lenders and
    purchasers, to perform Landlord's obligations (or to exercise Its rights) under this Lease, to perform Tenant's
    obllgaHons as pennltted herein when Tenant has failed to do so and, at any rea1Sonable time after one hundred eighty
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    (180) days prior to the expiration of the Term~ to place upon the Premises reasonable signs Indicating the avallablllty
    of the Premises for lease and to show the Premises to prospective tenants, all without being deemed to have caused
    an eviction of Tenant and without any llablllty to Tenant or abatement of Rent. The above rights are subject to
    reasonable security regulations of Tenan~ and In exercising Its rights set forth herein, Landlord shall use
    commercially reasonable efforts to minimize Interference with Tenant's business. Landlord shall at all times have the
    right to retain a key which unlocks all of the doors In the Premises, excluding Tenant's vaults, safes and other areas
    as reasonably designated by Tenant and necessary to preserve Tenant's confidential or property Information, and
    Landlord and Landlord's Agents shall have the right to use any and all means which Landlord may deem proper to
    open the doors in an emergency to obtain entry to the Premises, and any entry to the Premises so obtained by
    Landlord or Landlord's Agents shall not under any circumstances be deemed to be a forcible or unlawful entry Into, or
    a detainer of, the Premises, or an eviction ofTenant from the Premises.

                                                         ARTICLE VI

                                                 HAZARDOUS MATERIAL.S

                With respect to the Premises, Tenant, at Its sole cost and expense, shall comply with all laws, ordinances,
    regulations, and· standards regulating or controlling hazardous wastes or hazardous substances, Including, without
    limitation, the Comprehensive Environmental Response, Compensation, and Llablllty Act of 1980, as amended, 42
    U,S.C. 9601, ~•• the Hazardous Material Transportation Act, 49 U.S,C. 1801, et seq., the Resource Conservation
    and Recovery Act, 42 U.S.C, 6901, et seg.; the Carpenter-Presley-Tanner Hazardous Substance Account Act, Health
    and Safety Code Section 25300, et seq.; the Underground Storage of Hazardous Substance Act, Health and Safety
    Section 25280, et seq.; the ·safe Drinking Water and Toxic Enforcement Act of 1986 (Health and Safety Code
    Sections 25249.5, et seq.); and the Hazardous Waste Control Law, Health and Safety Code Sections 25100, illfilt,
    (the "Environmental Laws"). Tenant shall Indemnify, defend, protect and hold harmless the Landlord, the Landlord's
    Agents and any successors to the Landlord's Interest In the chain of title to the Premises, their respective Landlord's
    Agents, and agents from and against any and all claims, suits, demands, response costs, contribution costs,
    llabllltles, losses, or damages, directly or Indirectly arising out of the existence, use, generation, manufacture,
    storage, transportation, release, threatened release, or disposal of Hazardous Materials (defined below) In, on, or
    under the Premises or In the groundwater under the Premises and the migration or transportation of Hazardous
    Materials to or from the Premises or the groundwater underlying the Premises; provided, however, that Tenanrs
    obllgatlon to so Indemnify the Landlord shall not apply to any migration of Hazardous Materials onto the Premises
    from other properties to the extent that Tenant can establish, by clear and convincing evidence, that Tenant did not
    cause, contrtbute to or exacerbate any of the foregoing by Tenant's acts or omissions or by the aots or omissions of
    Tenant's Agents. This Indemnity extends to the costs incurred by Landlord or its successors to reasonably repair,
    clean up, dispose of, or remove such Hazardous Materials In order to comply with the Envlronmental Laws, provided
    Landlord gives Tenant not less than thirty {30) days advance written notice of its Intention to Incur such costs,
    Tenant's obligations pursuant to the foregoing shall survive the expiration or sooner termination of this Lease.
    Tenant's Agents shall not use, generate, manufacture, store, transport, release, threaten release, or dispose of
    Hazardous Materials In, on, or about the Premises unless Tenant shall have received Landlord's prior written consent
    therefor, which Landlord may wlthhold or revoke at any time In Its reasonable discretion, and shall not cause or permit
    the release or disposal of Hazardous Materials from the Premises except In compliance with applicable
    Environmental Laws. Tenant shall _not permit any person, including, without lltnltation, -Tenant's Agents to use,
    generate, manufooture, store, transport, release, threaten release, or dispose of Hazardous Matelials In, on, or about
    the Premises or transport Hazardous Materials from the Premises unless Tenant shall have received Landlord's prior
    written consent therefor, which Landlord may withhold or revoke at any time In Its reasonable discretion and shall not
    cause or permit the release or disposal of Hazardous Materials. Tenant shall promptly deliver written notice to
    Landlord If ii obtains knowledge sufficient to Infer that Hazardous Materials are located on the Premises that are not
    In compliance with applicable Environmental Laws or if any third party, Including, without limitation, any governmental
    agency, claims a significant disposal of Hazardous Materials occurred on the Premises or is being or has been
    released from the Premises, or any such party gives notice of Its Intention to declare the Premises to be Border Zone
    Property (as defined In Section 25117.4 of the California Health and Safety Code), Upon reasonable written request
    of Landlord, Tenant, through Its professional engineers and at Its cost, shall thoroughly Investigate suspected
    Hazardous Materials contamination or the Premises but not Including any or the foregoing which Tenant proves, by
    clear and convincing evidence, were not caused by Tenant or Tenant's Agents. Tenan~ using duly licensed and
    Insured contractors, shall promptly commence and diligently complete the removal, repair, clean-up, and
    detoxlficaHon of any Hazardous Materials from the Premises but not Including any of the foregoing which Tenant
    proves, by clear and oonvlnclng evidence, were not Introduced by Tenant or Tenant's Agents as may be required by
    applicable Environmental Laws.

             Notwithstanding anything to the contrary In this Lease, nothing herein shall prevent Tenant from using
    materials other than Hazardous Matelials on the Premises as would be used In the ordinary course of the Tenant's
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    business as contemplated by this Lease. Tenant warrants and represents to Landlord that Tenant does not In the
    course of the Tenant's current business use Hazardous Materials other than office and cleaning supplies typically
    used in first class office buildings and Tenant agrees that It will not have such supplies, on the Premises, In amounts
    In excess of the smallest a.mounts reasonably necessary for the conduct of Tenant's business. If, during the Term,
    Tenant contemplates utlllzlng Hazardous Materials (or subleases/assigns this Lease to a subtenant or assignee who
    utllizes Hazardous Materials), Tenant shall obtain prior written approval from Landlord. Landlord, at Its option, and at
    the Tenant's expense, may cause an engineer selected by Landlord, to review (a) the Tenant's operations including
    materials used, generated, stored, disposed, and manufactured In the Tenant's business, and (b) the Tenant's
    compliance with terms of this Article VI. Tenant shall provide the engineer with such information reasonably
    requested by the engineer to complete the review. The first such review may occur prior to or shortly following the
    Commencement Date, Thereafter, such review shall not occur more frequently than once each year unless cause
    exists for some other review schedule, The fees and costs of the engineer shall be paid promptly by Tenant to
    Landlord upon receipt of wrltten notice of such fees and costs.

               "Hazardous Materials" means any hazardous waste or hazardous substance as defined In any federal, slate,
    county, municipal, or local statute, ordinance, rule, or regulation applicable to the Premises, Including, without
    limitation, the Environmental Laws. "Hazardous Materials" shall also include asbestos or asbestos-containing
    materials, radon gas, petroleum or petroleum fractions, urea formaldehyde foam Insulation, transformers containing
    levels of polychlorlnated blphenyls greater than 60 parts per mllllon, and chemicals known to cause cancer or
    reproductive toxicity, whether or not defined as a hazardous waste or hazardous substance In any such statute,
    ordinance, rule, or regulation.

                                                         ARTICLE VII

                                        OPERATING EXPENSES; TAXES; UTILITIES

               7.1      Tenant to Pay Increases In Operating Expenses, Tenant shall pay to Landlord, as an Item of
    Additlonal Rent, Operating Expenses In excess of the Operating Expenses paid or incurred by Landlord during the
    Operating Expense Base Year as follows: Prior to July 1, 2013, and prior to each July 1 thereafter during the Term,
    Landlord shall give Tenant Landlord's written estimate of the amount by which Operating Expenses for the next fiscal
    year (from July 1 through June 30, Inclusive) or partial fiscal year, as the case may be, are estimated to exceed the
    Operating Expenses for the Operating Expense Base Year, Commencing on July 1, 2013 and continuing thereafter
    throughout the Term, Tenant shall pay, as an Item of Additional Rent, such estimated amount, notice of which shall
    be provided to Tenant by Landlord, In equal monthly installments, In advance, on or before the first (1st) day of each
    calendar month. If l.andlord has not furnished Its written estimate by the time set forth above, Tenant shall pay
    monthly Installments of Operating Expenses for the fiscal year In question at the rate established for the p1ior fiscal
    year, If any; provided that when the new estimate Is delivered to Tenant, Tenant shall at the next monthly payment
    date pay Landlord any accrued deficiency baaed on the new estimate, or l.andlord shall credit any accrued
    overpayment based on such estimate toward Tenant's next Installment payment hereunder. Within a reasonable
    period of time after the end of each fiscal year starting with the fiscal year which ends June 30, 2014, Landlord shall
    furnish Tenant a statement ('Annual Statement") showing, In commercially re,asonable detail, the actual Operating
    Expenses for such fiscal year In excess of the Operating Expenses paid or Incurred by Landlord during the Operating
    Expense Base Year; provided, however, with respect lo the fiscaLyear-o.during which this Lease expires or sooner
    terminates, rather than wait untll after the detennlnatlon of actual Operating Expenses for such fiscal year to furnish
    Tenant with an Annual Statement for said fiscal year, Landlord may, at Its election, provide Tenant with an Annual
    Statement for such fiscal year prior to the end of such fiscal year based on estimated (not actual) Operating
    Expenses for such fiscal year, as detennlned by Landlord, which Annual Statement shall not be subject to further
    adjustment or reconclllatlon once actual Operating Expenses are determined for such fiscal year. If Tenanfs
    estimated payments are less than the actual amount by which Operating Expenses for the fiscal year In questlon
    exceed the Operating Expenses paid or incurred by Landlord during the Operating Expense Base Year as shown by
    the applicable Annual Statement, Tenant shall pay the difference to Landlord within thirty (30) days thereafter. If
    Tenant shall have overpaid Landlord, Landlord shall credit such overpayment toward Tenant's next lnsti:illment
    payment due hereunder. When the Annual Statement Is furnished to Tenant for the fiscal year'ln which this Lease
    expires or sooner terminates, Tenant shall, even If this l.ease has expired or sooner terminated, pay to Landlord
    within fifteen (16) days after notice the excess of the actual Operating Expenses set Forth In such Annual Statement In
    excess of the Operating Expenses paid or Incurred by Landlord during the Operating Expense Base Year over the
    amounts paid by Tenant on account of such Operating Expenses. Conversely, any overpayment shall be rebated by
    Landlord to Tenant within fifteen (15) days. If this Lease expires or sooner terminates on a day other than the last
    day of a fiscal year, lenant's share of Operating Expenses for such partial fiscal year shall be calculated over the
    entire twelve-month fiscal year, but shall be prorated on the basis by which the number of days from the
    commencement of such fiscal year to and Including the expiration or sooner termination of this Lease bears to 366. If
    l.andlord shall reasonably determine, at any time, that Landlord's estimate of the amount by which Operating
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    Expenses for a fiscal year will exceed the Operating Expenses paid or Incurred by Landlord during the Operating
    Expense Base Year Is or wlll become significantly different than the actual Increase In such Operating Expenses for
    any reason, Landlord may, at Its election, determine the approximate amount of such Inadequacy and Issue a
    supplemental estimate as to Tenant's share of such Operatlng Expenses, and Tenant shall pay any Increase as
    reflected by such supplemental estimate. Landlord shall keep or cause to be kept separate and complete books of
    accounting covering all Operating Expenses and showing the method of calculating the amount of Operating
    Expanses payable by Tenant hereunder, and shall preserve, for at least twelve (12) months after the close of each
    fiscal year, all materlal documents evidencing said Operating Expenses for that fiscal year. Provided Tenant objects
    to the Annual Statement within forty-five (46) days after Landlord's delivery of such statement, for a paliod of one
    hundred twenty (120) days following Tenant's receipt of an Annual Statement, Tenant, at Its sole cost and expense,
    through members of Its accounting staff who are CPAs or a certified public accountant retained by It on a non-
    contingancy fee basis, shall have the right, upon wlitten notice to Landlord Indicating the portion of the Annual
    Statement that Is at Issue, during reasonable business hours at Landlord's offices, to examine and/or a.udlt the books
    and documents mentioned above evidencing such costs and expenses for the period covered by the applicable
    Annual Statement, so long as, at the time of any such examination or audit desired by Tenant no uncured Event of
    Default then exists under this Lease. As a condition precedent to Tenant's exercise of its right of objection, dispute,
    inspection and/or audit as set forth In this SecUon 7.1, Tenant shall not be permitted to withhold payment of, and
    Tenant shall timely pay to Landlord, the full amounts as required by the provisions of this Article VII In accordance
    with the Annual Statement. Tenant shall keep confidential any Information obtained by Tenant or Tenant's
    accountant or agent, as well as the results of the audit and any change In Tenant's share of Operating Expenses
    arising therefrom, If Tenant does not notify Landlord of any objection to the Annual Statement within forty-five (45)
    days of Landlord's delivery thereof, Tenant shall be deemed to have accepted such Annual Statement as true and
    correct and shall be deemed to have waived any right to dispute Tenant's share of Operating Expenses due pursuant
    to such statement. Any delay or failure by Landlord In delivering any estimate or statement pursuant to this
    Section 7. 1 shall not constitute a waiver of Its right to require Tenant to pay Operating Expenses for a particular fiscal
    year to the extent In excess of the Operating Expenses paid or Incurred by Landlord during the Operating Expense
    Base Year pursuant hereto.

               7.2      Definition of Premises Cosh~. The tenn "Premises Costs• means all costs and expenses paid or
    Incurred by Landlord or Landlord's Agents In connection with the operation of the Premises, Including, but not limited
    to, the following: janitorial services, repair and maintenance of the roof, structural frame, foundation and exterior
    walls of the Building and other ·Improvements on the Premises, periodic painting of the Building and other
    improvements on the Premises, periodic cleaning of the exterior windows of the Building, landscaping services,
    outside pest control, normal maintenance and repair of the HVAC through maintenance contracts or otherwise,
    sweeping, maintenance services, repairs to and replacement of asphalt paving, bumpers, striping, light bulbs, light
    standards, monument and directional signs and lighting systems, perimeter walls, retaining walls, sidewalks, planters,
    landscaping and sprinkler system In planting area, any and all assessments levied against the Premises pursuant to
    the CC&Rs, water, electrical and other utility services not supplied directly to a tenant, removal of trash, rubbish and
    other refuse from the Premises, cleaning of and replacement of signs of the Premises, Including relamplng and
    repairs made as required; repair, operation and maintenance of the Premises and payment of all electrical, water and
    other utility oharges or fees for services furnished to the Premises; obtaining and maintaining public llablllty, property
    damage and other forms of lnsuranoi;;1 which Landlord may or Is required to maintain In connection with the Premises
    (Including the payment of any deductibles or self insured retention thereunder): costs Incurred In connection with
    compliance with any laws or changes In laws applicable to the Premises, lncludlng, without limitation, any laws or
    changes In laws regarding Hazardous Materials; establishment of reasonable reserves for replacements and/or repair ·
    of the Premises, equipment and supplies; employment of such personnel as Landlord may deem reasonably
    necessary, If any, to police the Premises and facilities; the cost of any capital Improvements made by or on behalf of
    Landlord to the Premises but only If such capital expenditures are expended to (I) reduce Premises Costs, (ii) to
    repair or to replace existing Improvements or equipment with Ilka-kind or upgraded replacements or, (Iii) required by
    Applicable Law and then only to the extent of the amortized amount thereof over the useful life of such capital
    Improvements (or, In the case of capital Improvements made to reduce Premises Costs, over the "payback" period,
    which Is the shorter of the useful life of the capital Improvement and period over which Landlord estimates the Initial
    cost will be saved In cost savings), caloulated at a market cost of funds, as determined by Landlord, which
    determination Is currently eight (8%) percent, for each year of the applicable amortization period during the Term;
    depreciation of machinery and equipment used In connection with the maintenance and operation of the Premises for
    which a reasonable reserve has not been established as herein provided; employment of personnel used In
    connection with any of the foregoing, Including, but not.llmfted to, payment or provision for unemployment Insurance,
    worker's compensation Insurance and other employee costs; the cost of bookkeeping, accounting and auditing and
    legal services provided In connection with any of the foregoing; the cost of any environmental consultant or other
    services used In connection with Landlord's monitoring of the Premises with respect to Hazardous Materials; the cost
    of any tax, Insurance or other consultant utilized In connection with the Premises; and any other Items reasonably
    necessary from time to time to properly repair, replace, maintain and operate the Premises, Premises Costs shall

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    also Include a management fee to cover managemen~ overhead and administrative expenses; provided however, If
     Landlord elects to delegate Its duties hereunder to a professional property manager, then Premises Costs shall not
    Include any management fee to Landlord (except for any costs and/or administrative and overhead expenses
    reasonably Incurred by Landlord In monitoring and auditing the perfOrmance delegated to the professional property
    manager), but under such circumstances any reasonable amounts paid to the professional property manager shall be
    added to and deemed a part of Premises Costs. Premises management fees payable to Landlord or to another
    property manager shall not exceed three percent (3%) of the Monthly Rent payable hereunder. If Landlord elects to
    perform any maintenance or repair herein described In conjunction with properties other than the Premises, and If a
    common maintenance contractor Is contracted with for such purpose, the contract amount allocable to the Premises,
    as reasonably determined by Landlord, shall be added to and deemed a part of Premises Costs hereunder.
    Premises Costs shall also Include any costs; expenses and other charges levied or charged against Landlord and/or
    the Premises under the CC&Rs. Increases In Premises Costs by reason of a disproportionate impact by Tenant
    thereon (for example, and not by way of limitation, Increases In costs of trash collection because of Tenant's
    excessive generation of trash or Increases In costs of Premises maintenance because of Tenant's unpermitted
    storage of Inventory or materials In the Premises), In Landlord's reasonable judgment, may be billed by Landlord, as
    an Item of Additional Rent, directly to Tenant. Expenditures for capital Improvements or other capital Items which are
    otherwise Included In the definition of "Premises Costs" shall not be Included when computing Premises Costs which
    have been paid or Incurred during the Operating Expense Base Year but shall be Included In computing Premises
    Costs paid or Incurred In all periods subsequent to the Operating Expense Base Year.

              7.3        Premises Costs Exclusions. Premises Costs shall not Include the following:

                                   (a)    Any ground lease rental;

                             (b)     Costs Incurred by Landlord for the repair of damage to the Building to the extent
           that Landlord is reimbursed by Insurance or condemnation proceeds or by Tenant, warrantors or other third
           persons;

                             (c)      Depreciation, amortization and Interest payments, except as speclfically permitted
           elsewhere In the Lease, and except upon materials, tools, supplies and vendor-type equipment purchased by
           Landlord, and when depreciation or amortization Is permitted or required, the Item shall be amortized over the
           reasonably anticipated useful life of the item In question;

                             (d)     Marketing costs Including leasing commissions, attorney's fees In connection with
           the negotiation and preparation of letters, deal memos, letter of Intent, leases, subleases and/or assignments,
           space planning costs, and other costs and expenses Incurred In connection with lease, sublease and/or
           assignment negotiations and transactions with any entity other than Tenant;

                               (e)      Except as permitted elsewhere In the Lease, costs of a capital nature, Including
           without limitation, capital Improvements, capital replacements, capital repairs, capital equipment and capital
           tools ("Capital Items");

                                (f)     lnteres4 principal, points and fees on debt or amortization on any mortgage, deed
            of trust or other debt encumbering the Premises;

                               (g)      Attorney's fees and other costs and expenses Incurred In connection with
            negotiations or disputes with present or prospective Tenants or other occupants of the Building;

                              (h)    Expenses In connection with services or other benefits which are not offered to
           Tenant, or for which Tenant Is charged for directly;

                               (I)      Costs Incurred by Landlord due to the violation by Landlord of the tellTis and
            conditions of any lease of space In the Building;

                              0)       Overhead and profit increment paid to Landlord or to subsidiaries or affiliates of
            Landlord for goods and/or services provided to the Building to the extent the same exceeds the overhead and
            profit that would generally be charged for such goods and/or services If rendered on a competitive basis,
            based upon a standard of comparable buildings by unaffiliated third parties capable of providing such services;
            provided, however, that nothing In this subparagraph 0) shall restrict Landlord's rlght to employ an affiliate of


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           Landlord to manage the Property, to pay such affiliate administrative, management fee and other
           compensation and to Include such aggregate amount in Premises Costs;

                              (k)          Costs of Landlord's general corporate overhead;

                              (I)          Electric power costs for which Tenant dJrecUy contracts with the local public service
           company;

                              (m)          Landlord's charitable or political conttibutlons;

                              (n)      Rentals for Items (except when needed In connection with replacement, repairs or
           maintenance of permanent systems) which If purchased, rather than rented, would constitute a cost of a
           capital nature which Is speclfically excluded above;

                             (o)       Rentals and other related expenses Incurred In leasing HVAC systems, elevators or
           other equipment ordinarily considered to be costs of a capital nature, except for (1) expenses In connection
           with making repairs on or keeping systems in operation while repairs are being made and (2) costs of
           equipment not affixed to the Bulldlng which Is used in providing )anltorlal or similar services;

                              (p)          Advertising and promotional expenditures;

                             (q)       Costs Incurred In connection with upgrading the Property to comply with handicap
           (Including ADA), life, fire and safety codes as such codes are Interpreted to apply to the project by the
           responsible public offlclals as of a time which Is prior to the Commencement Date as indicated in a notice
           received by Landlord prior to the Commencement Date;

                              .(r)   Tax penalties Incurred as a result of Landlord's negligence, Inability or
           unwllllng nsss to make payments and/or to file any Income tax or Informational returns when due;

                              (s)      Costs associated with the operation of the business of the partnership or entity
           which constitutes Landlord as the same are distinguished From the costs of operation of the Premises,
           Including partnership accounting and legal matters, costs of defending any lawsuits with any mortgages
           (except !;ls the actions of Tenant may be In Issue), costs of selllng, syndicating, financing, mortgaging or
           hypothecating any of Landlord's Interest In the Building, or costs of any disputes between Landlord and Its
           employees (If any) not engaged in Building or Project operation, disputes of Landlord with Building
           management;

                              (t)          Costs of signs in or on the Building Identifying the owner of the Building;

                              (LI)     Costs to remove Hazardous Materials from the Premises (other than those:
           (I) Incurred to remove trash, garbage, materials or refuse generated trom the Premises, (II) which are paid or
           lncurred·to address Hazardous Materials whloh-have·appeared:suddenly-and·accldentally or whose removal
           was not required at the Commencement Date; (Ill) to remove Hazardous Materials from the Premises as a
           result of any use or change In use by Tenant or to accommodate any alteration made by or for the benefit of
           Tenant.

                              (v)          Real Property Taxes,

              7.4      Pefinltlon of Real Property Tax§§.. The term 'Real Property Taxes• means any form of tax,
    assessment, charge, license, fee, rent tax, levy, penalty (If a result of Tenaht's delinquency), real property or other tax
    (other than Landlord's net income, estate, succession, Inheritance, or franchise taxes), now or hereafter Imposed with
    respect to the Premises or any part thereof (Including any Alterations), this Lease or any Rent payable under this
    Lease by any authority having the direct or Indirect power to tax, or by any city, county, state or federal government or
    any Improvement district or other district or division thereof, whether such tax or any portion thereof (i) Is determined
    by the area of the Premises or any part thereof or the Rent payable under this Lease by Tenant, Including, but not
    limited to, any gross Income or excise tax levied by any of the foregoing authorities with respect to receipt of !he Rent
    due under this Lease, (II) Is levied or assessed In lieu of, in substitution for, or In addition to, existing or additional
    taxes with respect to the Premises or any part thereof whether or not now customary or within the contemplation of
    Landlord or Tenant, or (Ill) Is based upon any legal or equitable Interest of Landlord In the Premises or any part
    thereof.

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             7.5      ARr;>ortlonment. of Taxes. If the Premises are assessed as part of a larger parcel, then Landlord
    shall equitably apportion the Real Property Taxes assessed against the real property, which Includes the Premises,
    and reasonably determine the amount of Real Property Taxes attributable to the Premises. If other buildings exist on
    the assessed parcel, the Real Property Taxes apportioned to the Premises shall be based upon the ratio of the
    square footage of all buildings within the Premises to the square footage of all buildings on the assessed parcel, and
    the amount of Real Property Taxes so apportioned to the Premises shall be included as part of Operating Expenses.
    Landlord's reasonable determination of such apportionment shall be concluslve.

             7.6       Tax on loJProyements. Tenant shall, at Landlord's election, be directly responsible for and shall
    pay the full amount of any Increase In Real Property Taxes attributable to the Tenant Improvements and any other
    any Improvements of any kind whatsoever placed In, on or about the Premises during the Term for the benefit of, at
    the request of, or by Tenant, which payment shall be made by Tenant to Landlord within ten (10) days followlng
    Landlord's written demand therefor from time to time.

               7.7      Utilities and Services. Landlord agrees to furnish to the Premises (a) during re'asonable hours of
    generally recognized business days, as established by Landlord from time to time ("Building standard hours';
    currently Monday through Friday (excluding Holidays (as deflned below)), 8 a.m. to 6 p.m.), subject to the conditions
    and In accordance with the standards set forth In the Rules and Regulations, as may be amended In writing by
    Landlord from time to time during the Term of this Lease and delivered to Tenant, reasonable quantities of electric
    current for normal lighting and fractional horsepower office machines, water for lavatory and drinking purposes, heat
    and air conditioning required In Landlord's judgment for the comfortable use and occupation of the Premises, and to
    the extent provided In the Building only, elevator service by non-attended automatic elevators, and (b) janitorial
    service, five (5) days per week (excluding Holidays), at such times as determined by Landlord from Hme to time and
    consistent with the standards set forth In the attached Schedule 7.7, Janitorial Specifications, as the same may be
    modified by Landlord from time to time, based on Landlord's property management practices. Except as otherwise
    provided herein, the cost of all such utilities and services shall be Included within the definition of Premises Costs,
    and shall be paid by Tenant In the manner set forth In Section 7.1. Landlord shall not be liable for, and Tenant shall
    not be entitled to terminate this Lease or to any abatement or reduction of Rent by reason of Landlord's failure to
    furnish any of the foregoing when such failure Is caused by accident, breakage, repairs, Unavoidable Delay or by any
    other causes. Tenant may request that specific vendors be used by Landlord for the provision of building operating
    and management services to be furnished by Landlord through Independent contractors hereunder and, so long as
    Landlord has no reasonable objection to such contractors, Landlord shall utlllze such Independent contractors for
    such purposes; provided, however, If the cost of using any such Independent contractor exceeds the bid Landlord
    obtains for such period, then the amount of the cost of the service Included In the Operating Expenses for purposes
    of computing Operating Expenses paid or Incurred In the Operating Expense Base Year, shall not Include the excess
    cost of Tenant's vendor which provides the service, and Tenant shall pay such excess cost for the Operating
    Expense Basa Year on a monthly basis, In a manner similar to that provided In Section 7. 1 hereof. At Landlord's
    election all such contracts shall be with independent contractors who are signatory to a union, collective bargaining
    agreement At Tenant's election, all such contracts shall be with such signatories, provided such signatories are
    ready, willing and able to perform under such contracts. If Tenant requires or utilizes more water or electrical power
    than Is considered reasonable or normal by Landlord, Landlord may at Its option require Tenant to pay, as Additional
    Rent, the cost, as reasonably determined by Landlord, Incurred by such extraordinary usage, In addition, Landlord
    may Install separate meter(s) for the Premises; at Tenant's sole expense, and Tenant thereafter shall· pay all charges
    of the metered service. If suoh utllltles and services (including, without limitation, HVAC service) are requested by
    Tenant during hours other than the Building standard hours, Landlord shall use reasonable efforts to furnish such
    utilities and services upon reasonable notice from Tenant, and Tenant shall pay Landlord's charges for such utilities
    and services therefor on demand as Addltlonal Rent (after.hours HVAC services are charged by Landlord on a per
    hour basis; Landlord's current charge for after-hours HVAC services Is $50 per hour, or any portion thereof, which
    charge Is subject to adjustment by Landlord from time to time); Tenant shall cooperate with any present or ruture
    government conservation requirements and with any conservation practices established by Landlord. If there Is any
    failure, stoppage or Interruption of any services provided hereunder, Landlord shall use reasonable dlllgence to
    resume services promptly. Landlord shall at all times have free access to all mechanical Installations of the Building
    and Premises, Including, but not limited to, air conditioning equipment and vents, fans, ventilating and machine rooms
    and electrical closets, Tenant shall be solely responsible for securing telecommunications services to the Premises,
    all at Its sole cost and expense, and Landlord shall have no responslblllly therefor. For purposes of this Lease,
    "Holidays' means those days recognized by any federal, state or local governmental agency as a holiday which
    Landlord, In Its sole discretion, designates from time to time as "Holidays" for purposes of this Lease, such
    designation being subject to change from time to time. Notwithstanding the foregoing: (i) In the event that, due solely
    to Landlord's negligence or willful misconduct, Landlord Is unable to supply any of the Building's sanitary, electrlcal,
    heating, air conditioning, water, elevator, life safety or other essential system serving the Premises (collectively, the
    "Essentlal Services"), and such inability of Landlord prevents Tenant from using the Premises for a period of five (5)
    consecutive business days after Landlord receives notice from the Tenant that such Essential Services are not being

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    furnished, the Monthly Rent shall be abated on a day-for-day basis for each day commencing with the sixth (6th)
    business day of such prevention and continuing until such prevention ceases, The commencement of such rental
    abatement shall be postponed (or If rental abatement has commenced It shall be suspended) during any period when
    Landlord Is unable to correct the Landlord's Inability to furnish Essential Setvlces due to events or circumstances
    which are not within the reasonable control of the Landlord. such abatement shall be Tenant's sole remedy in the
    event of Landlord's Inability to furnish Essential Services. If there Is any disagreement over the Tenant's right to such
    abatement, then the Tenant shall continue to pay Rent hereunder, without such abatement, and the question of the
    right to such abatement shall be resolved by agreement or, If agreement is not reached within thirty (30) days after
    either party notifies the other party that the disagreement Is subject to a thirty (30) day resolution period, then the
    disagreement shall be resolved by a final judgment of a court of competent jurisdiction,

                                                          ARTICLE VIII

                                                         ALTEMTIONS

               8.1       Permitted Alterations. Tenant shall not make or permit any Alterations without the prior written
    consent of Landlord (which consent shall not be unreasonably withheld, conditioned or delayed). Notwithstanding the
    foregoing, Tenant shall be permitted to make Alteratlons following not less than twenty (20) business days notice to
    Landlord, but without Landlord's prior approval, to the extent any such Alteration Is merely non-structural and
    cosmetic In nature (I.e. re-painting and re-carpeting for which no permit or governmental approval is required) and
    costs less than $50,000 cumulatively over the Term, and provided that such alteration does not affect the exterior of
    the Building, the structure of the Building or the systems and equipment of the Building. Notwithstanding the
    foregoing, In no event shall any Alterations (I) affect the exterior of the Building or the outside areas of the Premises
    (or be vlslble from adjoining sites), (Ii) affect or penetrate any of the structural portions of the Building, Including, but
    not limited to, the roof, or (Ill) require any change to the structural or mechanical components of the Premises,
    (Iv) Interfere in any manner with the proper functioning of or Landlord's access to any mechanical, electrical, plumbing
    or HVAC systems, facilities or equipment located In or serving the Building, or (v) diminish the value of the Premises.
    All Alterations shall be constructed pursuant to plans and specifications previously provided to and, when applicable,
    approved In writing by Landlord, shall be Installed by a licensed contractor al Tenant's sole expense In compliance
    with all Applicable Laws, and shall be accomplished In a good and workmanlike manner conforming in quality and
    design with the Premises existing as of the Commencement Date and In accordance with the provisions of
    Section 22, 1 below, No Hazardous Materials, Including, but not limited to, asbestos or asbestos-containing materials,
    shall be used by Tenant or Tenant's Agents In the construction or Installation of any Alterations permitted hereunder,
    Tenant shall, If required by Landlord, obtain and pay for, at Tenant's own expense, a completion and Indemnity bond
    covering such Alterations, the form and amount of which shall be subject to approval of Landlord. All Alterations
    made by Tenant shall be and become the property of Landlord upon the construction or Installation thereof and shall
    not be deemed Tenant's Personal Property. Landlord may, at Its option, require that Tenant, upon the expiration or
    sooner termination of this Lease, at Tenant's expense, remove any or all Alterations and return the Premises to Its
    condition as of the Commencement Date, normal wear and tear excepted; provided Landlord reserved the light to
    require such restoration at th.e time Landlord consented to such Alterations, Notwithstanding any other provisions of
    this Lease, Tenant shall be solely responsible for the maintenance, repair and replacement of any and all Alterations
    made by or for the benefit of Tenant (Including, without limitation, by Landlord for the benefit of Tenant), In addition,
    Tenant shall be responslble-for,the,payment.oLany Increases In Real Property Taxes that are attributable to any
    Alterations (but not to any Tenant Improvements), which payment shall be made by Tenant to Landlord within ten ,
    (10) days following Landlord's written demand therefor from time to time, Tenant shall reimburse Landlord for all
    costs, fees and expenses lnourred by Landlord with respect to the proposed Alterations. Landlord's approval of any
    plans and specifications for any such work shall not constitute a warranty or representation with respect thereto.

             8.2       Trn9e Fixtures; Taxes. Tenant shall, at Its own expense, provide, Install and maintain In good
    condition all of Tenanfs Personal Property required In the conduct of Its business In the Premlse.s, Tenant shall pay
    before delinquency any and all taxes, assessments, license fees and public charges levied, assessed or Imposed
    against lenant or Tenant's estate In this Lease or the property of Tenant situated within the Premises which becoms
    due during the Term, Including, without limitation any Alterations and Tenant's Personal Property. Upon request by
    Landlord, Tenant shall promptly furnish Landlord with satisfactory evidence of these payments.

             8,3     Meehan!®' Lleoii. Tenant shall give Landlord Notlce of Tenant's Intention to perform any work on
    the Premises which might rssult In any claim of lien at least ten (10) days prior to the commencement of such work to
    enable Landlord to post and record a notice of nonresponslbllity or other notice Landlord deems proper prior to the
    commencement of any such work. Tenant shall not permit any mechanic's, materlalmen's or other liens to be filed
    against the Premises or any portion thereof or against Tenant's leasehold Interest 1.n the Premises, If Tenant falls to
    cause the release of record of any Uen(s) filed against the Premises or any portion thereof or Its leasehold estate In

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    the Premises by payment or posting of a proper bond within ten (10) days from the date of the lien flling(s), then
    Landlord may, at Tenant's expense, cause such llen(s) to be released by any means Landlord deems proper,
    Including, but not limited to, payment of or defense against the claim giving rise to the llen(s), All sums reasonably
    disbursed, deposited or Incurred by Landlord in connection with the release of the llen(s), Including, but not limited to,
    all costs, expenses and actual attorneys' Fees, shall be due and payable by Tenant to Landlord, as an Item of
    Additional Rent, on demand by Landlord, together with Interest thereon at the Applicable Rate from the date of such
    demand until paid by Tenant.

              8,4        Alterations by Landlord. Landlord reseives the right at any time and from time to time without the
    same constituting an actual or constructive eviction and without incurring any llablllty to Tenant therefor or otherwise
    affecting Tenant's obligations under this Lease, to make such changes, alterations, additions, Improvements, repairs
    or replacements in or to the Building (Including the Premises If required to do so by any Applicable Laws) and the
    fixtures and equipment thereof, as well as In or to the street entrances, walls, passages, and stairways thereof, or to
    change the name by which the Building Is commonly known, as Landlord may deem necessary or desirable so long
    as such changes do not materially Interfere with or materially impair Tenant's access to or use or occupancy of the
    Building, Premises or the parking areas. Nothing contained herein shall be deemed to relieve Tenant of any duty,
    obligation or llablllty of Tenant with respect to making any repair, replacement or improvement or complying with any
    Applicable Laws In connection with the Premises, and nothing contained herein shall he deemed or construed to
    Impose upon Landlord any obligation, responsibility or llablllty whatsoever for the care of the Building or any part
    thereof other than as otherwise especially provided in this Lease.

                                                            ARTICLE IX

                                                  MAINTENANCE AND REPAIR

              9.1       .L§ndlord's Maintenance and Repair Qb!lgatlQns. Landlord shall, subject to Section 9.2, Article XII
    and Article XIII, maintain In good condition and repair the roof, exterior walls, structural elements and foundation of
    the Building, provide normal maintenance services for the HVAC serving the Building through maintenance contracts
    or otherwise, and paint the exterior of the Building and clean the exterior windows of the Building as and when such
    painting or window cleaning, as the case may be, becomes necessary In Landlord's sole discretion. Landlord $hall
    also provide maintenance and repair services to the electrical, plumbing, fire/life safety and mechanical systems
    serving the Premises. Landlord shall not be required to make any repairs unless and until Tenant has notified
    Landlord In writing of the need for such repair and Landlord shall have a reasonable period of time thereafter to
    commence and complete said repair, If warranted, The cost of any maintenance and repairs on the part of Landlord
    provided for In this Section 9.1 shall be considered part of Premises Costs, except that repairs which Landlord deems
    arise out of any negligent act or omission of Tenant or Tenant's Agents shall be made at the expense of Tenanl
    Landlord's obllgatlon to so repair and maintain fhe Premises shall be limited to the cost of effecting such repair and
    maintenance and In no event shall Landlord be liable for any costs or expenses in excess of said amounts, Including,
    but not llmlted to, any consequential damages, opportunity costs or lost profits Incurred or suffered by Tenant.

               9.2      Jenaot'E! M<iloten~rnce and Repair Obligatioos. Tenant shall at all times during the Term of this
     Lease, at Tenanfs sole cost and expense, clean, keep, maintain, repair and make necessary Improvements to, the
    Interior portions of the Building· and-every-portion-thereof· and all Improvements therein-or thereto, In good· and
    sanitary order and condition to the reasonable satisfaction of Landlord and In compliance with all Appllcable Laws,
    usual wear and tear excepted. The perfonnance of such obligations shall be subject to the requirements of
    Section 22.1 below. Tenant shall pay all costs of operating, maintaining and replacing the HVAC equipment seiving
    Tenant's data center on the Premises, all costs for the electricity to run such HVAC equlp'ment and Tenant's data
    center and all other equipment therein, and such costs shall not be considered Operating Expenses hereunder. If the
    HVAC equipment is not separately metered, Tenant shall arrange to have such HVAC equipment separately metered
    and the cost of the meter and its installation shall be split equally between Landlord and Tenant. Any damage or
    deterioratlon of the Premises shall not be deemed usual wear and tear if the same could have been prevented by
    good maintenance practices by Tenant. Tenant's repair and maintenance obligations herein shall Include, but are not
    limited to, all necessary maintenance and repairs to all portions of the Premises, and all exterior entrances, all glass,
    windows, window casements, show window moldings, partlUons, doors, doorjambs, door closures, hardware, fixtures,
    eleotrlcal lighting and outlets, plumblng fixtures, sewerage facilities, Interior walls, floors, ceilings, skylights, fans and
    exhaust equipment, and fire extinguisher equipment and systems, As part of Its maintenance obligations hereunder,
    Tenant shall, at Landlord's request, provide Landlord with copies of all maintenance schedules, reports and notlce$
    prepared by, for, or on behalf of Tenant. Landlord may Impose reasonable restrictions and requirements with respect
    to repairs by Tenant, which repairs shall be at least equal in quality to the original work, and the provisions of
    Section 8.3 above shall apply to all such repairs. Tenant's obligation to repair Includes the obllgatlon to replace, as
    necessary, regardless of whether the benefit of such replacement extends beyond the Tenn. Notwithstanding the

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    foregoing, Landlord shall have the right (but not the obllgatlon), upon notfce to Tenant, to undertake the responsibility
    for maintenance and repair of automatic fire extinguisher equipment, such as sprinkler systems and alarms, and other
    obligations of Tenant hereunder which Landlord deems appropriate to undertake that affect the Building as a whole,
    In which ev!=lnl the cost thereof shall be Included as part of Premises Costs and paid by Tenant in the manner set
    forth In Section 7.1. Tenant shall not permit or authorize any person to go onto the roof of the Building without the
    prior written consent of Landlord.

            9.3      Waiver. Tenant hereby waives all rights provided for by the provisions of SecUons 1932(1), 1941
    and 1942 of the California Clvll Code and any present or ruture laws regarding Tenant's right to make repairs at the
    expense of Landlord or to terminate this Lease because of the condition of the Premises.

              9.4     Self-Help, If 'Tenant refuses or falls to repair and maintain the Premises as required hereunder
    Within ten (10) days from the date on which Landlord makes a written demand on Tenant to effect such repair and
    maintenance (or such shorter time as may be required In the event of an emergency), Landlord may enter upon the
    Premises and make such repairs or perform such maintenance without llablllty to Tenant for any loss or damage that
    may accrue to Tenant or Its merchandise, fixtures or other property or to 'Tenant's business by reason thereof. All
    sums reasonably disbursed, deposited or Incurred by Landlord In connection with such repairs or maintenance, plus
    ten percent (10%) for overhead, shall be due and payable by Tenant to Landlord, as an Item of Additional Rent, on
    demand by Landlord, together with Interest at the Applicable Rate on such aggregate amount from the date of such
    demand until paid by Tenant.

                                                            ARTICLEX

                                                   PREMISES AND PARKING

             10.1      Grant of Nonexclusive License and Right. Subject to the provisions of Section 10.6 and Exhibit C,
    Landlord hereby reserves a non-exclusive license and right to have Its employees, agents, contractors and vendors
    use the exterior and parking areas of the Property for vehicular parking, for pedestrfan and vehicular Ingress, egress
    and travel, and for such other purposes and for doing such other things as may be provided for, authorized andfor
    permitted by thls Lease and the CC&Rs. Such reserved parking rights may be exercised to the extent reasonably
    necessary for or In connection with any Inspection, work or maintenance of the Premises.

               10.2     Use of Premises. Notwithstanding anything to the contrary herein, Tenant and Its successors,
    assigns, employees, agents and Invitees shall use the Premises only for the purposes permitted hereby and by the
    CC&Rs and the Rules and Regulations. All uses permitted within the Premises shall be undertaken In such
    reasonable manner so as not to Interfere with the rights of any other person or entity, In no event shall Tenant erect,
    Install, or place, or cause to be erected, Installed, or placed any structure, building, trailer, fence, wall, signs or other
    obstructions on the parking areas or In the areas outside of the Building which Is part of the Premises, and Tenant
    shall not store or sell any merchandise, equipment or materials on such parking or outside areas.

               10.3      Control of Parking Areas. Landlord shall have the right to construct, maintain and operate lighting
    facilities and other lmprovementa on or within the Premises; to polrce the parking areas from time to time;_to_change
    the area, level, location and arrangement of the parking areas and other Improvements-therein: to close all or any
    portion of the parking areas or Improvements therein to such extent as may, In the opinion of counsel for Landlord, be
    legally sufficient to prevent a dedication thereof or the accrual of any rights to any person or to the public therein; to
    close temporarily all or any portion of the parking areas and/or the Improvements thereon (Including, without
    limitation, In connection with any repairs, maintenance and renovations thereof); to dlsoourage non-tenant parking;
    and to do 11nd perform such other acts In and to said parking areas and Improvements thereon as, In the use of good
    business Judgment, Landlord shall determine to be advisable. Landlord reserves the right to promulgate such
    reasonable rules and regulations relating to the use of the Premises as Landlord may deem appropriate, and Tenant
    agrees to comply with (and cause Its agents, employees, guests, customers, Invitees and subtenants to comply with)
    any such rules and regulations so promulgated by Landlord. If Landlord Is required by any law to limit or control
    parking Within the Premises, by valldallon of parking tlcl<ets or any other method, Tenant agrees to participate In such
    validation or other program under such reasonable rules and regulations as are from time to time established by
    Landlord.                     ·

              10.4    Maintenance of Premjseys. Subject to the provisions of the CC&Rs, Landlord shall operate and
    maintain (or cause to be operated and maintained) the exterior areas or the Premises and Building In a similar
    condition to comparable office building exterior areas located In the general vicinity of the Premises, in such manner
    as Landlord In its reasonable discretion shall determine from time to time. Landlord shall have the full right and
    authority to employ or cause to be employed all personnel necessary for the proper operation and maintenance of the

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     Premises and Building and the improvements located thereon. The cost of such maintenance of the Premises and
     Building, including without limitation any repairs, replacements, changes or upgrades required, shall be Included as
     part of Premises Costs subject to the exclusions and limitations set forth In Article VII, except that any capital
     expenditures for the same shall not be considered Premises Costs during the Operating Expense Base Year. Tenant
     shall not use any part of the exterior of the Premises for the storage of any Items, Including, without ilmltatlon,
     vehicles, materials, Inventory and equipment Tenant shall place all trash and other refuse In designated receptacles.

                10.5    Landlord's Reserved Rights. Landlord reserves the right to Install, use, maintain, repair, relocate
      and replace pipes, ducts, conduits, wires and appurtenant meters and equipment Included In the Premises or outside
      the Premises, change the boundµry lines of the Properly and Install, use, maintain, repair, alter or relocate, expand
    . and replace any portion of the Premises; provided, however, Landlord shall not unreasonably lnterrere with Tenant's
      use of or access to the Premises.

               10.6     .E.fillslo.q. Subject to Landlord's right to use parking for Its employees, agents, contractors and
     vendors while providing services on the Premises, Tenant shall be entltled to use vehlcle parking spaces at the
     Property. All parking spaces shall be used only for parking by vehicles no larger than full size passenger automobiles
     or plck·Up trucks. Parking within the Premises shall be limited to striped parking stalls, and no parking shall be
     pennitted In any driveways, access ways or in any area which would prohibit or Impede the free flow or traffic. If
     Tenant' commits, permits or allows a violation of any of the terms and conditions of this Lease relating to the use of
     the Premises, the rules then In effect with respect thereto, or the CC&Rs (Including, without limitation, any damage or
     Injury thereto), or If a vehicle Is being operated by Tenant or its agents, employees, guests, customers, Invitees or
     subtenants In a manner that Landlord or Its designated agent reasonably determines Is a danger to the health and
     safety of persons on or about the Premises or the Building, then Landlord, through Its designated agent, shall have
     the right, without notice, In addition to such other rights and remedies that It may have, to remove or tow away the
     vehicle Involved and to charge the cost to Tenan~ which cost shall be Immediately payable upon demand by
     Landlord.

                                                            ARTICLE XI

                                                  INDEMNITY AND INSURANCE

                11.1     Indemnification, To the fullest extent pennltted by law, Tenant hereby agrees to defend (with
     attorneys reasonably acceptable to Landlord), Indemnify, protect and hold harmless Landlord and Landlord's Agents
     and any successors to all or any portion of Landlord's Interest In the Premises and their dlrectors, officers,
     shareholders, parlners, managers, members, Investment advisors, employees, authorized agents, represent<itlves,
     affiliates and Mortgagees, from <ind against any and all damage, loss, claim, liability and expense, Including, but not
     limited to, actual attorneys' fees and legal costs (collectlvely "Claims"), Incurred directly or Indirectly by reason of any
     claim, suit or judgment brought by or on behalf of (I) any person or persons for damage, loss or expense due to, but
     not limited to, personal or bodily injury or property damage sustained by such person or persons which arise out of,
     are occasioned by, or are in any way attributable to the use or occupancy of the Premises or the acts or omissions of
     the Tenant or Tenant's Agents In or about the Premises (Including, but not limited to, any Event of Default
     hereunder), or (II) Tenant or Tenanfs Agents for damage, loss or expense due to, but not limited to, personal or
     bodily_ Injury or property damage.which.arise out of, are occasioned by, or are In any.way attributable to the use of
     any of the Premises, except to the extent caused by the gross negligence or willful misconduct of Landlord or the
     Landlord Agents seeking the benefits of this Section 11.1. The foregoing provisions shall apply to Claims which are
     absolute or contingent, liquidated or unllquldated, and whether or not caused, In whole or In part, by the active or
     passive negligence of the Landlord or Landlord's Agents. Landlord shall hold Tenant harmless from and indemnify
     Tenant against any Clalm for personal Injury, Illness, or death to any person or damage to any tangible property to
     the extent (I) such Injury, Illness, death or damage Is caused by the gross negligence or willful misconduct of Landlord
     or any agents, employees of Landlord, and (II) such Claim Is not Included within the risks Insured against under the
     Insurance that Tenant Is required to carry pursuant to this Article 11. The provisions of this Section 11.1 shall survive
     the termination of this Lease with respect to any Injury, Illness, death or damage occurring prior to such termination.
     Notwithstanding anything to the contrary set forth In this Section 11.1 or elsewhere in \his Lease, ln no event shall
     Landlord be liable for any consequential or remote damages, or for loss of or damage to artwork, currency, jewelry,
     bullion, securities or other property In the Premises, not In the nature of ordinary fixtures, fUrnishlngs, equipment and
     other property used In general business office activities.

               11.2      fmperty Insurance. Landlord shall obtain and keep In force during the Tenn of this Lease a policy
     or policies of Insurance, with deductibles at the sole discretion of Landlord, covering loss or damage to the Premises,
     the Building, the Tenant Improvements and objects owned by Landlord and normally covered under a •soiler and
     Machinery" policy (as such term Is used In the Insurance industry), at least In the amount of eighty percent (80%) of

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    the full replacement cost thereof, and In no event less than the total amount roquired by any current or fUture
    Mortgagees, against all perils Included within the olasslficatlon of fire, extended coverage, vandalism, malicious
    mischief, special extended perils ("all risk" or "special causes of loss," as such terms are used In the Insurance
    Industry, Including, at Landlord's option, collapse, earthquake and flood) and other perils as required by the.
    Mortgagees or deemed necessary by Landlord. A stipulated value or agreed amount endorsement deleting any co-
    insurance provision of said polloy or policies shall be procured with said Insurance, The cost of such Insurance
    policies shall be Included In the deffnltlon of Premises Costs, and shall be paid by Tenant In the manner set forth In
    Section 7.1. Such Insurance policies shall provide for payment of loss thereunder to Landlord or, at Landlord's
    election, to the Mortgagees, If any, If the Premises are part of a larger building, or If the Premises are part of a group
    of buildings owned by Landlord which are adjacent to the Premises, then Tenant shall pay for any increase in the
    property Insurance of the Building or such other building or buildings within the Premises if such Increase Is caused
    by Tenanfs acts, omissions, use or occupancy of the Premises. Tenant shall obtain and keep In force during the
    Term, at Its sole cost and expense, (I) an 'all risk" or •special causes of loss• property policy In the amount of the full
    replacement cost covering Tenant's Personal Property and any Alterations made by or at the request of Tenant, with
    Landlord Insured as Its Interest may appear, and (II) an "all risk'' or 'special causes of loss" policy of business
    Interruption and/or loss of Income Insurance covering a period of one (1) year, with loss payable to Landlord to the
    extent of the Monthly Rent and Addltlonal Rent only which would have been payable hereunder but for the incident or
    occurrence giving rise to the payment under the policy.

              11.3     Llablllty/Mlsce!laoeous Insurance, Tenant shall maintain In full force and effect at all times during
    the Term (plus such earlier and later periods as Tenant may be In occupancy of the Premises), at its sole cost and
    expense, for the protection of Tenant, Landlord and Landlord's Agents and Mortgagees, policies of Insurance Issued
    by a carrier or carriers acceptable to Landlord and the Mortgagees which afford the foflowlng coverage: (I) statutory
    workers' compensation, (II) employer's llabfllty with minimum limits of One Mllllon Dollars ($1,000,000),
    (iii) commercial general liability Insurance, Including, but not limited to, blanket contractual llabillty (including the
    Indemnity set forth In Section 11.1), fire and water legal llablllty, broad form property damage, personal Injury,
    completed operations, products llabllity, Independent contractors, warehouser's legal llablllty and, If alcoholic
    beverages are served, manufactured, distributed or sold in the Premises, comprehensive liquor llablllty, and owned,
    non-owned and hired vehicles, of not less than the limits set forth In Item 17 of the Basic Lease Provisions, naming
    Landlord, the Mortgagees, and the Addttlonal Insureds named In Item 16 of the Basic Lease Provisions as additional
    Insureds, and Including a cross-llabllity or severabillty of Interests endorsement, and (iv) such other Insurance In such
    form and amounts as may be required by Landlord or the Mortgagees from time to time, Landlord or Landlord's
    Agents on behalf of Landlord may, at Landlord's election, obtain liability Insurance In such amounts and on such
    terms as Landlord shall determine, and the cost thereof shall be Included In Premises Costs and paid by Tenant In
    the manner described In Section 7.1.

            11.4     Deductibles. Any policy of Insurance required pursuant to this Lease containing a deductible
    exceeding Five Thousand Dollars ($5,000.00) per occurrence must be approved In writing by Landlord prior to the
    Issuance of such policy. Tenant shall be solely responsible for the payment of any deductible.

              11.6      Blanket Coverage. Any Insurance required of Tenant pursuant to this Lease may be provided by
    means of a so-called "blanket policy", so long as (i) the Premises are specifically covered (by rider, endorsement or
    otherwise); (II) the limits of the policy are-applicable on a 'per location" basis to the Premises and provide for
    restoration of the aggregate limits, and (Iii) the pol Icy otherwise complies with the provisions of this Lease,

            11.6      Increased Coverage, Upon demand, Tenant shall provide Landlord, at Tenant's expense, with
    such Increased amount of exls~ng Insurance, and such other Insurance as Landlord or the Mortgagees may
    reasonably require.

              11. 7    Sufficleoc~ of Coverage, Neither Landlord nor any of Landlord's Agents makes any representation
    that the types of Insurance and limits specified to be carried by Tenant under this Lease are adequate to protect
    Tenant. lfTenant believes that any such Insurance coverage Is Insufficient, Tenant shall provide, al its own expense,
    such additional Insurance as Tenant deems adequate. Nothing contained herein shall limit Tenant's llablllty under
    this Lease, and Tenant's liability under any provision of this Lease, including, without limitation, under any Indemnity
    provisions, shall not be limited to the amount of any Insurance obtained,

             11.8      Jnsuraoce Requirements. Tenant's insurance (I) shall be in a form satisfactory to Landlord and the
    Mortgagees and shall be carried with companies licensed to do business In the State of Callfornla that have a "Best
    Key Rating Gulde" rating of A-NII or better and that are detennined by Landlord, In Its sole discretion, as flnanclally
    sound on a current basis, (II) shall provide that such policies shall not be subject to material alteration or cancellation
    except after at least ten (10) days prior written notice to Landlord, and (Ill) shall be primary, and any insurance carried

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    by Landlord or Landlord's Agents $hall be excess and noncontributing. Tenanfs policy or pollcles, or duly executed
    certlncates for them In the form and content acceptable to Landlord, shall be deposited with Landlord concurrently
    with Tenant's execution of this Lease, and prior to renewal of such polloles, If lenant falls to procure and maintain
    the Insurance required to be procured by renant under this Lease, Landlord may, but shall not be required to, order
    such Insurance at Tenant's expense. All sums reasonably disbursed, deposited or Incurred by Landlord In
    connection therewith, Including, but not limited to, all costs, expenses and actual attorneys' fees, shall be due and
    payable by Tenant to Landlord, as an Item of Additional Rent, on demand by Landlord, together with Interest thereon
    at the Applicable Rate from the dale of such demand until paid by lenant.

              11.9      Impound Funds, If requested by any Mortgagees to whom Landlord has granted a security Interest
    In the Premises, or if any Event of Default occurs under this Lease, Tenant shall, al Landlord's election, pay Landlord,
    concurrently with each payment of Monthly Rent, a sum equal to one-twelfth (1/12) of the annual Insurance premiums
    payable by lenant for all Insurance which lenant Is required to obtain pursuant to this Article XI. Such sums (the
    "Impound Funds'') shall be held by Landlord and applied to the payment of such Insurance premiums when due;
    provided, however, Landlord shall not be required to keep the Impound Funds separate from other funds, Tenant
    shall not be entitled to Interest on the Impound Funds and no trust relationship shall be created with respect to the
    Impound Funds. The amount of the Impound Funds when unknown shall be reasonably estimated by Landlord. If
    the Impound Funds paid to Landlord by Tenant under this Section 11.9 are Insufficient to discharge the obligations of
    Tenant to pay such Insurance premlurns as the same become due, lenant shall pay to Landlord, within ten (10) days
    after Landlord's written request therefor, such addlHonal sums necessary to pay such obligations. If an Event of
    Default has occurred, any balance remaining from the Impound Funds may, at the option of Landlord, be applied to
    any obligation then due under this Lease In lieu of being applied to the payment of Insurance premiums, The unused
    portion of the Impound Funds, if any, shall be returned to Tenant within thirty (30) days of the expiration of this Lease
    or any termination of this Lease not resulting. from an Event of Default, provided that Tenant has vacated the
    Premises In the manner required by this Lease.

               11.10 Landlord's Dlsclalme(. Notwlthstandlng any other provisions of this Lease, and to the fullest extent
    permitted by law, Landlord and Landlord's Agents shall not be liable to lenant for any loss or damage to persons or
    property resulting from theft, vandalism, fire, explosion, falling ·materials, glass, tile or sheetrock, steam, gas,
    electricity, water or rain which may leak from any part of the Premises, or from the pipes, appliances or plumbing
    works therein or from the roof, street or subsurface, or from acts of God or from any other cause whatsoever, unless
    caused by or due to the gross negligence or willful misconduct of Landlord or Landlord's Agents or Landlord's breach
    of this Lease (provided, however, In no event shall Landlord be liable for any consequential damages, opportunity
    costs or lost profits Incurred or suffered by Tenant). Landlord and Landlord's Agents shall not be liable for
    Interference with light or air, or for any latent defect In the Premises except as otherwise expressly provided in this
    Lease. Tenant shall give prompt Notice to Landlord In case of a casually, accident or repair needed to the Premises.

              11.11 Waiver of Subrogation. Landlord, except to the extent Tenant's Insurance covers loss to Landlord
    plus Tenant's obllgatlons with respect to maintenance and repair and payment of Insurance deductibles hereunder,
    and Tenant each hereby waives all rights of recovery against the other and the other's agents on account of loss and
    damage occasioned to such waiving party lo the extent only that such loss or damage Is Insured against under any
    insurance policies required by this Article XI (and to the extent such Insurance is Inadequate to cover such loss, this
    waiver shall not. al'ply to amounts of loss above· such coverage)-.and to the-extent permitted by Applicable:.Law.
    Tenant and Landlord sh<ill, upon obtaining policies of Insurance required hereunder, give notice to the Insurance
    carriers that the foregoing waiver or subrogation Is contained In this Lease. Notwithstanding the foregoing, II is
    agreed that In the event that any loss Is due to the act, omission or negligence or willful misconduct of Tenant or
    Tenant's Agents, lenant's liability Insurance sh1;1ll be primary and shall cover all ic'Jsses and damages prior to any
    other Insurance hereunder.

                                                         ARTICLE XII

                                                DAMAGE: OR DESTRUCTION

             12.1     Landlord's Obligation to Rebuild. If the Premises are damaged or destroyed by fire or other
    casualty (a 'Casualty"), lenant shall promptly give notice thereof to Landlord, and Landlord shall thereafter repair the
    Premises as set forth In Sections 12.3 and 12.4 unless Landlord or Tenant has the right to terminate this Lease as
    provided bel9w and Landlord or Tenant elects to so terminate this Lease.

               12.2     Landlord's Right to Terminate, Landlord shall have the right to terminate this Lease following a
    Casualty ir any of the following occurs: (I) Insurance proceeds (together with any additional amounts lenant elects,
    at Its option, to contribute) are not available to Landlord to pay one hundred percent (100%) of the cost to fully repair

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    the Premises, excluding the deductible (for which Tenant shall pay), regardless of whether such unavallablllty Is due
    to coverage or other policy limits or the requirements of any Mortgagee; (ll) Landlord's Architect determines that the
    Premises cannot, with reasonable dtllgenoe, be fully repaired by Landlord (or cannot be safely repaired because of
    the presence of hazardous factors, Including, but not limited to, Hazardous Materials, earthquake faults, radiation,
    chemical waste and other similar dangers) within one hundred eighty (180) days after the date of such Casualty;
    (ill) the Premises are destroyed or damaged duting the last twelve (12) months of the Term provided, however, that If
    Landlord exercises such termination right and Tenant has any unexerclsed and unexpired option to extend the Term
    In full force and effect, then Tenant may exercise such option within the ten (10) days after receipt of such
    cancellation, and this Lease shall continue In effect for the remainder of the extended Lease Term, subject to all the
    other provisions hereof, or (Iv) an Event of Default has occurred and Is continuing at the time of such Casualty. If
    Landlord elects to terminate this Lease folloWlng a Casualty pursuant to this Section 12.2, Landlord shall give Tenant
    Notice of Its election to terminate within ninety (90) days after Landlord has knowledge of such Casualty, and this
    Lease shall tennlnate fifteen (15) days after the date of such Notice.

             12,3       Tenant's Right to Terminate. Notwithstanding the foregoing, In the event of a Major Casualty,
    Tenant may tennlnate this Lease upon thirty (30) days' prior wtitten notice If Landlord Is required to or elects to
    perform such repair or restoration and the damage or destruction occurs within the last twelve (12) months of the
    Term and cannot, with reasonable dlllgence, be repaired by Landlord within ninety (90) days following the issuance of
    any necessary permits to complete such repairs, as reasonably determined by Landlord's Architect. Notwithstanding
    the foregoing, Tenant shall not have the right to terminate this Lease under this Section 12.3 If (a) the Tenant Is In
    default under this Lease at the time of such damage or destruction or at the time Tenant exercises the right to
    terminate, or (b) the damage or destruction was caused , In whole or In part, by the act or omission of Tenant or
    Tenant's Agents. If Tenant elects to terminate this Lease pursuant to this Section 12.3, Tenant shall give Landlord
    Notice of Its election to terminate within ten (10) days after the date ofTenanfs receipt of the applicable determination
    of Landlord's Architect pursuant to this Section 12.3 upon which such termination right Is based, and this Lease shall
    terminate thirty (30) days after the delivery of such Notice from Tenant to Landlord. For purposes of this
    Section 12.3, a "Major Casualty'' shall mean casualty damage to the Premises that materially and adversely Impairs
    Tenants reasonable and substantial use and enjoyment of the Premises. ·

             12.4      Effect of Tuunlnatlon. If this Lease Is terminated following a Casualty pursuant to Section 12.2 or
    12.3, Landlord shall, subject to the rights of the Mortgagees, be entitled to receive and retain all the property
    Insurance proceeds resulting from or attributable to such Casualty, except for those proceeds payable under pollcles
    obtained by Tenant which speclflcally Insure Tenant's Personal Property, If neither L.andlord nor Tenant exercises
    any such right to terminate this Lease, this Lease wlll continue In fUll force and effect, and Landlord shall, within sixty
    (60) days after the date of such Casualty and receipt of the amounts set forth In clause (I) of Section 12.2, commence
    the process of obtaining necessary permits and approvals for the repair or the Premises, and shall commence such
    repair and prosecute the same dlllgently to completion as soon as Is practicable following Its.receipt of such pennlts
    and approvals. Tenant shall fully cooperate With Landlord In removing Tenant's Personal Property and any debris
    from the Premises to facilitate the making of such repairs.

             12.5      Limited Obllgallon to Repair. Landlord's obligation, should It elect or be obligated to repair the
    Premises following a Casualty, shall be limited lo the basic Building and Tenant Improvements and Tenant shall, at
    Its expense,· replace or fully repair all Tenant's Personal Property and any Alterations existing at the time of such
    Casualty, If the Premises are to be repaired In accordance with the foregoing, Tenant shall make available to
    Landlord any portion of Insurance proceeds that Tenant receives which are allocable to the Tenant Improvements,

              12.6      Abatement of Monthly Rent. During any period when Landlord or Landlord's Architect reasonably
    detennlnes that there Is substantial Interference with Tenant's use of the Premises by reason of a Casualty, Monthly
    Rent and Additional Rent shall be temporarily abated in proportion to the degree of such substantial Interference, but
    only to the extent of any business Interruption or loss of Income insurance proceeds received by Landlord from
    Tenant's Insurance described In Section 11.2. Subject to the Immediately preceding sentence, such abatement shall
    commence upon the date Tenant notifies Landlord of such Casualty and shall end upon the Substantial Completion
    of 1he repair of the Premises which Landlord undertakes or Is obligated to undertake hereunder. Tenant shall not be
    entitled 1o any compensation or damages from Landlord for loss of the use of the Premises, Tenant's Personal
    Property or other damage or any inconvenience occasioned by a Casualty or by the repair or restoration of the
    Premises thereafter, Including, but not limited to, any consequential damages, opportunity costs or lost proms
    Incurred or suffered by Tenant. Tenant hereby waives the provisions of Section 1932(2) and Section 1933(4) of the
    California Civil Code, and the provisions of any similar or successor statutes.

             12.7    Landlord's Detennlnatlon. The determination In good faith by Landlord's Architect of or relating to
    the estimated cost of repair of any damage, replacement cost, the time period required for repair or the Interference

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    with or suitability of the Premises for Tenant's use or occupancy shall be conclusive for purposes of this Article XII
    and Article XIII.

                                                          ARTICLE: XIII

                                                        CONDEMNATION

              13, 1    Total Taking-Termination. If title to the Premises or so much thereof ls taken for any public or
    quasi-public use under any statute or by right of eminent domain so that reconstruction of the Premises wlll not result
    In the Premises being reasonably suitable for Tenant's continued occupancy for the uses and purposes permitted by
    this Lease, this Lease shall terminate as of the date possession of the Premises or part thereof Is so taken.

              13.2      Partial Taking, If any part of the Premises are taken for any publlc or quasi-public use under any
    statute or by right of eminent domain and the remaining part Is reasonably suitable for Tenant's continued occupancy
    for the uses permitted by this Lease as reasonably determined by Landlord, this Lease shall, as to the part so taken,
    terminate as of the date that possession of such part of the Premises are taken and the Monthly Rent shall be
    reduced In the same proportion that the rentable square footage of the floor area of the portion of the Premises so
    taken (less any addition thereto by reason of any reconstruction) bears to the original rentable square footage of the·
    floor area of the Premises, as reasonably determined by Landlord or Landlord's Architect. Landlord shall, at Its own
    cost and expense, make all necessary repairs or alterations to the Premises so as to make the portion of the
    Premises not taken a complete architectural unit. Such work shall not, however, exceed the scope of the work done
    by Landlord In originally constructing the Premises. If severance damages from the condemning authority are not
    available to Landlord In sufficient amounts to permit such restoration, Landlord may terminate this Lease upon Notice
    to Tenant. Monthly Rent due and payable hereunder shall be temporarily abated during such restoration period In
    proportion to the degree to which there Is substantial Interference with Tenant'$ use of the Premises, as reasonably
    determined by Landlord or Landlord's Architect. Each party hereby waives the provisions of Section 1265, 130 of the
    California Code of Civil Procedure and any present or future law allowing either party to petition the Superior Court to
    terminate this Lease In the event of a partial taking of the Building or Premises,                                ·

              13.3     No Apportionment of Award, No award for any partial or total taking shall be apportioned, 1t being
    agreed and understood that Landlord shall be entitled to the entire award for any partial or entire taking. Tenant
    assigns to Landlord Its Interest ln any award which may be made In such taking or condemnation, together with any
    and all rights of Tenant arising in or to the same or any part thereof, Nothing pontalned herein shall be deemed to
    give Landlord any Interest In or require Tenant to assign to Landlord any separate award made to Tenant for the
    taking of Tenant's Personal Property, for the Interruption of Tenant's business or Its moving costs, or for the loss of Its
    goodwill.

              13.4     Temporary Takjng. No temporary taking of the Premises (which for purposes hereof shall mean a
    taking of all or any part of the Premises for one hundred eighty (180) days or less) shall terminate this Lease or give
    Tenant any right lo any abatement of Rent. Any award made to Tenant by reason of such temporary taking shall
    belong entirely to Tenant and Landlord shall not be entitled to share therein. Each party agrees to execute and
    deliver to the other all Instruments that may be required to effectuate the provisions of this Section 13.4.

            13.5     Sale Under Threat of Condemnation. A sale made In good faith to any authority having the power
    of eminent domain, either under threat of condemnation or While condemnation proceedings are pending, shall be
    deemed a taking under !he power of eminent domain for all purposes of this Article XII I.

                                                          ARTICLE XIV

                                               ASSIGNME:NT AND SUBLE:TTING

              14. 1     Prohibition. Tenant shall not directly or Indirectly, voluntarily or by operation of law, assign this
    Lease, or any rlght or interest hereunder, or sublet the Premises or any part thereof, or allow any other person or
    entity to occupy or use all or any part of the Premises without first obtaining the written consent of Landlord In each
    Instance, which consent shall not be unreasonably wlthhE;Jld, conditioned or delayed. In no event shall Tenant directly
    or Indirectly, voluntarily or by operation of law, pledge, mortgage or hypothecate this Lease, or any right or Interest
    hereunder or Jn or to the Premises. In addition, In the event that Landlord consents to a subletting, In no event shall
    the applicable sublessee be permitted to assign the sublease or sub-sublet all or any portion of the applicable
    sublease premises (and any subleases of the Premises or any part thereof shall specifically include the foregoing
    prohlbltlon). Any attempted assignment, subletting, pledge, mortgaging, hypothecatlon or other transfer In violation of
    the terms of this Article XIV, whether voluntary or Involuntary, by operation of law, under li;igal process or

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    proceedings, by receivership, In bankruptcy, or otherwise shall constitute an Event of Default under this Lease and
    shall be voidable at Landlord's option. To the extent not prohibited by provisions of the Bankruptcy Code of 1976, 11
    U.S.C. Sections 101 fil §fill, (as amended, the "Bankruptcy Code"), Tenant on behalf of itself, creditors,
    administrators and assigns waives the applicability of Sections 541 (c) and 365(e) of the Bankruptcy Code unless the
    proposed assignee of the trustee for the estate of the bankrupt meets Landlord's standards for consent as set forth
    below. If this Lease Is assigned to any person or entity pursuant to the provisions of the Bankruptcy Code, any and
    all monies or other considerations payable or otherwise to be deHvered In connection with such assignment shall be
    pald or dellvered to Landlord, shall be and ~main the exclusive property of Landlord and shall not constitute property
    of Tenant or the estate of Tenant within the meaning of the Bankruptcy Code. Any and all monies or other
    considerations constituting Landlord's property under the preceding sentence not paid or delivered to Landlord shall
    be held In trust for the benefit of Landlord and be promptly paid or delivered to Landlord. Any person or entity to
    which this Lease is assigned pursuant to the provisions of the Bankruptcy Code shall be deemed without further act
    or deed to have assumed all of the obligations arising under this Lease on and after the date of such assignment. Any
    such assignee shall upon demand execute and deliver to Landlord an Instrument confinnlng such assumption.

                14.2     Landlord's Consent. In the event Landlord consents to any assignment or sublettlng, such consent
    shall not constitute a waiver of any of the restrictions of this Article XIV and the same shall apply to each successive
    assignment or subletting hereunder, If any. In no event shall an assignment or subletting affect the continuing primary
    liability of Tenant (which, following an assignment, shall be Joint and several with the assignee), or relieve Tenant of
    any of Its obligations hereunder without an express written release being given by Landlord. In the event that
    Landlord shall consent to an assignment or subletting under this Article XIV, such assignment or subletting shall not
    be effective until the ass lg nee or sublessee shall assume in a writing dellvered to Landlord all of the obligations of this
    Lease on the part of Tenant to be performed or observed and whereby the assignee or sublessee shall agree that the
    provisions contained In this Lease shall, notwithstanding such assignment or subletting, continue to be binding upon It
    with respect to all future assignments and sublettlngs, and Tenant and the applicable assignee or sublessee have
    entered into Landlord's standard consent to sublease agreement or consent to assignment agreement, as the case
    may be. Such assignment or sublease agreement and consent agreement shall be duly executed and a fully
    executed copy thereof shall be delivered to Landlord, and Landlord may collect Monthly Rent and Additional Rent due
    hereunder directly from the assignee or sublessee, Collection of Monthly Rent and Additional Rent directly from an
    assignee or sublessee shall not constitute a consent or a waiver of the necessity of consent to such assignment or
    subletting, nor shall such collection consutute a recognition of such assignee or sublessee as the Tenant hereunder
    or a release of Tenant from the performance of all of Its obligations hereunder,

               14.3    Information. Regardless of whether Landlord's consent Is required under this Article XIV, Tenant
    shall notify Landlord In writing of Tenant's Intent to assign this Lease or any right or Interest hereunder, or to sublease
    the Premises or any part thereof, and of the name of the proposed assignee or sublessee, the nature of the proposed
    assignee's or sublessee's business to be conducted on the Premises, the terms and provisions of the proposed
    assignment or sublease, a copy of the proposed assignment or sublease fonn, and such other Information as
    Landlord may reasonably request concerning the proposed assignee or sublessee, Including, but not limited to, net
    worth, Income statements and other financial statements for a two.year period preceding Tenant's request for
    consent, evidence of Insurance complying with the requirements of Article XI, and the fee described In Section 14.7,

              14.4     Landlord's-Election. Landlord shall, wlthln=twenty-one-(21) days .of receipt-of suchcNotice ·and all
    Information requested by Landlord concerning the proposed assignee or sublessee, elect to take one of the following
    actions by Notice to Tenant

                                   (a)    conseht to such proposed assignment or sublease:

                            (b)      refuse to consent to such proposed assignment or sublease, which refusal shall be
           on reasonable grounds, set forth In the notice;

                              (c)      If Tenant proposes to sublease all or part of the Premlst;is, elect to recapture such
           portion of the Premises as Tenant proposes to sublease and, as of the thirtieth (30th) day after Landlord so
           notifies Tenant of Its election to reoepture, this Lease shall terminate as to the portion of the Premises
           recaptured and the Monthly Rent payable under this Lease shall be reduced in the same proportion that the
           floor area of that portion of the Premises so recaptured bears to the floor area of the Premises prior to such
           recapture; or

                                (d)      If Tenant proposes to assign this Lease, elect to recapture the Premises and, as of
           the thirtieth (30th) day after Landlord so notifies Tenant of Its election to recapture, this Lease shall terminate,


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             Tenant agrees, by way of example and without llmltatlon, th<1t It shall not be unreasonable for Landlord to
    withhold Its consent to a proposed assignment or subletting If any of the following sttuatlons exist or may exist;

                                   (I)      Landlord determines that the proposed assignee's or sublessee's use of the
    Premises conflicts with Article V or Article VI, presents an unacceptable risk, as determined by Landlord, under
    Article VI, or conflicts with any other provision under this Lease;

                                (II)      Landlord determines that the proposed assignee or sublessee Is not financially
    responsible In light of the obligations being assumed as of the date of Tenant's request for consent or as of the
    effective date of such assignment or subletting;

                             (Iii)    Landlord determines that the proposed assignee or sublessee lacks sufficient
    business reputation or experlence to conduct on the Premises a business of a type and quality equal to that
    conducted by Tenant;

                                (iv)     Landlord determines that the proposed assignment or subletting would breach a
    covenant, condition or restriction In some other lease, financing agreement or other agreement relating to the
    Premises, the Building, or this Lease:

                                (v)       Landlord determines that the proposed assignee or sublessee (A) has been
    required by any prior landlord, lender or governmental authority to take remedial action In connection with Hazardous
    Materials contaminating a property If such contamination resulted from the proposed assignee's or sublessee's
    actions or use of the property In question, or (B) Is subject to any enforcement order Issued by any governmental
    authority In connection with the use, disposal or storage of Hazardous Materials;

                               (vi)     An Event of Default has occurred and Is continuing at the time of Tenant's
    request for Landlord's consent or as of the effective date of such assignment or subletting; or

                                  (vii)     The proposed assignee or sublessee Is either a governmental agency or
    Instrumentality thereof.

              14.6      Bonus Value, Tenant agrees that fifty percent (50%) of any amounts paid by the assignee or
    sub!essee, however described, in excess of (I) Rent payable by Tenant hereunder (or, In the case of sublease of a
    portion of the Premises, In excess of the Monthly Rent reasonably allocable to such portion), plus (II) Tenant's
    reasonable, direct, out-of-pocket costs which Tenant certifies to Landlord have been paid for leasing commissions,
    tenant Improvements and legal fees directly related to the sublease or assignment in question (whioh direct out-of-
    pocket costs shall, for purposes of calculating the amounts payable to Landlord under this Section 14.6, be amortized
    on a straight-line basis over the applicable sublease term (in the case of a sublease) or the then-remaining balance of
    the Tenn of this Lease (In the case of an assignment)), shall be the property of Landlord and such amounts shall be
    payable directly to Landlord by the assignee or sublessee. At Landlord's request, a written agreement shall be
    entered Into by anct among Tenant, Landlord and the proposed assignee or sublessee confirming the requlrements of
    this Section 14.5.

              14.6     Certain Transfers. The sale of all or substantially all of Tenant's assets (other than bulk sales In the
    ordinary course of business), or, If Tenant Is a corporation, an unincorporated association, a limited liability company
    or a partnership, (I) any merger, reorganization or consolidation Involving Tenant, and/or (II) the transfer, assignment
    or hypothecatlon of any stock or Interest In such corporation, association, limited liability wmpany or partnership In
    the aggregate In excess of twenty-five percent (25%) (except for publicly traded shares of stock), shall be deemed an
    assignment within the meaning and provisions of this Article XIV. In the event that the acquiring or surviving entity Is
    wholly-owned or majority controlled by another entity or person ("Parenf'), then, without In any way limiting the basis
    upon which Landlord may grant or withhold Its consent to such assignment, It shall not be unreasonable for Landlord
    to condition Its consent upon the execution and delivery by the Parent of a written guaranty of Tenant's obllgallons
    and llabllltles under this Lease on a form of lease guaranty provided by Landlord. Notwithstanding the foregoing,
    assignment or subletting or all or part of the Premises to an affiliate or a successor through merger, sale of assets or
    sale of equity, shall be pennltted without Landlord's prior written consent and shall not be subject to recapture
    pursuant to Section 14.4(c) or (d), above, or rent sharing pursuant to Section 14.6, above, If: (I) the affiliate or
    successor has a net worth which Is greater, as of the effective date of the assignment or sublease, than the net worth
    of the original tenant under this Lease as of the Commencement Date of the Term or the effective date of the
    transfer, whichever is greater (in each case computed In accordance with GAAP); (II) Tenant is not In breach or
    default hereunder taking Into account appllcable cure periods and provisions; (ill) Tenant provides Landlord with at
    least twenty-one (21) days advance notice of the transfer which notice shall describe the proposed transaction In

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    reason-ably detail and shall provide financial Information reasonably satisfactory to Landlord evidencing compliance
    with the foregoing net worth requirements: (Iv) Tenant provides copies of the documents effectuating the transfer to
    the Landlord within five (5) days following the effective date of the assignment or sublease; (v) the transferee
    executes a document, acceptable to the Landlord, assuming all of the Tenan~s obligations hereunder with respect to
    the portion or all of the Premises assigned or sublet, (vi) the transferee Is not a person or entity which would, with the
    giving of notice or the passage of time or both, be In breach of any provision of this Lease or cause Landlord, by
    virtue of being a landlord for such entity, to be In violation of any law, regulation or the CC&Rs or to breach any
    provision of any other lease between Landlord, or any of Its predecessors, and any other party; and (vii) the Tenant
    complies with the other provisions of this Article XIV other than the requirement to obtain Landlord's prior written
    consent to the assignment or sublease.. For the purposes of this Lease, an "affiliate" is any person or entity which Is
    controlled by, In control of or under common control with the Tenant (with "control," for such purposes, meaning the
    ownership of at least fifty-one percent (51 %) of the equity and voting control and the power to direct the management
    decisions of the entity),

             14.7      Landlord's Fee and Expenses, If Tenant requests Landlord's consent to an assignment or
    suble!Hng by Tenant under this Lease, Tenant shall pay to Landlord a fee of One Thousand Dollars ($1,000) and all
    of Landlord's out-of-pocket expenses, Including, but not llmited to, attorneys' lees reasonably Incurred related to such
    assignment or subletting by Tenant, whether or not the assignment or subletting Is approved,

              14.8     Prnbil;ilted Transfers and Users. Notwithstanding anything contained In this Article XIV to the
    contrary, In no event shall Tenant enter Into any assignments or subleases With, or permit the Premises or any
    portion thereof to be used by, any person or entity with whom United States persons or entitles are restricted from
    doing business under existing or future regulations of the Office of Foreign Assets Control ('OFAC") of the
    Department of the Treasury (Including, without !Imitation, those named on OFAC's Specially Designated and Blocked
    Persons List) or under any existing or future statute, executive order (Including, without !Imitation, Executive Order
    13224 en!Hled "Blocking Property and Prohibiting Transactions with Persons Who Commit, Threaten to Commit, or
    Support Terrorism'), or other governmental action, Any assignment, subletting or other agreement or arrangement
    made In violation of lhls Section 14.8 shall, at Landlord's option, be null and void and of no force or effect and
    constitute an Event of Default by Tenant under this Lease.

             14.9     Remed~. In the event that Landlord does not consent to any proposed sublease or assignment,
    neither Landlord nor any of Landlord's Agents shall be subject to llablllty for damages In connection therewith, nor
    shall Tenant have any 1ight to terminate this Lease as a result of Landlord's refusal to consent. In such case,
    Tenant's sole remedy shall be to petition a court to direct Landlord to consent to such proposed sublease or
    assignment on the basis that It would be unreasonable not to do so.

                                                             ARTICLE XV

                                                     DEFAULTS ANO REMEDIES

              15.1    Tenant's Defuult. At the option of Landlord, a default under this Lease by Tenant shall exist If any
    of the following events shall occur (each ls called an "Event of Default'):

                                (a)      Tenant falls to pay the Rent payable hereunder, as and when due, for a period of
            three (3) days after Notice by Landlord; provided, however, the Notice given hereunder shall be In lieu of, and
            not In addition to, any notice required under Sections 1161, fil fill:il,, of the California Code of Civil Procedure;

                               (b)      Tenant attempts to mal<e or suffers to be made any transfer, assignment or
            subletting, except as pennitted in Article XIV hereof,

                              (c)      Any of Tenant's rights under this Lease are sold or otherwise transferred by or
            under court order or legal process or otherwise or if any of the actions described In Section 16.2 are taken by
            or against Tenant or any Guarantor;

                                   (d)       The Premises are used for any purpose other than as permitted pursuant to
            Article V;

                                   (e)       Tenant vacates or abandons the Premises and falls to pay Monthly Rent and/or
           Additional Rent;


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                            (f)      Any representation or warranty given by Tenant under or In connection with this
           Lease proves to be matelially false or mlsleadlng;

                              (g)       Tenant fails to timely comply with the provisions of [Section 3,2 ("Term and
           Commencement"),] Article VI ("Hazardous Materials'), Article XIV ("Assignment and Subletting"), Article XVI
           ("Subordination; Estoppel Certificate; Financials"), Section 21.5 ("Modifications for Mortgagees") or
           Section 21. 19 ("Authority"); or

                             (h)        Tenant falls to observe, keep, perform or cure within fifteen (15) days after Notice
           by Landlord any of the other terms, covenants, agreements or conditions contained In this Lease or those set
           forth In any other agreements or rules or regulations which Tenant Is obligated to observe or perform. The
           Notice required by this subparagraph 15.1 (h) shall be In lieu of, and not In addition to, any notice required
           under Sections 1161, fil !!fill., of the Callfornla Code of Clvll Procedure.

    No Notice given under this Section 15.1 shall be deemed a forfeiture or a termination of this Lease unless Landlord
    so elects In the Notice.

             15.2     Ban~ruptcy or Insolvency. In no event shall this Lease be assigned or ass!gnable by operation of
    law and In no event shall this Lease be an asset of Tenant In any receivership, bankruptcy, Insolvency or
    reorganization proceeding. In the event:

                              (a)      A court makes or enters any decree or order adjudging Tenant to be Insolvent, or
           approving as properly flied by or against Tenant a petition seeking reorganization or other arrangement of
           Tenant under any provisions of the Bankruptcy Code or any applicable state law, or directing the winding up or
           liquldatlon of Tenant and such decree or order shall have continued for a period of thirty (30) days;

                             (b)      Tenant makes or suffers any transfer which constitutes a fraudulent or otherwise
           avoidable transfer under any provisions of the Bankruptcy Code or any applicable state law;

                                  (c)    Tenant assigns Its assets for the benefit of !ts creditors; or

                              (d)     The material part of the property of Tenant or any property essential to Tenant's
           business or of Tenant's Interest in this Lease Is sequesterad, attached or executed upon, and Tenant falls to
           secure a return or release of such property within ten (10) days thereafter, or prior to sale pursuant to such
           sequestration, attachment or levy, whichever Is earlier;

    then this Lease shall, at Landlord's election, immedlately terminate and be of no further force or effect whatsoever,
    without the necessity for any further action by Landlord, except that Tenant shall not be relieved of obllgatlons which
    have accrued prior to the date of such termination, Upon such termination, the provisions herein relating to the
    expiration or earlier termination of this Lease shall control and Tenant shall Immediately su1Tender the Premises In
    the condition required by the provisions of this Lease. Addltlonally, Landlord shall be entitled to all relief, Including
    recovery of damages from Tenant, whlch may from time to time be permitted, or recoverable, .under tll9.Bankruptcy
    Code or any other applicable state laws.

             15.3     Landlord's Remedies. Upon the occurrence of an Event of Default, then, In aQdttlon to and Without
    walvlng any other rlghts and remedies avallable to Landlord at law or In equity or otherwise provided In this Lease,
    Landlord may, at Its option, cumulatively or In the alternative, exercise the following remedies:

                             (a)      Landlord may terminate Tenant's right to possession of the Premises, In which
           case this Lease shall terminate and Tenant shall Immediately surrender possession of the Premises to
           Landlord. No act by Landlord other than giving Notice to Tenant of Landlord's election to terminate Tenant's
           right to possession shall terminate this Lease. Acts of maintenance, efforts to relet the Premises, or the
           appointment of a receiver on Landlord's Initiative to protect Landlord's Interest under this Lease shall not
           constitute a termination of Tenant's right to possel:lslon. Termination shall terminate Tenant's right to
           possession of the Premises but shall not relieve Tenant of any obligation under this Lease which has accrued
           prior to the date of such tennlnatlon. Upon such termination, Landlord shall have the right to re-enter the
           Premises, and remove all persons and property, and Landlord shall also be entitled to recover from Tenant:

                              (l)      The worth at the time of award of the unpaid Monthly Rent and Additional Rent
    which had been earned at the time of termination;

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                               (II)     The worth at the time of award of the amount by which the unpaid Monthly Rent
    and Additional Rent which would have been earned after termination until the time of award exceeds the amount of
    such rental loss that Tenant proves could have been reasonably avoided;

                               (Ill)   The worth at the time of award of the amount by which the unpaid Monthly Rent
    and Additional Rent for the balance of the Tann after the time of award exceeds the amount of such rental loss that
    Tenant proves could be reasonably avoided;

                                 (Iv)     Any other amount necessary to compensate Landlord for all the detriment
    proximately caused by Tenant's failure to perform Its obligations under this Lease or which In the ordinary course of
    things would be likely to result from Tenant's default, Including, but not limited to, the cost of recovering possession of
    the Premises, commissions and other expanses of relettlng, Including necessary repair, demolition and renovation of
    the Premises to the condition existing Immediately prior to Tenant's occupancy, the unamortized portion of any
    brokerage commissions funded by Landlord In connection with this Lease, the cost of rectifying any damage to the
    Premises occasioned by the act or omission of Tenant, reasonable attorneys' fees, and any other reasonable costs;
    and

                              (V)         At Landlord's election, all other amounts in addition to or In lieu of the foregoing
    as may be permitted by law.

              As used In subsections (i) and (II) above, the "worth at the time of award" shall be computed by allowfng
    Interest at the maximum legal rate permitted by law. As used In subsection (ill) above, the 'worth at the time of award"
    shall be computed by discounting the amount at the discount rate of the Federal Reserve Bank of San Francisco at
    !he time of award plus one percent (1%),

                              (b)        landlord may elect not to terminate Tenant's right to possession of the Premises, In
            which event this Lease will continue In full fo~ce and effect aa long as Landlord does not terminate Tenanfs
            right to possession, and Landlord shall have the remedy described In Gallfornla Civil Code Section 1951.4
            (lessor may continue lease In effect after lessee's breach and abandonment and recover rent as It becomes
            due, If lessee has the right to sublet or assign, subject only to reasonable limitations) and Landlord may
            continue to enforce all of Its rights and remedies under this Lease, including the right to collect all Rent as it
            becomes due. In the event that landlord elects to avail Itself of the remedy provided by this
            subparagraph 15.3(b), Landlord shall not unreasonably withhold its consent to an assignment or subletting of
            the Premises subject to the standards and conditions for Landlord's consent as are contained In this Lease
            (which standards and conditions Tenant acknowledges and agrees are reasonable at the time this lease Is
            executed by Tenant). In addition, In the event Tenant has entered Into a sublease which Is valid under the
            terms of this Lease, Landlord may also, at Its option, cause Tenant to assign to Landlord the Interest of Tenant
            under said sublease, Including, but not llrnlted to, Tenant's right to payment of Rent as It becomes due.
            Notwithstanding the above, no act by landlord allowed by this subparagraph 16.3(b) shall terminate this lease
            unless Landlord notifies Tenant In writing that Landlord elects to terminate this Lease.

               15.4    No surrender._ Tenant waives any rights_of redempilon, relnstatementouelleUrom forfeltU!'ELUnder
    California Code of Civil Procedure Sections 1174 and 1179 and California Civil Code Section 3275, and under any
    other present or future Jaws which would operate to permit redemption, reinstatement or relief from forfeiture if Tenant
    Is evicted or Landlord takes possession of the Premises or this Lease Is terminated by reason of an Event of Default.
    No act or thing done by Landlord or Landlord's Agents during the Term shall be deemed an acceptance of a
    surrender of the Premises, and no agreement to accept a surrender shall be valid unless In writing and signed by
    Landlord. No employee of Landlord or of Landlord's Agents shall have any power to accept the keys to the Premises
    prior to the termlnatlon of this Lease, and the delivery of the keys to any employee shall not operate as a termination
    of this Lease or a surrender of the Premises.

             16.5       Interest on Late P~yrnents. Any Rent or other payment due under this Lease that Is not paid to
    Landlord within three (3) days of the date when due shall commence to bear Interest at the Applicable Rate from the
    due date until fully paid. Neither the accrual nor the payment of Interest shall cure any default by Tenant under this
    Lease.

              16.6      Attorneys' and Other Fees. All sums reasonably Incurred by Landlord In connection with an Event
    of Default or holding over of possession by Tenant after the expiration or tennlnatlon of this Lease, Including, but not
    limited to, all costs, expenses and actual accountants', appraisers', attorneys' and other professional fees, and any
    collection agency or other coilectlon charges, shall be due and payable by Tenant to Landlord on demand, and shall
    bear Interest at the Applicable Rate from the date of such demand until paid by Tenant In addition, In the event that

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    any action shall be Instituted by either of the parties hereto for the enforcement of any of Its rights In and under this
    Lease, the party In whose favor Judgment shall be rendered shall be entltled to recover from the other party all
    expenses reasonably Incurred by the prevaillng party In such acllon, Including actual costs and reasonable attorneys'
    fees.

              16,7     Landlord's Default. Landlord shall not be deemed to be In default In the performance of any
    obligation required to be performed by it hereunder unless and un\11 It has failed to perfonn such obligation within
    thirty (30) days after receipt of Notice by Tenant to Landlord (and the Mortgagees who have provided Tenant with
    notice) specifying the nature of such default; provided, however, that If the nature of Landlord's obligation is such that
    more than thirty (30) days are required for Its performance, then Landlord shall not be deemed to be In default if It
    shall commence such performance within such thirty (30) day period and thereafter diligently prosecutes the same to
    completion.

                15,8      Limitation of Landlord's Uablllty. The obligations of Landlord do not constitute the personal
     obligations of the indivldual partners, managers, members, trustees, directors, officers or shareholders of Landlord or
     Its constituent partners or any of their asset managers or Investment advisors, If Landlord shall fail to perform any
     covenant, tenn, or condition of this Lease upon Landlord's part to be performed, Tenant shall be required to deliver to
     Landlord Notice of the same. If, as a consequence of such default, Tenant shall recover a money judgment against
     Landlord, such judgment (l) shall not exceed twenty percent (20%) of the fair market value of the Building and
    .(II) shall be satisfied only out of the proceeds of the sale received upon execution of such judgment and levled
     thereon against the right, tllle and Interest of Landlord In the Bulldlng and out of rent or other Income from such
     property receivable by Landlord or out of consideration received by Landlord from the sale or other disposition of all
     or any part of Landlord's right, title or Interest In the Building, and no action for any deficiency may be sought or
     obtained by Tenant. Nothing herein shalt limit Tenant's right to recover against any available Insurance coverage; .
     provided, however, that If Tenant pursues recovery against any such insurance, Tenant shall be responsible for any
     deductible, self-Insured retention, co-Insurance obligation, payments of attorneys' fees and costs Incurred by Landlord
     In responding to any requests for discovery or to prepare for or to participate In any deposition, meeting, hearing,
     arbitration, mediation, trial or appeal or to make or respond to any motion or application \o any court or arbitrator for
     any decision or order as for any form of relief and for all payments which Landlord is required to make In connection
     with Tenanfs pursuant of such recovery, Including, without limitation any payments to the insurance earlier as a result
     of or relating to the Claim. In addition, In no event shall Landlord be liable for any punitive, consequential damages,
     opportunity costs or lost profits Incurred or suffered by Tenant as a result of a default by Landlord under this Lease.

               15.9     Mortgagee Protection, Upon any default on the part of Landlord, Tenant will give notice by
    registered or certified mall to any Mortgagee who has provided Tenant with notice of Its Interest together with an
    address for receiving notice, and shall offer such Mortgagee a reasonable opportunity to cure the default (which In no
    event shall be less than thirty (30)) days), Including tlme to obtain possession of the Premises by power of sale or a
    judicial foreclosure, If such should prove necessary, to effect a cure. Tenant agrees that each of the Mortgagees to
    whom this Lease has been assigned by Landlord ls an express third party beneficiary hereof. Tenant shall not make
    any prepayment of Monthly Rent more than one (1) month In advance without the prior written consent of such
    Mortgagee, Tenant waives any right under any present or future law to the collection of any security deposit from
    such Mortgagee or any purchaser at a foreclosure sale of such Mortgagee's Interest unless such Mortgagee or such
    purchaser shall have actually received and not refunded the security deposit In .accordance with theJerms of this
    Lease. Tenant agrees to make all payments under this Lease to the Mortgagee with the most senior encumbrance
    upon receiving a direction, In writing, to pay said amounts to such Mortgagee. Tenant shall comply wtth such written
    direction to pay without determining whether an event of default exists under such Mortgagee's !min to Landlord.

              15.10 Landlord's Right to Perform. If Tenant shall at any time fail to make any payment or perform any
    other act on Its part to be made or performed under this Lease, Landlord may (but shall not be obligated to), at
    Tenant's expense, and without waiving or releasing Tenant from any obligation of Tenant under this Lease, make
    such payment or perform such other act to the extent Landlord may deem desirable, and In connection therewith, pay
    expenses and employ counsel, All sums paid by Landlord and all penalties, Interest and costs, Including, but not
    limited to, collection costs and attorneys' fees reasonably Incurred In connection therewith, shall be due and payable
    by Tenant to Landlord, as an Item of Additional Rent, on demand by Landlord, together with Interest thereon at the
    Applicable Rate from the date of such demand until paid by Tenant.

             16.11 Limitation of Actions Against Landlord. Any claim, demand or right of any kind by Tenant which Is
    based upon or arises In connection with this Lease shall be barred unless T1;inant commences an action thereon
    within twelve (12) months after the date that the act, omission, event or default upon which the claim, demand or right
    arises, has occurred. In the event that Landlord commences any summary proceeding or action against Tenant for
    the nonpayment of Rent, Tenant shall not Interpose any counterclaims of any nature or description In any such

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    proceeding or action (unless such counterclaims shall be mandatory): rather, Tenant shall be relegated to bringing
    an Independent action at law therefor.

           15.12 W1o1Jv~r Qf J!.l!Y Trial. TO THE FULLEST EXTENT PERMITIED BY LAW, TENANT HEREBY
    WAIVES THE RIGHT TO TRIAL BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM BROUGHT BY
    TENANT ON ANY MATIER WHATSOEVER ARISING OUT Or OR IN ANY WAY CONNECTED WITH THIS
    LEASE, THE RELATIONSHIP OF LANDLORD AND TENANT, TENANT'S USE OR OCCUPANCY OF THE
    PREMISES AND/OR ANY CLAIM OF INJURY OR DAMAGE.

                                                         ARTICLE XVI

                                   SUSOROINATION;    ~STOPPEL     CERTIFICATE; FINANCIALS

               16.1      Subordination Allornment and Non-Disturbance. Without the necessity of any additional document
    being executed by Tenant for the purpose of effecting a subordination, and at the election of Landlord or any
    Mortgagee or any ground lessor with respect to the land of which the Premises are a part, this Lease shall be subject
    and subordinate at all times to (I) all ground leases or underlying leases which may now exist or herearter be
    executed affecting the Premises, and (II) the lien of any Mortgage which may now exist or hereafter be executed In
    any amount for which the Premises, the Building, ground leases and/or underlying leases, and/or Landlord's Interest
    or estate In any of said Items, Is specified as security. Landlord or any such Mortgagee or ground lessor shall have
    the right, at Its election, lo subordinate or cause to be subordinated any such ground leases or underlying leases or
    any such liens to this Lease, No subordination shall permit material Interference with Tenant's rights hereunder, !ilnd
    any ground lessor or Mortgagee shall recognize Tenant and Its permitted successors and assigns as the tenant of the
    Premises and shall not disturb Tenant's right to quiet possession of the Premises during the Term so long as no
    Evant of Default has occurred and Is continuing under this Lease. If Landlord's Interest In the Premises are acquired
    by any ground lessor or Mortgagee, or ln the event proceedings are brought for the foreclosure of, or In the event of
    exercise of power of sale under, any Mortgage made by Landlord covering the Premises or any part thereof, or In the
    event a conveyance Jn lieu of foreclosure is made for any reason, Tenant shall, notwithstanding any subordination
    and upon the request of such successor In interest to Landlord, attorn to and become the Tenant of the successor In
    Interest to Landlord and recognize such successor In Interest as the Landlord under this Lease and the ground lessor,
    Mortgagee or other successor In Interest to Landlord shall recognize Tenant and Its permitted successors and
    assigns as the tenant of the Premises and shall not disturb Tenant's right to quiet possession of the Premises during
    the Term so long as no Event of Default has occurred and Is continuing under this Lease, Although this Section 16.1
    is self-executing, Tenant covenants and iigrees to execute and deliver, upon demand by Landlord and In the form
    requested by Landford, or any Mortgagee, or ground lessor, any additional documents evidencing the priority or
    subordination of this Lease with respect to any such ground leases or underlying leases or the lien of any such
    Mortgage, and/or evidencing the attornment of Tenant to any successor In Interest to Landlord as herein provided.
    Tenanfs failure to timely execute and deliver such additional documents within ten (10) days following written request
    therefor shall, at Landlord's option, constitute an Event of Defa~llt hereunder.

              16.2      Estoppal Certificate. Tenant shall, within ten (10) days following written request by Landlord from
    time to time, execute and deliver to Landlord any documents, Including estoppal certificates, In a form required by
    Landlord (I) certifying, to extent of Tenant's knowledge at the time, that this Lease Is unmodified _and In fUll force and
    effect or, if modified, attaching a copy of such modification and certifying that this Lease, as so modified, Is ln full
    force and effect and the date to which the Rent and other charges are paid In advance, If any, (II) acknowledging that
    there are not, to Tenant's knowledge, any uncured defaults on the part of the Landlord or i.;tatlng the nature of any
    uncured defaults, (Ill) evidencing the status of this Lease as may be required by a Mortgagee or a purchaser or the
    Premises, (Iv) certifying the current Monthly Rent amount and the amount and form of Security Deposit on deposit
    with Landlord, and (v) certifying to such other Information as Landlord, Landlord's Agents, Mortgagees and/or
    prospective purchasers or their Mortgagees may reasonably request, Including, but not limited to, any requested
    information regarding Hazardous Materials. Tenant's failure to deliver an estoppel certificate within ten (10) days
    after delivery of Landlord's written request therefor shall If not cured within two (2) business days following a second
    notice from Landford, at Landlord's option, constitute an Event of Default hereunder, and shall be conclusive against
    Tenant (1) that this Lease Is In full force and effect and has not been modified except as represented by Landlord; (2)
    that there are no uncured defaults In Landlord's performance and that Tenant has no right of offset, counterclaim, or
    deduction against Ren~ (3) not more than one (1) month's Rent has been paid In advance; and (4) as to the truth and
    accuracy of any other matters set forth In the form of estoppal certificate submitted to Tenant.

              16.3    Elnanclal Information. Tenant shall deliver to Landlord, prior to the execution of this Lease, and
    within ten (10) days following written request therefor by Landlord from time to time during the Term (but not more
    than twice per calendar year), Tenanfs current flnanclal statements, and Tenant's financial statements for the two (2)

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    years prior to the current fiscal financial statement's year, certified to be true, accurate and complete by the chief
    financial officer of Tenant, Including a balance sheet and profit and loss statement tor the most recent prior year
    (collectively, the "Statements"), which Statements shall accurately and completely reflect the financial condltlon Of
    Tenant and shall be provided on a non-consolidated basis. Landlord agrees that It will keep any non-publicly
    available Statements confidential, except that Landlord shall have the right to deliver the same to any proposed
    purchaser of the Premises, the Premises or any portion thereof, and to the Mortgagees of Landlord or such
    purchaser, Tenant acknowledges that Landlord Is relying on the Statements In its determination to enter Into this
    Lease, and Tenant represents to Landlord, which representation shall be deemed made on the date of this Lease and
    again on the Commencement Date, that no material change In the financial condition of Tenant, as reflected In the
    Statements, has occurred since the date Tenant delivered the Statements to Landlord.

                                                         ARTICLE XVII

                                                   SIGNS AND GRAPHICS

              Subject to compliance with applicable laws, the CC&Rs and the rules and regulations of the Harbor Bay
    Business Park Association and subject to Landlord's reasonable approval, all of which shall be complied with and
    obtained by Tenant at Tenan~s sole cost and expense, Tenant shall be entitled to erect a monument sign on the
    Premises and slgnage on the exterior the Building ("Permitted Slgnage"). Tenant shall have no right to maintain any
    other signs or graphics In any other location In, on or about the Premises and shall not display or erect any other
    signs, dlsplays or other advertlslng materlals that are vlslble from the exterior of the Building or outside of the
    Premises, Permitted Slgnage shall be Installed and maintained by Tenant (and removed by Tenant upon the
    expiration or sooner termination of this Lease), at Tenant's sole cost and expense, and shall conform to the sign
    criteria established by Landlord from time to time for such slgnage. Tenant shall be responsible for paying to restore
    the Building and Premises, as the case may be, to good condition and repair upon the removal or modification of any
    sign, Tenant may use the Tenant Improvement Allowance to pay tor a portion of the costs of such slgnage.

             Landlord shall not be liable to Tenant for any use of any photograph or video of the exterior of the Building or
    the Property or for use of Tenant's name and logo and, during the last nine (9) months of the Lease Term, any
    photograph of the Interior of the Premises (unless Landlord and Tenant are actively engaged In bona fide Lease
    renewal discussions), In reports, marketing materials or other promotional materlals relating to the Premises, ,

                                                        ARTICLE XVIII

                                                     QUIET ENJOYMENT

             Landlord covenants that Tenant, upon performing the terms, conditions and covenants of this Lease, shall
    have quiet and peaceful possession of the Premises as against any person clalmlng the same by, through or under
    Landlord.

                                                         ARTICLE XIX

                                               SURRENDER: HOLDING OVER

              19.1      Surrender of the Premises. Upon the expiration or sooner tennination of this Lease, Tenant shall
    surrender the Premises to Landlord in its condition existing as of the Commencement Dale of this Lease (as modified
    by the Tenant Improvements paid for, In whole or In part with the Tenant Improvement Allowance), normal wear and
    tear and acts of God excepted, with all Interior walls In gooc) repair, all carpets cleaned, the HVAC equlpmen~
    plumbing, electrical and other mechanical fixtures within the Premises In good opera~ng order, reasonable wear and
    tear excepted, and all floors cleaned, all to the reasonable satlsfacUon of Landlord. Tenant shall remove those
    Alterations (Including, without limitation, telecommunications and data cabling and wiring, but excluding any Tenant
    Improvements) which Tenant Is required to remove pursuant to Section 8.1 above and Section 22,3 below and all
    Tenant's Personal Property, and shall repair any damage and perform any restoration work caused by such removal.
    If Tenant falls to remove suoh Alterations and Tenant's Personal Property which Tenant Is authorized and obligated
    to remove pursuant to the above, and such failure continues after the expiration or sooner tenninatlon of this Lease,
    Landlord may retain such property and all rights of Tenant with respect to it shall cease, or Landlord may place all or
    any portion of such property In public storage for Tenant's account, or Landlord may dispose of such property In any
    other manner permitted by law, Tenant shall pay to Landlord, upon demand, the costs of removal of any such
    Alterations and Tenant's Personal Property and storage and transportation costs of same, and the cost of repairing
    and restoring the Premises, together with attorneys' fees and interest on said amounts at the Applicable Rate from
    the date of expenditure by Landlord. If the Premises are not so surrendered at the expiration or sooner termination of

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    this Lease, Tenant hereby agrees to Indemnify Landlord and Landlord's Agents against all Claims resulting from any
    delay by Tenant In so surrehderlng the Premises, Including, but not limited to, any Claims made by any succeeding
    tenant, and actual attorneys' fees and costs.

              19.2    Holding Over. If Tenant remains In possession of all or any part of the Premises after the
    expiration or sooner termination of this Lease with the prior written consent of Landlord, such possession shall
    constitute a month-to-month tenancy only and shall not constitute a renewal or extension for any further term. If
    Tenant remains In possession of all or any part of the Premises after the expiration or sooner termination of this
    Lease without the prior written consent of Landlord, such possession shall constitute a tenancy at' sufferance, In
    either of such events, Monthly Rent shall be Increased, for the first thirty (30) days of such holdover, to an amount
    equal to one hundred twenty-five percent (125%) of the Monthly Rent payable during the last fUll calendar month of
    the Term and, thereafter, to one hundred fifty percent (160%) of the Monthly Rent payable during the last fUll calendar
    month of the Term, and any other sums due hereunder shall be payable In the amounts and at the times specified In
    this Lease, Any such tenancy shall be subject to every other term, condition and covenant contained In this Lease.

                                                         ARTICLE XX

                                      CONSTRUCTION OF TENANT IMPROVEMENTS

              The obllgatlons of Landlord and Tenant, If any, with respect to the Tenant Improvements are set forth In
    Article 22 of this Lease. It Is acknowledged and agreed that all Tenant Improvements under this Lease are and shall
    be the property of Landlord from and after their Installation.

                                                         ARTICLEXXI

                                   MISCELLANEOUS AND INTERPRETIVE PROVISIONS

              21.1      !l.rlllifil!i. Tenant represents and warrants to Landlord that Tenant has not had any dealings with
    any real estate broker, agent or finder In connection with the negotiation of this Lease or the Introduction of the
    parties to this transaction, except for Brokers, and that It knows of no other real estate broker, agent or finder who Is
    or might be entitled to a commission or fee In connection with this Lease. In the event of any additional claims for
    brokers' or finders' fees with respect to this Lease, Tenant shall Indemnify, hold harmless, protect and defend
    Landlord from and against such Claims If they shall be based upon any statement or representation or agreement
    made by Tenant, and Landlord shall Indemnify, hold harmless, protect and defend Tenant from and against such
    Claims If they shall be based upon any statement, representation or agreement made by Landlord.

              21.2     Examination of Lease: Effecjlveness. Submission of this Lease for examination or signature by
    Tenant does not create a reservation of or option to lease. This Lease shall become effective and binding only upon
    full exeoutlon and delivery of this Lease by both Landlord and Tenant.

              21.3    No Recording. Tenant shall not record this Lease or any memorandum of this Lease without
    Landlord's prior written consent, but If Landlord so requests, Tenant agrees. to .execute, have. acknowledged.and
    deliver a memorandum of this Lease In recordable form which Landlord thereafter may file for record.

             21.4     Quitclaim. Upon any termination of this Lease, Tenant shall, at Landlord's request, execute, have
    acknowledged and deliver to Landlord an Instrument In writing releasing and qultclalmlng to Landlord all right, title
    and Interest of Tenant In and to the Premises by reason of this Lease or otherwise.

              21.5     Modlftcatlons for Mortgagees, If In connection wlth obtaining financing for the Premises or any
    portion thereof, Landlord's Mortgagees shall request reasonable modifications. to this Lease as a condition to such
    financing, Tenant shall not unreasonably withhold, delay or defer Its consent thereto, provided such modifications do
    not materially adversely affect Tenant's rights hereunder. Tenant's failure to so consent shall constitute an Event of
    Default under this Lease,

             21.6     ~. Any Notice required or desired to be given under this Lease shall be In wlitlng and shall be
    addressed to the address of the party to be served. The addresses of Landlord and Tenant are as set forth In Items 1
    and 3, respectively, of the Basic Lease Provisions, except that (a) prior to the Commencement Date, the address for
    Notices to Tenant shall be as set forth below Tenant's signature on this Lease, and (b) from and after the
    Commencement Date, notwithstanding the addresses for Tenant set forth in Item 3 of the Basic Lease Provisions, all
    Notices regarding the operation and maintenance of the Premises shall be delivered to Tenant at the Premises. Each
    such Notice shall be deemed effective and given (I) upon receipt, If personally delivered, (II) for any Notice given by
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    overnight courier, the next business day after deposit with the courier, (Ill) upon being telephonlcally confirmed as
    transmitted, If sent by facsimile, email, telegram, telex or telecopy, (Iv) two (2) business days after deposit In the
    United States mall in the County, certified and postage prepaid, properly addressed to the party to be seJYed, or
    (v) upon receipt If sent In any other way. Any party hereto may from time to time, by Notice to the other In
    accordance with this Section 21.6, designate a different address than that set forth above for the purposes of Notice.
    In the event that Tenant's address for Notices Is an address not located In California and/or Is a Post Office box, mall-
    stop or the Ilka, then, notwithstanding anything contained In this Section 21.6 to the contrary, any notice given by
    Landlord under California Code of Civil Procedure Sections 1161 and/or 1162 (Including, without limitation, any
    Notices given by Landlord under Article XV above that are Intended to satisfy the notice requirements under said
    Sections 1161 and/or 1162) may, at Landlord's option, be served by Landlord at the Premises (and any courtesy
    copy of such notice sent by Landlord In any other manner shall not affect the legal adequacy of the notice served by
    Landlord at the Premises).

             21.7     Captions. The captions and headings used In this Lease are for the purpose of convenience only
    and shall not be construed to limit or extend the meaning of any part of thle Lease.

              21.8      Executed Copy. Any fully executed copy of this Lease shall be deemed an original for all purposes,

              21.9      Time, Time Is of the essence for the perfonnance of each term, condition and covenant of this
    Lease,

              21.1 O Sevarabllltv, If any one or more of the provisions contained herein shall for any reason be held to
    be Invalid, Illegal or unenforceable In any respect, such lnvalldlty, Illegality, or unenforceablllty shall not affect any
    other provision of this Lease, but this Lease shall be construed as If such Invalid, Illegal or unenforceable provision
    had not been contained herein.

                 21.11 Survival. All covenants and Indemnities set forth herein which contemplate the payment of sums,
    or the performance by Tenant after the lerm or following an Event of Default, Including spectfically, but not limited to,
    the covenants and Indemnities set forth In Section 6.3, Article VI, Article VII, Section 8.1, Section 9.2, Section 11.1,
    Section 11. 1D, Article XV, and Article XIX, and all representations and warranties of Tenant, shall sutvive the
    exp Ira.ti on or sooner termination of this Lease.

              21. 12 Choice of Law: Construction. This Lease shall be construed and enforced In accordance with the
    laws of the State of California. The language In all parts of this Lease shall in all cases be construed as a whole
    according to Its fair meaning and not strictly for or against either Landlord or Tenant, It being the Intent of the parties
    that this Lease shall be lnterpreted as if It was prepared by both parties, and any ambiguities shall not be resolved In
    favor of Tenant because all or a portion of this Lease was prepared by Landlord.

              21.13 Gender; Slqgyli;ir, Plural, When the context of this Lease requires, the neuter gender Includes the
    masculine, the feminine, a partnership, limited liability company or corporation or joint venture, the singular Includes
    the plural and the plural Includes the singular.

             21.14 ~on-Agencv. It Is not the-Intention of Landlord·orTanant to-create hereby a relationship of master-
    seJYant or principal-agent, and under no circumstance shall Tenant herein be considered the agent of Landlord, It
    being the sole purpose and Intent of the parties hereto to create a relationship of landlord and tenant.

               21.16 Successors. The terms, covenants, conditions and agreements contained In this Lease shall,
    subject to the provisions as to assignment, subletting, and bankruptcy contained herein and any other provisions
    rastrlotlng successors or assigns, apply to and bind the heirs, successors, legal representatives and assigns of the
    parties hereto.

              21.16 Waiver: Remedle11 cumulative. The waiver by either p<irty of any term, covenant, agreement or
    condlUon herein contained shall not be deemed to be a waiver or any subsequent breach of the same or any other
    term, covenant, agreement or condition herein contained, nor shall any custom or practice which may develop
    between the parties In the administration of this Lease be construed lo waive or to lessen the right of Landlord to
    Insist upon the performance by Tenant In strict accordance with all of the provisions of this Lease. The subsequent
    acceptance of Rent hereunder by Landlord shall not be deemed to be a waiver of any preceding breach by Tenant of
    any provisions, covanan~ agreement or condition of this Lease, other than the failure of Tenant to pay the particular
    Rent payment so accepted, regardless of Landlord's knowledge or such preceding breach at the time of acceptance
    of such Rent payment. Landlord's acceptance of any check, letter or payment shall in no event be deemed an accord
    and satisfaction, and any such acceptance by Landlord shall be without prejudice to Landlord's right to recover the
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    balance of the Rent or pursue any other remedy available to It. The lights and remedies of either party under this
    Lease shall be cumulative and In addition to any and all other rights and remedies which either party has or may
    have.

             21. 17 Unavoidable Delay. Except for the monetary obligations of Tenant under this Lease, neither party
    shall be chargeable with, liable for, or responsible to the other for anything or In any amount for any Unavoidable
    Delay and any Unavoidable Delay shall not be deemed a breach of or default In the performance of this Lease, It
    being speclflcally agreed that any !Jme llmlt provision contained in this Lease (other than the scheduled expiration of
    the Term) shall be extended for the same period of time lost by Unavoidable Delay.

              21, 18 Entire Agreement. This Lease Is the entire agreement between the parties, and supersedes any
    prior agreements, representations, negotiations or correspondence between the parties except as expressed herein.
    Except as otherwise provided herein, no subsequent change or addition to this Lease shall be binding unless In
    writing and signed by the parties hereto,

               21. 19 Authority. If Tenant Is a corporation, llmlted llablllty company or a partnership, then Tenant
    represents and warrants that lndlvldual executing this Lease on behalf of the corporation, limited llablllty company or
    partnership, as the case may be, Is duly authorized to execute and deliver this Lease on behalf of said entity In
    accordance with Its corporate bylaws, operating agreement, statement of partnership or certificate or limited
    partnership, as the case may be, and that this Lease Is binding upon said entity In accordance with Its terms. If
    Tenant Is a corporatron, Tenant shall, If requested by Landlord, within thirty (30) days after execution of this Lease,
    deliver to Landlord a certified copy of a resolution of the Board or Directors of the corporation or certificate of the
    Secretary of the corporation, authorizing, ratifying or confirming the execution of this Lease. If Tenant Is a limited
    liability company, Tenant shall, If requested by Landlord, within thirty (30) days after the execution of this Lease,
    deliver to Landlord a certified copy of Its operating agreement authorizing such execution, If Tenant Is a partnership,
    Tenant shall, If requested by Landlord, within thirty (30) days after the execution of this Lease, deliver to Landlord a
    certified copy of Its partnership agreement authorizing such execution,

              21.20 Guarani~. As a condition to the execution of this Lease by Landlord, the obligations, covenants
    and performance of the Tenant as herein provided shall be guaranteed In writing by the Guarantor listed In Item 14 of
    the Basic Lease Provisions, If any, on a form of guaranty provided by Landlord. The Tenant has represented that the
    Guarantor Is endeavoring to complete a "Guarantor Recapltallza!lon 11 which shall consist of the completion or each of
    the following: (i) a reduction of Gu<iranto~s debt, excluding trade payables, to no more than Seven Million Dollars
    ($7,000,000); (II) each of Guarantor's loans shall have a maturity date at least three (3) full years after the date on
    which the Guarantor Recapltallzatlon Is complete and such maturity date may not be accelerated by the lender for
    any reason other than default by the Guarantor; (Ill) the projected "Annual Free Cash Flow" divided by the "Annual
    Debt Service" for each of the two successive one-year periods following the Guarantor Recapltallzatlon shall be no
    less than 2.0; and (iv) Tenant shall have provided reasonable evidence to the Landlord that all of the foregoing
    requirements for completion of the Guarantor Recapitalization have occurred Including without limitation, a balance
    sheet for the Guarantor certlned by the Guarantor's CEO or CFO as being accurate and complete, and a certification
    under penalty of perjury by such officer that the other requirements of a Guarantor Recapltalfzatlon have occurred.
    Tenant agrees to use commerclally reasonable efforts to assist Guarantor to effectuate the Guarantor
    Recapltallzatlon and shall keep Landlord fully and promptly Informed of the progress--whlch has been made In
    competing the Guarantor Recapltallzatlon. As used In this Section 21.20: "Annual Free Cash Flow'' shall be equal to
    earnings before lnteres~ taxea, dividends and amortization, less capital expenditures, as calculated In accordance
    with Generally Accepted Accounting Principles for any given one-year perlod; "Annual Debt Service" shall be equal to
    the sum of all lnteres~ principal and other fees, costs and other payments due from Guarantor to any lender under
    any and all loans for any given one-year period; and the one-year periods referenced shall be the one-year periods
    starting on the first day of the month following the date on which Items (I) and (II) of the definition of Guarantor
    Recapltallzatlon have been completed, Upon completion of the Guarantor Recapitalization, as evidenced by Tenant's
    submission to Landlord of a full and complete set all of the documents and Information described In Item (Iv) of the
    definition of Guarantor Recapltallzatlon, Landlord shall have thirty (30) days to review the Information and documents
    provided lo Landlord by Tenant and to notify the Tenant that Landlord agrees or reasonably disagrees that the
    Guarantor Recapitalization has occurred. If Landlord disagrees, Landlord shall provide Tenant with any specific
    reasons for Landlord's disagreement and Tenant shall have the right to address such specifics and to submit
    addltlonal lnformaHon and documents to address Landlord's concerns and then Landlord shall have ten (10) days to
    review such additional lnfomiatlon and documents and to notify Tenant that Landlord agrees or disagrees that the
    Guarantor Recapitalization has occurred. Such process shall continue until Landlord agrees that a Guarantor
    Recapllallzatlon has occurred, at which point the Guarantor Recapitalization shall be deemed to be a "Qualified
    Guarantor Recapitalization."


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              21.21 Exhibits: References. All exhibits, amendments, riders and addenda attached to this Lease are
    hereby Incorporated Into and made a part of this Lease. In the event of variation or discrepancy, the duplicate original
    hereof (Including exhibits, amendments, riders and. addenda, If any, specified above) held by Landlord shall control.
    All references In this Lease to Articles, Sections, Exhibits, Riders and clauses are made, respectively, to Articles,
    Sections, E:xhlblts, Riders and clauses of this Lease, unless otherwise specified.

              21.22 Basic Lease Provisions. The Basic Lease Provisions at the beginning of this Lease are Intended to
    provide general Information only. In the event of any Inconsistency between the Basic Lease Provisions and the
    specific provisions of this Lease, the specific provisions of this Lease shall prevail.

              21.23 No Merner. The voluntary or other surrender of this Lease by Tenant, or a mutual canoellatlon
    thereof, or a termination by Landlord, shall not work a merger, and shall, at the option of Landlord, terminate all or
    any existing subtenancies or may, at the option of Landlord, operate as an assignment to Landlord of any or all such
    subtenancies.

            21.24 Joint and Several Obljgatloos. If more than one person or entity Is Tenant, the obligations Imposed
    on each such person or entity shall be joint and several.

                21.25 No Light or Air Easement. Any diminution or shutting off of light or air by any structure which may
     be erected on lands adjacent to the Building shall In no way affect this Lease, abate Rent or otherwise Impose any
     liability on Landlord. This Lease does not confer any right with regard to the subsurface below the ground level of the
    ·Building.

              21.26 Security Measures. Tenant hereby acknowledges that Landlord shall have no obligation
    whatsoever to provide guard service or other security measures for the benefit of the Premises. Tenant assumes all
    responslblllty for the protection of Tenant, Tenant's Agents and the property of Tenant and of Tenant's Agents from
    acts of third parties. Nothing herein contained shall prevent L!~ndlord, at Landlord's sole option, from providing
    security protection for the Premises, In which event the cost thereof shall be Included within the definition of Premises
    Costs and paid by Tenant In the manner set forth In Section 7.1.

             21.27 Traosfers by Landlorcj. Landlord (and any party comprising Landlord) and Its successors In Interest
    shall have the right to transfer their respective Interests In this Lease, the Building and the Premises at any time and
    to any person or entity. In the event of any such transfer(s), the Landlord orlglnally named herein (and, in the case of
    any subsequent transfer( a), the appllcable transferor(s)) shall be automatically relieved from the date of such transfer,
    without further act by any person or entity, of all llablllty under any and all of the covenants and obligations of
    Landlord contained In or derived from this Lease accruing from and following the date of such transfer, and, upon the
    request of Landlord, Tenant agrees to attorn to any entity purchasing or otherwise acquiring the Premises.

            21.28 Counterparts. This Lease may be executed In any number of counterparts, each of which shall be
    deemed to be an original and all of which together shall be deemed one and the same Instrument.

            . 21.29 No Offe(. The·submlsslon of this Lease to Tenant by Landlord shall not be construed-as-an offer,
    nor shall either party hereto have any rights under this Lease unless each of Landlord and Tenant executes a copy of
    this Lease and delivers same to the other party hereto.

                                                         ARTICLEXXll

                                                  ADDITIONAL PROVISIONS

             22.1      Additional Reguir§ments Relatioq to Alterations and Other Work. The fOllowlng terms and
    conditions shall apply to any work or service performed at the Building or on the Premises by Tenant or Tenant's
    contractors (Including, without limitation, Alterations, repairs, maintenance, janitorial and cleaning services), which
    terms and conditions are In addition to those set forth In the Lease, including, without limitation, the terms and
    conditions set forth in Article VIII:

                              (a)     General Requirements. Such work or services shall not proceed until Landlord has
           approved In writing: (I) Tenant's contractor and the form of contract wlth such contractor (which form shall
           name Landlord as an express third party beneficiary of the contract and which form shall provide that changes
           In the contract, Including any change orders, shall require the advance approval of the Landlord), (II) the
           amount and coverage of public liability, builder's risk and property damage Insurance, with Landlord, the

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            Mortgagees and the Additional Insureds named In Item 16 of the Basic Lease Provisions named as additional
            Insureds, carried by Tenant's contractor, (iii) complete and detailed plans and specifications for such work, and
            (Iv) a schedule for the performance of the work or services, If the work In question consists solely of paint and
            carpeting, only clause (II) of the preceding sentence shall apply, and clauses {I), (Iii) and (Iv) shall not apply to
            the work In question. Tenant shall use Its commercially reasonable efforts to Substantially Complete the Work
            by the date{s) set forth on the schedule for performance of the work or services.

                               (b)      permits: Compliance with Applicable Laws. All work and services shall be
             performed In conformity with a valid permit when required, a copy of which shall be furnished to Landlord
             before commencement of such work or services. In any case, all work and services shall be performed In
             accordance with all Applicable Laws and Landlord's specifications for quality, Notwithstanding any failure by
             Landlord to object to any such work or services, Landlord shall have no responsibility for Tenant's failure to
             comply with Applicable Laws,

                                (c)    lndemnjty. Tenant agrees to Indemnify, defend and hold Landlord and Landlord's
            Agents hamiless from and against all Claims relatlng to any work or services performed, Including, without
            limitation, Claims for mechanics' at1d materialmen's' liens for or relating to the Work.

                             (d)      Union Labor. Tenant understands that all contractors l'!nd subcontractors retained
            at the Premises by Landlord or Tenant to perform any work or services shall be signatory to a union collective
            bargaining agreement.

                               (e)      Development Review. Tenant shall pay to Landlord, upon demand, a development
            review fee equal to three percent (3%) of the total cost of any Alterations as compen~atlon to Landlord for
            review, oversight and related functions performed· by Landlord or Its agents In connection with such
            Alterations; provided, however, that such fee shall not apply to the cost of materials or installation of new paint
            and carpeting In the Interior of the Building which Is part of the Premises.

                                (f)       Improvement Allowance. Landlord shall provide a tenant Improvement allowance
            (the "Tenant Improvement Allowance") which Tenant may obtain to reimburse Itself for out-of-pocket costs,
            paid by the Tenant, during the twelve (12)'month period following the Commencement Date or pursuant to the
            provisions of Section 22.1{k) below, for the cost of designing, permitting, managing and constructing tenant
            Improvements ("Tenant Improvements") In the Building and, if applicable, Landlord's development review fee.
            The Tenant Improvement Allowance will not be paid at any time following: (I) an Event of Default has occurred
            and Is continuing; or (II) after Landlord gives notice of a breach which will become an Event of Default If the
            breach In question Is not cured within the periods specified In Section 15.1 for the breach In question. The
            Tenant Improvements shall be subject to Landlord's prior reasonable review and approval, shall be consistent
            with the design and quality of comparable office buildings In the general vicinity and shall not Include furniture,
            fixtures, equipment or specialized Improvements not common In comparable office buildings In the vicinity.
            The Tenant Improvement Allowance may also be used to pay such costs paid by Tenant for the monument
            sign which Tenant plans to construct on the Premises. The Tenant Improvement Allowance shall be up to
            Fifteen Dollars ($15.00) per rentable square foot of space In the Building; of this amount, Four Dollars ($4.00)
            per rentable square foot of space In the Building (the "Four Dollar Allowance")-shall be available from the date
            of this Lease and the balance of the Fifteen Dollars ($15.00), that is, Eleven Dollars ($11.00) per rentable
            square foot of space In the Building (the "Eleven Dollar Allowance"), shall be available If the Guarantor has a
            Qualified Guarantor Recapitalization on or before September 30, 2013. If the Guarantor Racapltallzatlon does
            not become a Qualified Guarantor Reoapltallzation on or before September 30, 2013, then the Eleven Dollar
            Allowance shall not be available at all and the Monthly Rent for the balance of the Initial Term of this Lease
            shall be reduced as shown In the "Alternate Monthly Rent Table If no Qualified Guarantor Recapitalization"
            which Is Included In Section 9 of the Basic Lease Provisions. Landlord shall retain any portion of the Tenant
            Improvement Allowance not paid to Tenant during the period following the date of this Lease and ending
            twelve (12) months thereafter as to the Initial Four Dollar Allowance and starting on the date the Guarantor
            Recapltaliiatlon becomes a Quallfied Guarantor Recapitalization and ending twelve (12) months thereafter as
            to the Eleven Dollar Allowance. Notwithstanding the preceding sentence, If Tenant qualifies for the Eleven
            Dollar Allowance and if amounts thereunder hav1;1 not been paid to Tenant during the twelve (12) month period
           ·when the Eleven Dollar Allowance may be paid to Tenant, then the unpaid portion of the Eleven Dollar
            Allowance, but not In excess of Five Dollars ($5.00) per agreed rentable square foot In the Building, shall be
            applied to reduce the Rent payable In each full calendar month remaining In the Term of the Lease from and
            Including the first full calendar month of the Term following the twelve (12) month period and the last of which
            shall be the final tull calendar month of the Term (with the reduction In each month to be equal to the amount
            of the reduction In each other month).

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                              (g)      Application and Payment Prior to commencement of any construction on the
           Premises, Tenant shall have plans and specifications for the work approved by L<indlord, shall obtain permits
           and bids from contractors for the completion of the same and shall deposit with Landlord the amount, If any, by
           which the total estimated costs for the design, permits, management and construction of the Tenant
           Improvements and Slgnage to which the Tenant Improvement Allowance may be applied exceeds the amount
           of the undlsbursed balance of the Tenant Improvement Allowance, Landlord shall then first use Tenanfs funds
           to reimburse Tenant for amounts described In Section 22.1(1) which are subject to being reimbursed and then,
           subject to Section 22.1 (f) above, the Tenant Improvement Allowance. Each application for payment shall
           Include copies of paid Invoices and unconditional lien waivers for (i) all amounts previously paid by Tenant and
           (II) for all amounts previously disbursed by Landlord. The appllcatlon shall also Include 'the most recent
           application for payment from Tenant's contractor and for each of Tenanfs other consultants' work on the
           Tenant Improvements and slgnage and a summary showing the amount disbursed, the percentage complete,
           the effect of any change orders, the funds required to complete the work in question and any other Information
           which the Tenant has received from Its contractors or consultants for the Tenant Improvements and Slgnage In
           question. If any application shows that completion of the Tenant Improvements or slgnage on the Premises
           cannot be completed using the amounts then being held by Landlord for disbursement to Tenant In
           accordance with this paragraph, then the Tenant shall deposit the shortfall with Landlord within five (6) days
           after request by Landlord. Applications shall be processed and paid within thirty (30) days after the application
           Is submitted to Landlord along with the payment of any shortfall. Except for the cost of materials or Installation
           of new paint and carpeting In the Interior of the Building, which Is part of the Premises, Landlord shall retain an
           amount (the "Retention") equal to ten percent (10%) of each requested payment to be disbursed thirty (30)
           days after a notice of completion Is recorded In accordance with Section 22. 1(h) below.

                              (h)     ~otldes Relating to Construction. Prior to Commencement of any work on the
           Premises, Tenant shall prepare a Notice of Non·Responslblllty, for Landlord's signature, and, prior to
           commencement of work, shall record the same In the Official Records of the county where the Premises are
           located. Prior to applying for payment of the Retention, Tenant shall record a Notice of Completion and a
           conformed copy of the recorded Notice of Completion shall be submitted with Tenant's application for the
           release of the Retention, Each such notice shall be In the form required by statute and In a form and content
           satisfaotory to Landlord.

                            (i)       8s Bullts. Within ten (10) days after the Notice of Completion Is recorded, Tenant
           shall provide Landlord with as built plans for the Tenant Improvements and for the slgnage described above
           which Tenant intends to Install on the Premises.

                             0)        Test Flt. Upon receipt of an Invoice from Tenanfs architect, which shall be
           submitted by Tenant for payment, and upon approval by Tenant, Landlord shall pay the architect, In addition to
           any amount Landlord is otherwise committed to pay hereunder, the sum of up to Four Thousand Dollars
           ($4,000.00), but not in excess of the actual charge by the architec~ for a ·~est fit" space plan for the Tenant In
           the Premises,

                              (k)      Existing Agreements. The parties acknowledge that, prior to the Commencement
            Date, Tenant has entered Into agreements for painting and carpeting portions of the Premises,. which
            agreements have been approved by Landlord and consist of the following: (I) a contract between Tenant and
            George E. Masker, Inc., dated 11/28/2011, for painting the Sullding In the amount of $30,604.00; and, (II) a
          . contract between Tenant and Baxley, Inc., dated 11/04/2011 for procurement and Installation of carpeting In
           the Premises, in the amount of $210, 125. The form of such agreements has been !ilpproved by Landlord, and
            payment for work thereunder shall be made In accordance with Section 22.1 (g) above. As of the date of this
            Lease, Landlord has approved Tenant's Tenant Improvement costs listed on Exhibit D In the amount of
            $123,577.85, In addition to 1he $4,000 In reimbursement for the •test ftf' pursuant to Section 22.1Q) above, for
            a total of $127,577.85; however, such amounts shall not be paid to Tenant until Tenant has delivered to
            Landlord the Invoices and lien releases described In Section 22.1 (g) above. If the Four Dollar Allowance Is
            exhausted by payments made under the agreements described in the preceding sentence, then the balance
           due under such agreements shall be paid by Tenant f.!nd shall be reimbursed by Landlord from a portion of the
            Eleven Dollar Allowance when, and If, the Eleven Dollar Allowance becomes available hereunder,

              22.2     Restricted Persons. Tenant warrants, represents and covenants to Landlord that neither Tenant
    nor any of Its affiliates, assignees, sublessees or pennltted users of the Premises, nor any of their respective
    partners, members, shareholders or other equity owners, and none of their respective employees, officers, directors,
    representatives or agents Is , nor wlll they become, a person or entity with whom United States persons or entitles are
    restricted from doing business under existing or future regulations of the Office of Foreign Assets Control ("OFAC") of

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     the Department of the Treasury (Including, without llmltatlon, those named on OFAC's Specially Designated and
     Blocked Persons List) or under any existing or future statute, executive order (including, without limitation, Executive
     Order 13224 entitled "Blocking Property and Prohibiting Transactions with Persons Who Commit, Threaten to
     commit, or Support Terrorism'), or other governmental action, and Is not and w!ll not engage In any dealings or
     transactions or be otherwise associated with such persons or entitles, Any breach or violation of this Section 22.2
     shall, at Landlord's option, constttute an Event of Default by Tenant under this Lease.

               22,3      ERISA Representations and Agreements.

                              (a)       Tenant acknowledges that Landlord ("Pension Fund") Is governed by and subject to
            regulation under the ERISA. In accordance with requirements under ERISA, Tenant hereby represents and
            warrants to Landlord that neither Tenant nor any ERISA Affiliate (as hereinafter defined) currently has or,
            within the past year, has had the power to appoint or terminate McMorgan & Company LLC as a manager of
            Pension Fund assets Involved In this transaction, or otherwise negotiate on behalf of the Pension Fund the
            terms of the Investment management agreement with McMorgan & Company LLC, with respect to the Pension
            fund assets Involved In this transaction (the "Appointing Party"). An "ERISA Affiliate" of Tenant means:

                              (b)          any other person directly or Indirectly controlling, controlled by or under common
            control with Tenant, or

                                (c)       any corporation, partnership, trust or unincorporated enterprise of which Tenant Is
            an officer, director, five-percent or more partner, or employee (but only if employed by the plan sponsor), or

                              (d)      any director or employee of Tenant who Is a highly compensated employee as
            defined In Section 4975 (e)(2)(H) of the Internal Revenue Code, or

                              . (e)      any director or employee of Tenant who has direct or Indirect authority,
            responslblllly or control regarding the custody, management or disposition of Pension Fund assets Involved In
            this transaction, or

                                    (f)    a named fiduciary of Pension Fund, Within the meaning of Section 402(a)(2) of
            ERISA.

     The definition of an ERISA Affiliate above is derived from Prohibited Transaction Class Exemption 84-14, March 13,
     1984 (49 FR 9494); (amended July 6, 2010 (75 FR 38837)), Tenant hereby represents and warrants to Landlord that
     Tenant has no Interest which consUtutes the assets of an "employee benefit plan," as defined In Section 3(3) of
     ERISA, or a "plan," as defined In Section 4975(e)(1) of the Internal Revenue Code, for purposes of Section 406 of
     ERISA or Section 4975 of the Internal Revenue Code. The Tenanrs representations, warranties and agreements In
     this Section shall survive the expiration or earlier termination of the Lease, as hereby amended. Tenant agrees that,
     so long as Landlord owns the Landlord's Interest under the Lease, as hereby amended, Tenant shall not assign or
     sublet the Premises to an Appointing Party. Any attempted assignment or subletting In violation of the foregoing
     agreements shall be void and constitute a default under the Lease, as hereby amended, The breach of the foregoing.
     representations-and warranties or oflhe foregoing agreements shall be a material default under the Lease, as hereby
     amended, and Landlord shall have all remedies provided In the Lease, as hereby amended, upon the occurrence of a
     Default under the Lease, as hereby amended                                           ·

               22.4      Ielecommunlcatlons.

                                (a)       Tenant and its \elecommunlcatlons companies, Including local exchange
            telecommunications companies and alternative vendor service companies, shall have no right of access lo or
            within the Building or the Premises for the Installation or operation of telecommunications services or systems,
            Including, but not limited to, voice, video, data, and other telecommunlcatlons services provided over wire, fiber
            optic, microwave, wireless, or any other transmission system, for all or part of Tenant's telecommunications
            within the Building and from the Building or the Premises 1o any other location without Landlord's prior written
            consent, which Landlord may wlthhold In Its sole discretion,

                              (b)     In the event that Landlord consents In writing to the Installation of any cabling
            and/or wires, in which case Tenant shall be responsible for ensuring that any such cabling and/or wiring Is
            properly labeled. Tenant acknowledges and agrees that the following terms and conditions shall apply to the
            same:

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                                      (I)    · No later than the tenth (1 Oth) day after the expiration or sooner termination of the
                                      Lease, Landlord may elect by written notice to Tenant (the "Election Right") to:

                                               (1)     Retain any or all wiring, cables, risers, and slmllar Installations
                                               appurtenant thereto Installed by Tenant In the risers of the Building (the "Wiring");

                                               (2)      Remove any or all such Wiring and restore the Premises and risers to
                                               their condition existing prior to the Installation of the Wiring (the "Wire Restoration
                                               Work'), Landlord shalrperform such Wire Restoration Worl< at Tenant's sole cost
                                               and expense; or

                                               (3)      Require Tenant to perform the Wire Restoration Work at Tenant's sole
                                               cost and expense.

                                  (c)        In the event Landlord elects to retain the Wiring, Tenant covenants that

                                      (l)     Tenant shall convey good title to such Wiring, Tenant shall have good right to
                                      surrender such Wiring, and such Wiring shall be free of all liens and encumbrances; and

                                      (II)     All wiring shall be left In good condition, working order, properly labeled at each
                                      end and In each telecommunlcations/electrlcal closet and junction box, and In safe
                                      condition.

                             (d)      Notwithstanding anything to the contrary In Section 4.6, Landlord may retain
           Tenant's Security Deposit, If any, after the expiration or sooner tennlna!lon of this Lease until the earliest of the
           following events;

                                      (I)      Landlord elects to perform the Wire Restoration Work, the Wire Restoratlon Work
                                      Is complete, and Tenant has fully reimbursed Landlord for all costs .related thereto; or

                                      (ii)     Landlord elects to require Tenant to perfonn the Wire Restoration Work, the Wire
                                      Restoration Work ls complete, and Tenant has paid for all c()s\s related thereto.

                              (e)      In the event Tenant falls or refuses to pay all costs of the Wire Restoration Work
           within thirty (30) days after Tenant's receipt of Landlord's notice requesting Tenant's reimbursement for or
           payment of such costs, Landlord may apply all or any portion of Tenant's Security Deposit, If any, toward the
           payment of such unpaid costs relative to the Wire Restoration Work,

                              <n        The retention or application of the Security Deposit, if any, as provided in this
           Section 21.30 does not constitute a llmltat!on on or waiver of Landlord's right to seek further remedy under this
           Lease, at law, or In equity,

                              (g)     The provisions of this Section 21.30 shall survive the expiration or sooner
           termination of this Lease.

              22.5      Letter of Credit.

                               (a)      Delivery of Lsitter of Credit: Key Provisions. Tenant shall deliver to Landlord,
           concurrently with Tenant's execution of this Lease, an unconditional, clean, Irrevocable letter of credit (the
           "L-C") In the amount set forth ln Section 22.5(c) below (the "L·C Amount''), which L-C shall be Issued by a
           money-center, solvent and nationally recognized bank (a bank which accepts deposits, maintains accounts,
           has a local San Francisco office which wlll negotiate a letter of credit, and whose deposits are Insured by the
           FDIC) reasonably acceptable to Landlord (such approved, Issuing bank being referred to herein as the
           "Bank"), which Bank must have a short term Fitch Rating which Is not less than "F1", and a long term Fitch
           Rating which is not less than "A"(or In the event such Fitch Ratings are no longer available, a comparable
           rating from Standard and Poor's Professional Rating Service or Moody's Professional Rating Service)
           (collectively, the "Bank's Credit Rating Threshold"), and which L-C shall be In the fonn of Exblblt C, attached
           hereto. Tenant shall pay all expenses, points and/or fees Incurred by Tenant In obtaining the L-C. The L·C
           shall (I) be "callable" at sight, irrevocable and unconditional, (II) be maintained In affect, whether through
           renewal or extension, for the period commencing on the date of this Lease and continuing until the date (the

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           "L..C Expiration Oat&") that Is no less than sixty (60) days after the explraUon of the Term, as the same may
           be extended, and Tenant shall deliver a new L-C or certificate of renewal or extension to Landlord at least
           thirty (30) days prior to the expiration of the L-C then held by Landlord, without any action whatsoever on the
           part of Landlord, (Ill) be fully assignable by Landlord, Its successors and assigns, (Iv) permit partial draws and
           multiple presentations and drawings, and (v) be otherwise subject to the Uniform Customs and Practices for
           Documentary Credits (2007-Rev), International Chamber of Commerce Publication #600. Landlord, or its then
           managing agent, shall have the right to draw down an amount up to the face amount of the L-C If any of the
           following shall have occurred or be applicable: (A) such amount Is past due to Landlord under the terms and
           conditions of the Lease, as amended, or (B) Tenant has filed a voluntary petltlon under the U. S. Bankruptcy
           Code or any state bankruptcy code (collectively, "Bankruptcy Code"), or (C) an Involuntary petition has been
           filed against Tenant under the Bankruptcy Code, or (D) the Lease, as amended, has been rejected, or Is
           deemed rejected, by Tenant under Section 365 of the U.S. Bankruptcy Code, or (E) the Bank has notified
           Landlord that the L-C will not be renewed or extended through the L·C Expiration Pate, or (F) Tenant is placed
           Into receivership or conservatorshlp, or becomes subject to similar proceedings under federal or state law, or
           (G) Tenant executes an assignment for the benefit of creditors, or (H) If (1) any of the Bank's Pitch Ratings (or
           other comparable ratings to the extent the Fitch Ratings are no longer available) have been reduoetj below the
           Bank's Credit Rating Threshold, or (2) there Is otherwise a material adverse change In the flnanclal condition of
           the Bank, and Tenant has failed to provide Landlord with a replacement letter of credl~ conforming In all
           respects to the requirements of this Section 22.5, In the amount of the applicable L-C Amount, within ten (10)
           days followlng Landlord's demand In the event of the ratings reduction or the material adverse change (each of
           the foregoing being an "L·C Draw Event"). Tenant shall be responsible for the payment of any and all costs
           Incurred by Landlord In connection with the review of any replacement L-C (Including without limitation
           Landlord's reasonable attorneys' fees), If replacement Is required to avoid an L-C Draw Event or is otherwise
           requested by Tenant. In the event of an assignment by Tenant of Its Interest In the Lease, as amended (and
           Irrespective of whether Landlord's consent Is required for such assignment), the acceptance of any
           replacement or substitute letter of oredlt by Landlord from the assignee shall be subject to Landlord's prior
           written approval, In Landlord's reasonable discretion, and the attorney's fees Incurred by Landlord In
           connection with such determination shall be payable by Tenant to Landlord within ten (10) days of billing.

                               (b)       Application of Proceeds Landlord Is entering Into this Lease In material reliance
           upon the ability of Landlord to draw upon the L-C upon the occurrence of any L-C Draw Event. Upon the
           occurrence of an L-C Draw Event, Landlord may, but without obligation to do so, and without notice to Tenant,
           draw upon the L-C, In whole or In part, to cure any such L"C Draw Event and/or to compensate Landlord for
           any and all damages of any kind or nature sustained or which Landlord reasonably estimates that It will sustain
           resulting from the occurrence of the L-C Draw Event and/or to compensate Landlord for any and all damages
           arising out of, or Incurred In connection with, the termination of the Lease. The use, appllcatlon or retention of
           the L-C, or any portion thereof, by Landlord shall not prevent Landlord from exercising any other right or
           remedy provided by the Lease or by any applicable law, It being Intended that Landlord shall not first be
           required to proceed against the L·C, and such L-C shall not operate as a limitation on any recovery to which
           Landlord may otherwise be entitled. Tenant agrees not to Interfere with payment to Landlord of the proceeds
           of the L-C, either prior to or following a "draw" by Landlord of any portion of the L-C, regardless of whether any
           dispute exists between Tenant and Landlord as to Landlord's right to draw upon the .L-C. Tenant agrees and
           acknowledges that (I) the L-C constitutes a separate and Independent contract--between ·Landlord and the
           Bani<, (II) Tenant Is not a third party beneficiary of suoh contract, (Ill) Tenant has no property interest
           whatsoever In the L-C or the proceeds thereof, and (Iv) In the event Tenant becomes a debtor under any
           chapter of the Bankruptcy Code, Tenant Is placed Into receivership or conservatorshlp, and/or there Is an
           event of a receivership, conservatorship or a banl<ruptoy fillng by, or on behalf of, Tenant, neither Tenant, any
           trustee, nor Tenant's bankruptcy estate shall have any right to restrict or limit Landlord's claim and/or rights In
           and under the L·C and/or the proceeds thereof by application of Section 502(b)(6) of the U. s. Bankruptcy
           Code or otherwise.

                                (o)      L-C Amount: Maintenance of L-C by Tenant.

                                  (I)      The L-C Amount shall be Fifty Thousand and 00/100 Dollars ($60,000.00),

                                  (II)      If, as a result of any draw by Landlord of all or any portion of the amounts
                                  available under the L-C, the amount of the L·C shall be less than the L-C Amoun~ Tenant
                                  shall, within five (5) days thereafter, provide Landlord with additional letter(s) of credit In
                                  an amount equal to the deficiency, and any such additional letter(s) of credit shall comply
                                  with all of the provisions of this Section 22.5. If the L-C expires earlier than the L-C
                                  Expiration Pate, Landlord will accept a renewal thereof (such renewal letter of credit to be

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                                  in effect and delivered to Landlord not later than thirty (30) days prior to the expiration of
                                  the L-C), which shall Include all of the terms of the expiring L-C. The proceeds of the L·C
                                  may be applied by Landlord against any Rent that Is not paid when due, to Rent accruing
                                  In the future If Landlord Is exercising Its rights under Section 1951.4 of the California Civil
                                  Code, and/or to pay for all losses and damages that Landlord has suffered or that
                                  Landlord reasonably estimates that It will suffer as a result of any breach or default by
                                  Tenant under the Lease. If Landlord elects to exercise Its rights under the foregoing
                                  sentence, (I) any unused proceeds shall constitute the property of Landlord and need not
                                  be segregated from Landlord's other assets, and (II) Landlord agrees to pay to Tenant
                                  within thirty (30) days after the later of Lease termination and the L-C Expiration Date th~
                                  amount of any proceeds of the L-C received by Landlord and not applied against any Rent
                                  and/or damages as provided In the preceding sentence, Landlord shall not be obligated to
                                  make such payment in the amount of the unused L-0 proceeds until either all preference
                                  issues relating to payments under the Lease have been resolved,




                        LANDLORD'S INITIALS
                              (d)      Transfer and Encumbrancei. The L-0 shall also provide that Landlord may, from
           time to time, without notice to Tenant and without first obtaining Tenant's consent, transfer Its Interest under
           the L-0 to another person or entity, regardless of whether or not such transfer is in connection with the
           assignment by Landlord of its rights and Interests under the Lease. In the event of a transfer of Landlord's
           Interest under the L-C, Landlord shall be released, automatically, from all llablllty In connection with the L-C. In
           connection with any such transfer of the L-C by Landlord, Tenant shall, at Tenanfs sole cost and expense,
           execute and submit to the Bank such applications, documents and Instruments as may be necessary to
           effectuate such transfer and, Landlord shall be responsible for paying the Bank's transfer and processing fees
           in connection therewith to a maximum of $200.00; provided that, Tenant shall have the right (in Its sole
           discretion), but not the obllgatlon, to pay such fees on behalf of Landlord, In which case Landlord shall
           reimburse Tenant within ten (10) days after Tenant's demand the amount of the fees In question, but not In
           excess of $200.00.

                              (e)        L-C Not a Security Qeposlt. Landlord and Tenant agree that neither the L-C nor
           any proceeds drawn thereunder shall be a "security deposit'' under any law applicable to security deposits
           lnoluding, but not limited to, Section 1950.7 of the California Civil Code (the "Securltv Deposit Laws').
           Landlord and Tenant waive any and all rights, duties and obilgatlons that they now have, or In the future may
           have, relating to or arising from the Security Deposit Laws. The foregoing waiver by Tenant includes, without
           limitation, a waiver of the right to claim that the Security Deposit Laws apply to the proceeds drawn under the
           L-C or prevent Landlord from applying such proceeds to compensate Landlord for any damages Landlord
           suffers as a result of any breach or default under or termination of the Lease.

                               (f)      Waiver of Certain Relief, Tenant unconditionally and Irrevocably waives (and as an
           Independent covenant hereunder, covenants not to essert) any right to claim or obtain any of the following
           relief In connection with the L-0:

                                  (I)      Temporary restraining order, temporary Injunction, permanent Injunction, or other
                                  order that would prevent, restrain or restrict the presentment of documents and sight
                                  drafts under any L-C or the Bank's honoring or payment of sight draft(s); or

                                  (II)      Any attachment, gamlshmen~ or levy In any manner upon either the proceeds of
                                  any L-C or the obligations of the Bank (elther before or after the presentment to the Bank
                                  of sight drafts drawn under such L-C) based on any theory.

                      (g)      Remedy for Improper Drafts. Tenant's sole remedy In connection with the Improper
    presentment or payment of sight drafts drawn under any L"C shall be the right to obtain from Landlord a refund of the
    amount paid in connection with any sight draft(s) that was(were) Improperly presented or the proceeds of which were
    misapplied, provided that, at the time of such refund, Tenant applies such refund to Increases In the amount of such
    L-C to the amount (if any) then required under the applicable provisions of the Lease, as amended. Tenant
    acknowledges that the presentment of sight drafts drawn under any L-0, or the Bank's payment of sight drafts drawn


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    under such L·C, could not under any circumstances cause Tenant Injury that could not be remedied by an award of
    money damages, and that the recovery of money damages would be an adequate remedy therefOr.



                                                [SIGNATURES ON NEXT PAGE)




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               IN WITNESS WHEREOF, Landlord and Tenant have executed this Lease as of the date of this Lease.
                                                                                                                •
     LANDLORD:

     PTF FOR OPERATING ENGINEERS, LLC,
     a Delaw1:1re limited liability company

     Sy:       McMorgan & Company LLC,
               a Delaware 11.!J:ll d llablllty company,
     Its:      Manager ( .                       ~----..,
               By: _ _ _ _ _ _ _/._~~::_~~-
               Name:    Malcolm Talcott
               Its:     Vice President

     TENANT:

     ASSOCIATED THIRD PARTY ADMINISTRATORS, a
     California c i oration , ~ . /)_

     By:        WLJf,t~
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                                                       EXHl!;UTA

                                             DESCRIPTION OF PREMISES

    This Exhibit Is attached to and made a part of !hat certain Standard Form Office Lease dated as of March 21, 2012,
    by and between PTF FOR OPERATING ENGINEERS, LLC, as Landlord, and ASSOCIATED THIRD PARTY
    ADMINISTRATORS, as Tenant for Premises known as 1640 South Loop Road, Alameda, Callfomla,



    Parcel 3, Parcel Map 5274, Flied February 29, 1988, Parcel Map Book 176, page 4, Alameda County Records.


    APN 74-1339-30




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                                                            §XHIBff B

                                                  RULES AND REGULATIONS

    This Exhibit Is attached to and made a part of that certain Standard Form Office Lease dated as of March 21, 2011,
    by and between PTF FOR OPERATING ENGINEERS, LLC, as Landlord, and ASSOCIATED THIRD PARTY
    ADMINISTRATORS, as Tenant for Premises known as 1640 South Loop Road, Alameda, California

              This Exhibit sets forth the rules and regulations governing Tenant's use of the Premises leased to Tenant
    pursuant to the terms, covenants and condltlons of the Lease to which this Exhibit is attached, Unless otherwise
    defined, capitalized terms used herein shall have the same meanings as set forth In the Lease. In the event of any
    conftlot or Inconsistency between this Exhibit and the Lease, the Lease shall control.

             1.         Tenant shall not place anything or allow anything to be placed near the glass of any window, door,
    partition or wall which may appear unsightly from outside the Premises.

             2,         The walls, walkways, sidewalks, entrance passages, courts and vestibules shall not be obstructed
    or used for any purpose other than Ingress and egress of pedestrian travel to and from the Premises, and shall not be
    used for loitering or gathering, or to display, store or place any merchandise, equipment or devices, or for any other
    purpose. Landlord may remove any such obstruction without notice or obligation to Tenant. The wall<ways, entrance
    passageways, courts, vestibules and roof are not for the use of the general public and Landlord shall In all cases
    retain the rlghf to control and prevent access thereto by all persons whose presence In the judgment of the Landlord
    shall be prejudicial to the safety, character, reputation and Interests of the Building, provided that nothing herein
    contained shall be construed to prevent such access to the Building to persons with whom Tenant normally deals In
    the ordinary course of Tenant's business unless such persons are engaged In Illegal actlvltles. Neither Tenant nor
    any employee or Invitee of Tenant, other than HVAC contractors approved by Landlord which service Tenant's HVAC
    equipment which provide service to Tenant's Server Room, shall be permitted upon the roof of the Building,

            3.        No awnings or other projection shall be attached to the outside walls of the Building. No security
    bars or gates, curtains, blinds, shades or screens shall be attached to or hung In, or used In connection with, any
    window or door of the Premises without the prior written consent of Landlord, Neither the Interior nor exterior of any
    windows shall be coated or otherwise sunscreened without the express written consent of Landlord.

              4.        Tenant shall not In any way deface any part of the Premises. Tenant shall not remove or lay
    linoleum, tile, carpet or other similar floor covering so that the same shall be affixed to the floor of the Building In any
    manner except as approved by Landlord In writing. The expense of repairing any damage resulting from a violation
    of this rule or removal of any floor covering shall be borne by Tenant

            5,       The toilet rooms, urinals, wash bowls and other plumbing apparatus shall not be used for any
    purpose other than that for which they were constructed and no foreign substance of any kind whatsoever shall be
    thrown-therein. The expense of any breakage, stoppage-or damage resulting from the-violation of.this rule-shall be
    borne by Tenant.

            6.        Landlord shall direct electricians as to the manner and location of any future telephone wiring. No
    boring or cutting for wires will be allowed without the prior written consent of Landlord. The locations of the
    telephones, call boxes and other office equipment affixed to the Premises shall be subject to the prior written
    approval of Landlord.

             7.        The Premises shall not be used for manufacturing, retail sales, or the storage of merchandise. No
    exterior storage shall be allowed at any time without the prior written approval of Landlord. The Premises shall not be
    used for cooKlng, a beauty parlor, manicuring, any medical use or washing of clothes without the prior written consent
    of Landlord, or for lodging or sleeping or for any Immoral or Illegal purposes,

             8.        Tenant shall not make, or permit to be made, any unseemly or disturbing noises or disturb or
    Interfere with occupants of neighboring buildings or premises or those having business with them, whether by the use
    of any musical Instrument, radio, phonograph, machinery, or otherwise. Tenant shall not use keep or permit to be
    used, or kept, any foul or obnoxious gas or substance In the Premises or permit or suffer the Premises to be used or
    occupied In any manner offensive or objectionable to Landlord or occupants of neighboring buildings or premises by
    reason of any odors, fumes or gases.

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             9.        Parking any type of recreational vehicles Is speciHoally prohibited. No vehicle of any type shall be
    stored In the parking areas at any time, In the event that a vehicle Is disabled, It shall be removed within 48 hours.
    There shall be no 'For Sale" or other advertising signs on or about any parked vehicle. All vehicles shall be parked In
    the designated parking t'lreas In conformation with all signs and other markings.

            10.        Neither Tenant nor any of Tenant's Agents shall at any time bring or keep upon the Premises any
    toxic, hazardous, lnnammable, combustible or explosive fluid, chemical or substance without the prior written consent
    of Landlord. Smoking or carrying cigars or cigarettes on the Premises may be regulated from time to time as
    determined by Landlord, and Tenant and Tenant's Agents shall strictly comply with any such regulations.

            11.        Except as required by law, no animals shall be permitted at any time within the Premises,

            12.         Tenant shall not use the name of the Building In connection with or In promoting or advertising the
    business of Tenant, except as Tenant's address, without the prior written consent of Landlord, Landlord shall have
    the right to prohibit any advertising by Tenant which, In Landlord's reasonable opinion, tends to Impair the reputation
    of the Premises or Its desirability for its Intended uses, and, upon written notice from Landlord, Tenant shall refrain
    from or discontinue such advertising.

           13.        Canvassing, soliciting, peddling, parading, picketing, demonstrating or otherwise engaging In any
    conduct that unreasonably Impairs the value or use of the Premises are prohibited and Tenant shall cooperate to
    prevent the same.

            14.      All equipment of any electrical or mechanical nature shall be placed by Tenant on the Premises, In
    settings approved by Landlord In writing, In such a way as to best minimize, absorb and prevent any vibration, noise
    or annoyance, No cooking shall be done or permitted upon the Premises except pursuant to normal use of a
    microwave oven, toaster oven and coffee maker for the sole benefit of Tenant and Tenant's Agents,

            15,        No safes, computers or other objects larger or heavier than the design load of the Building's floors
    shall be brought Into or Installed In the Premises, Landlord shall have the right to prescribe and approve of the weight
    and poslUon of safes, computers or other large or heavy objects which shall, If deemed necessary by Landlord, be
    placed on some type of applicable platform prescribed by Landlord to distribute the weight. The moving of safes,
    computers or other large or heavy objects shall occur only between those hours as may be designated by, and only
    upon previous written notice to, Landlord, and the persons employed to move those objects In or out of the Building
    must be reasonably acceptable to Landlord.

            16.        No air conditioning unit or other similar apparatus shall be Installed or used by Tenant without the
    prior written consent of Landlord. Tenant shall not Install equlpmen~ such as but not limited to electronic tabulating or
    computer equipment, requiring electrical or air conditioning service In excess of that to be provided by Landlord under
    the Lease.

            17.         No aerial antenna or other devices shall be erected on the roof or exterior walls of the Building, or
    on the grounds, without In-each Instance-the prior- written consent-of Landlord (which consent may be withheld by
    Landlord In Its sole and absolute discretion). Any aerial antenna or other device so Installed by or on behalf ofTenant
    without such written consent shall be subject to removal by Landlord at any time without prior notice at the expense of
    Tenant, and Tenant shall upon Landlord's demand pay a removal fee to Landlord of not less than $500.00.

           18.        Tenant shall not place any movable objects, Including antennas, outdoor furniture, etc., In the
    parking areas, landscaped area or other areas outside of said Premises, or on the roof of said Premises,

            19.       Tenant shall maintain the Premises as provided In the Lease, and except with the written consent
    of Landlord, no person or persons other than those approved by Landlord will be permitted to enter the Building for
    that purpose. Tenant shall not cause unnecessary labor by reason of Tenant's carelessness and Indifference In the
    preservation of good order and cleanliness. All cardboard boxes must be "broken down", and all Styrofoam chips
    must be bagged or otherwise contained so as not to constitute a nuisance.

            20.       Tenant shall see that the windows, transoms and doors of the Premises are closed and securely
    looked before leaving the Building and shall observe strict care not to leave windows open, if applicable, when it
    rains. Tenant shall exercise extraordinary care and caution that all water faucets or water apparatus are entirely shut
    off before Tenant or Tenan~s employees leave the Building, and that all electricity, gas or air shall likewise be


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    carefully shut off, so as to prevent waste or damage, 1;1nd for any default or carelessness Tenant shall make good all
    Injuries sustained by other tenants or occupants of !he Building or Landlord.

            21.       All keys for the Premises shall be provided to Tenant by Landlord and Tenant shall return to
    Landlord any of such keys so provided upon the termination of the Lease. Tenant shall not change locks or Install
    other locks on doors of the Premises, without the prior written consent of Landlord. In the event of loss of any keys
    furnished by Landlord for Tenant, Tenant shall pay to Landlord the costs thereof. Upon termination of Its tenancy,
    Tenant shall deliver to Landlord all keys and access oards to the Premises, the Building and Premises.

            22.        No person shall enter or rernaln on or within the Premises whlle Intoxicated or under the Influence
    of liquor or drugs. Landlord shall have the right to exclude or expel from the Premises any person who, In the
    absolute discretion of Landlord, Is under the Influence of liquor or drugs or who shall In any manner do any act In
    violation of the Rules and Regulatlons of the Premises.

            23.          Tenant shall give Landlord prompt notice of any defects In the water, lawn sprinkler, sewage, gas
    pipes, electrical lights and fixtures, heating apparatus, or any other service equipment or any dangerous or hazardous
    condition existing on the property.

            24.        All electrical equipment used by Tenant shall be U.L. approved, Nothing shall be done or permitted
    In the Premises, and nothing shall be brought Into or kept in the Premises which would Impair or Interfere with any of
    the Building services or the proper and economic heating, cooling, cleaning or other servicing of the Building or the
    Premises.

            25.        Tenant shall furnish and utilize masonlte or plastic floor mats so as to minimize carpet damage
    resulting from the use of rollers on chairs.

              Tenant agrees to comply with all such Rules and Regulations. Should Tenant not abide by these Rules and
    Regulations, Landlord or any "Operator,• "Association• or "Declarant" under any CC&Rs may serve a three (3) day
    notice to correct the deficiencies. If Tenant has not corrected the deficiencies by the end of the notice period, Tenant
    will be in default of the Lease, and, In addition to all other rights and remedies of Landlord, Landlord and/or Its
    designee shall have the right, without further notice, to cure the violation at Tenant's expense.

             Landlord reserves the right to amend or supplement the foregoing Rules and Reguli:i!lons and to adopt and
    promulgate additional rules and regulations applicable to the Premises, and Tenant shall abide by (and cause
    Tenant's Agents to abide by) any such amendments, supplements and additional rules and regulations. Notice of
    such rules and regulations and amendments and supplements thereto, If any, shall be given to the Tenant.

             Neither Landlord nor Landlord's Agents or any other person or entity shall be responsible to Tenant or to any
    other person for the Ignorance or violation of these Rules and Regulations. Tenant shall be deemed to have read
    these Rules and Regulations and to have agreed to abide by them as a condition precedent, walvable only by
    Landlord, to Tenant's occupancy of the Premises,

              Landlord may waive any one or more of these Rules and Regulations for the benefit of any particular tenant
    or tenants, but no such waiver by Landlord shall be construed as a waiver of such Rules and Regulations In favor of
    any other tenant or tenants, nor prevent Landlord from thereafter enforcing any such Rules and Regulatlons against
    any or all tenants of the Building and/or the Premises.

             Rules and Regulations shall also Include such rules and regulations promulgated from time to time pursuant
    lo the CC&Rs, as such rules and regulations may be amended or supplemented from time to time.




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                                                        EXHIBIT 0

                                                LETTER OF CREDIT FORM


                                            (Letterhead of a money center bank
                                                 acceptable to the l.andlord)



    FAX NO, [LJ ~·.-----1                                    [Insert Bank Name And Address]
    SWIFT: [Insert No., If any)

                                                             DATE OF ISSUE:-~------~-

    BENEFICIARY:                                             APPLICANT:
    [Insert Beneficiary Name And Address]                    [Insert Applicant Name And Address]

                                                             LETTER OF CREDIT NO.~~­

    EXPIRATION DATE:                                         AMOUNT AVAILABLE:
    ~----AT OUR COUNTERS                                     USD[lnsert Dollar Amount)
                                                             (U.S. DOLLARS [Insert Dollar Amount])

    LADIES AND GENTLEMEN:

    WE HEREBY ESTABLISH OUR IRREVOCABLE STANDBY LETTER OF CREDIT NO.                            IN YOUR
    FAVOR FOR THE ACCOUNT OF (Insert Tenant's Name], A [Insert Entity Type], UP TO THE AGGREGATE
    AMOUNT OF USD[lnsert Dollar Amount! ((Insert Dollar Amount] U.S. DOLLARS) EFFECTIVE IMMEDIATELY AND
    EXPIRING ON   (Expiration Date)   AVAILABLE BY PAYMENT UPON PRESENTATION OF YOUR DRAFT AT
    SIGHT DRAWN ON [Insert Bank Name] WHEN ACCOMPANIED BY THE FOLLOWING DOCUMENT(S):

          1.     THE ORIGINAL             OF    THIS   IRREVOCABLE      STANDBY      LETTER        OF   CREDIT   AND
    AMENDMENT(S), IF ANY.

           2.    BENEP-ICIARY'S SIGNED STATEMENT PURPORTEDLY SIGNED BY AN AUTHORIZED
    REPRESENTATIVE OF [Insert Landlord's Name], A [Insert Entity Type] ("LANDLORD") STATING ANY ONE OF
    THE FOLLOWING:

              ''THE UNDERSIGNED HEREBY CERTIFIES THAT THE LANDLORD, EITHER (A) UNDER THE
              LEASE (DEEi NED BELOW), OR (B) AS. A RESULT OF THE TERMINATION OF SUCl:LLEASE,
              HAS THE RIGHT TO DRAWTHE AMOUNT OF USD             IN ACCORDANCE WITH THE
              TERMS OF THAT CERTAIN OFFICE LEASE DATED [Insert Lease Data], AS AMENDED
              (COLLECJIVELY, THE "LEASE"), OR SUCH AMOUNT CONSTITUTES DAMAGES OWING BY
              THE TENANT TO BENEFICIARY RESULTING FROM THE BREACH OF SUCH LEASE BY THE
              TENANT THEREUNDER, OR THE TERMINATION OF SUCH LEASE, AND SUCH AMOUNT
              REMAINS UNPAID AT THE TIME OF THIS DRAWING."

    OR

              "THE UNDERSIGNED HEREBY CERTIFIES THAT WE HAVE RECEIVED A WRITTEN NOTICE
              OF [Insert Bank Name]'S ELECTION NOT TO EXTEND ITS STANDBY LETTER OF CREDIT
              NO.              AND HAVE NOT RECEIVED A Rf::;PLACEMENT LETTER OF CREDIT WITHIN
              AT LEAST THIRTY (30) DAYS PRIOR TO THE PRESENT EXPIRATION DATE."

    OR

              "THE UNDERSIGNED HEREBY CERTIFIES THAT BENEFICIARY IS ENTITLED To' DRAW THE
              FULL AMOUNT OF LETTER OF CREDIT NO.            AS THE RESULT OF THE FILING

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              OF A VOLUNTARY PETITION UNDER THE U.S. BANKRUPTCY CODE OR A STATE
              BANKRUPTCY CODE BY THE TENANT UNDER THAT CERTAIN OFFICE LEASE DATED [Insert
              Lease Date], AS AMENDED (COLLECTIVELY, THE "LEASE"), WHICH FILING HAS NOT BEEN
              DISMISSED AT THE TIME OF THIS DRAWING."

    OR

              "THE UNDERSIGNED HEREBY CERTIFIES THAT BENEFICIARY IS ENTITLED TO DRAW THE
              FULL AMOUNT OF LETTER OF CREDIT NO.                    AS THE RESULT OF AN
              INVOLUNTARY PETITION HAVING BEEN FILED UNDER THE U.S. BANKRUPTCY CODE OR A
              STATE BANKRUPTCY CODE AGAINST THE TENANT UNDER THAT CERTAIN OFFICE LEASE
              DATED [Insert Lease Date], AS AMENDED (COLLECTIVELY, THE "LEASE"), WHICH FILING
              HAS NOT BEEN DISMISSED AT THE TIME OF THIS DRAWING."

    OR

              "THE UNDERSIGNED HEREBY CERTIFIES THAT BENEFICIARY IS ENTITLED TO DRAW THE
              FULL AMOUNT OF LETTER OF CREDIT NO:                   AS THE RESULT OF THE
              REJECTION, OR DEEMED REJECTION, OF THAT CERTAIN OFFICE LEASE DATED [Insert
              Lease Date], AS AMENDED, BY iHE TENANT THEREUNDER, UNDER SECTION 365 OF THE
              U.S. BANKRUPTCY CODE."

    OR

              'THE UNDERSIGNED HEREBY CERTIFIES THAT BENEFICIARY IS ENTITLED TO DRAW THE
              FULL AMOUNT OF LEDER OF CREDIT NO.                    AS THE RESULT OF iHE
              TENANT UNDER THAT CERTAIN OFFICE LEASE DATED [Insert Lease Date], AS AMENDED,
              BEING PLACED INTO RECEIVERSHIP OR CONSERVATORSHIP OR SIMILAR PROCEEDING
              UNDER STATE OR FEDERAL LAW."

    OR

              "THE UNDERSIGNED HEREBY CERTIFIES THAT BENEFICIARY IS ENTITLED TO DRAW THE
              FULL AMOUNT OF LETTER OF CREDIT NO.                   AS THE RESULT OF THE
              TENANT UNDER THAT CERTAIN OFFICE LEASE DATED [Insert Lease Date], AS AMENDED,
              HAVING EXECUTED AN ASSIGNMENT FOR THE BENEFIT OF CREDITORS.'

    OR

              "THE UNDERSIGNED HEREBY CERTIFIES THAT BENEFICIARY IS ENTITLED TO DRAW THE
              FULL AMOUNT OF LETTER OF CREDIT NO.                      BECAUSE THE TENANT
              UNDER THAT CERTAIN OFFICE.LEASFDATE (Insert Lease Date] HAS NOT PROVIDED THE
              BENEFICIARY WITH A REPLACEMENT LETTER OF CREDIT WITHIN TEN DAYS FOLLOWING
              THE OCCURRENCE OF EITHER OF THE FOLLOWING; (I) THE BANK'S FITCH RATINGS (OR
              OTHER COMPARABLE RATINGS IF THE FITCH RATINGS ARE NO LONGER AVAILABLE),
              HAVE BEEN REDUCED BELOW THE FliCH SHORT TERM RATING OF 'F1' AND LONG TERM
              RATING OF 'A' (OR SUCH COMPARABLE RATINGS IF THE.FITCH RATINGS ARE NO LONGER
              AVAILABLE) OR (II) A·MATERIAL ADVERSE CHANGE IN THE FINANCIAL CONDITION OF THE
              BANK."

    SPECIAL CONDITIONS:

    PARTIAL DRAWINGS AND MULTIPLE PRESENTATIONS MAY BE MADE UNDER THIS STANDBY LETTER OF
    CREDIT, PROVIDED, HOWEVER, THAT EACH SUCH DEMAND THAT IS PAID BY US SHALL REDUCE THE
    AMOUNT AVAILABLE UNDER THIS STANDBY LETIER OF CREDIT.

    ALL INFORMAilON R~QUIRED WHETHER INDICATED BY BLANKS, BRACKETS OR OTHERWISE, MUST BE
    COMPLETED AT THE TIME OF DRAWING. [Please Provide The Required Forms For Review, And Attach As
    Schedules To The Letter Of Credit.]


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    ALL SIGNATURES MUST BE MANUALLY EXECUTED IN ORIGINALS.

    ALL BANKING CHARGES ARE FOR THE APPLICANT'S ACCOUNT.

    IT IS A CONDITION OF THIS STANDBY LETTER OF CREDIT THAT IT SHALL BE DEEMED AUTOMATICALLY
    EXTENDED WITHOUT AMENDMENT FOR A PERIOD OF ONE YEAR FROM THE PRESENT OR ANY FUTURE
    EXPIRATION DATE, UNLESS AT LEAS! THIRTY (30) DAYS PRIOR TO THE EXPIRATION DATE WE SEND YOU
    NOTICE BY NATIONALLY RECOGNIZED OVERNIGHT COURIER SERVICE THAT WE ELECT NOT TO EXTEND
    THIS LETTER OF CREDIT FOR ANY SUCH ADDITIONAL PERIOD. SAID NOTICE WILL BE SENT TO THE
    ADDRESS INDICATED ABOVE, UNLESS A CHANGE OF ADDRESS IS OTHERWISE NOTIFIED BY YOU TO US
    IN WRITING BY RECEIPTED MAIL OR COURIER. ANY NOTICE TO US WILL BE DEEMED EFFECTIVE ONLY
    UPON ACTUAL RECEIPT BY US AT OUR DESIGNATED OFFICE. .IN NO EVENT, AND WITHOUT FURTHER
    NOTICE FROM OURSELVES, SHALL THE EXPIRATION DATE BE EXTENDED BEYOND A FINAL EXPIRATION
    DATE OF SIXTY (60) DAYS FROM THE EXPIRATION DATE OF THE LEASE, AS AMENDED,

    THIS LETTER OF CREDIT MAY BE TRANSFERRED SUCCESSIVELY IN WHOLE OR IN PART ONLY UP TO THE
    THEN AVAILABLE AMOUNT IN FAVOR OF A NOMINATED TRANSFEREE ("TRANSFEREE"), ASSUMING SUCH
    TRANSFER TO SUCH TRANSFEREE IS IN COMPLIANCE WITH ALL APPLICABLE U.S. LAWS AND
    REGULATIONS. AT THE TIME OF TRANSFER, THE ORIGINAL LETTER OF CREDIT AND ORIGINAL
    AMENDMENT(S) IF ANY, MUST BE SURRENDERED TO US TOGETHER WITH OUR TRANSFER FORM
    (AVAILABLE UPON REQUEsn AND PAYMENT OF OUR CUSTOMARY TRANSFER FEES, WHICH FEES SHALL
    BE PAYABLE BY BENEFICIARY, BUT NOT IN EXCESS OF $200,00, WITH THE BALANCE, IF ANY, TO 13E PAID
    BY APPLICANT (PROVIDED THAT APPLICANT MAY, BUT SHALL NOT BE OBLIGATED TO, PAY SUCH FEES
    TO US ON BEHALF OF BENEFICIARY, AND SEEK REIMBURSEMENT THEREOF FROM BENEFICIARY, BUT NO
    SUCH REIMBURSEMENT SHALL EXCEED $200,00), IN CASE OF ANY IRANSFER UNDER THIS LETTER OF
    CREDIT, THE DRAFT AND ANY REQUIRED STATEMENT MUST BE EXECUTED BY THE TRANSFEREE AND
    WHERE THE BENEFICIARY'S NAME APPEARS WITHIN THIS STANDBY LETTER OF CREDIT, THE
    TRANSFEREE'S NAME IS AUIOMATICALLY SUBSTITUTED THEREFOR,

    ALL DRAFTS REQUIRED UNDER THIS STANDBY LETTER OF CREDIT MUST BE MARKED: "DRAWN UNDER
    [Insert Bani< Name] STANDBY LETTER OF CREDIT NO,    "

    WE HEREBY AGREE WllH YOU THAT IF DRAFTS ARE PRESENTED TO [Insert Bank Name] UNDER THIS
    LETTER OF CREDIT AT OR PRIOR TO [Insert Time -(e.g., 11:00 AM)], ON A BUSINESS DAY, AND PROVIDED
    THAT SUCH DRAFTS PRESENTED CONFORM TO THE TERMS AND CONDITIONS OF THIS LETTER OF
    CREDIT, PAYMENT SHALL BE INITIATED BY US IN IMMEDIATELY AVAILABLE FUNDS BY OUR CLOSE OF
    BUSINESS ON THE SUCCEEDING BUSINESS DAY. IF DRAFTS ARE PRESENTED TO [Insert Bank Name]
    UNDER THIS LETTER OF CREDIT AFTER [Insert llme - (e.g., 11:00 AM)], ON A BUSINESS DAY, AND
    PROVIDED THAT SUCH DRAFTS CONFORM WITH THE TERMS AND CONDITIONS OF THIS LETTER OF
    CREDIT, PAYMENT SHALL BE INITIATED BY US IN IMMEDIATELY AVAILABLE FUNDS BY OUR CLOSE OF
    BUSINESS ON THE SECOND SUCCEEDING BUSINESS DAY, AS USED IN THIS LETTER OF CREDIT,
    "BUSINESS DAY" SHALL MEAN ANY DAY OTHER THAN A SATURDAY, SUNDAY OR A DAY ON WHICH
    BANKING INSTITUTIONS IN THE-STATE OF CALIFORNIA ARE AUTHORIZED OR REQUIRED BY lJ\W TO
    CLOSE, IF THE EXPIRATION PATE FOR THIS LETTER OF CREDIT SHALL EVER FALL ON A DAY WHICH IS
    NOT A BUSINESS DAY THEN SUCH EXPIRATION DATE SHALL AUTOMATICALLY BE EXTENDED TO THE
    DATE WHICH IS THE NEXT BUSINESS DAY.

    PRESENTATION OF A DRAWING UNDER THIS LETTER OF CREDIT MAY BE MADE ON OR PRIOR TO THE
    THEN CURRENT EXPIRATION DATE HEREOF BY HAND DELIVERY, COURIER SERVICE, OVERNIGHT MAIL,
    OR FACSIMILE. PRESENTATION BY FACSIMILE TRANSMISSION SHALL BE BY TRANSMISSION OF THE
    ABOVE REQUIRED SIGHT DRAFT DRAWN ON US TOGETHER WITH THIS LETTER OF CREDIT TO OUR
    FACSIMILE NUMBER, [Insert Fax Number - (_)_.__J, ATTENTION: [Insert Appropriate Recipient], WITH
    TELEPHONIC CONFIRMATION OF OUR RECEIPT OF SUCH FACSIMILE TRANSMISSION AT OUR TELEPHONE
    NUMBER [Insert Telephone Number - L_J _.__J OR TO SUCH OTHER FACSIMILE OR TELEPHONE
    NUMBERS, AS TO WHICH YOU HAVE RECEIVED WRITTEN NOTICE FROM US AS BEING TI-IE APPLICABLE
    SUCH NUMBER, WE AGREE TO NOTIFY YOU IN WRITING, BY NATIONALLY RECOGNIZED OVERNIGHT
    COURIER SERVICE, OF ANY CHANGE IN SUCH DIRECTION. ANY FACSIMILE PRESENTATION PURSUANT
    TO THIS PARAGRAPH SHALL ALSO STATE THEREON THAT THE ORIGINAL OF SUCH SIGHT DRAFT AND
    LETTER OF CREDIT ARE BEING REMITTED, FOR DELIVERY ON THE NEXT BUSINESS DAY, TO [Insert Bank
    Name] AT THE APPLICABLE ADDRESS FOR PRESENTMENT PURSUANT TO THE PARAGRAPH FOLLOWING
    THIS ONE,

    631227.10/SF                                 EXHIBITC
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                                          Exhibit 1-6 Page 52 of 71


                                  (


    WE HEREBY ENGAGE WITH YOU THAT ALL DOCUMENT(S) DRAWN UNDER AND IN COMPLIANCE WITH THE
    TERMS OF THIS STANDBY LETIER OF CREDIT WILL BE DULY HONORED IF DRAWN ANP PRESENTED FOR
    PAYMENT AT OUR OFFICE LOCATED AT [Insert Bank Name], (Insert Bank Address], ATTN: [Insert Approprfate
    Recipient], ON OR BEFORE THE EXPIRATION DATE OF THIS CREDIT,    (Explratloo Date)

    IF THE ORIGINAL OF THIS STANDBY LETTER OF CREDIT IS LOST, STOLEN, MUTILATED, OR OTHERWISE
    DESTROYED, WE HEREBY AGREE TO ISSUE A DUPLICATE ORIGINAL HEREOF UPON RECEIPT OF A
    WRITTEN REQUEST FROM YOU AND A CERTIFICATION BY YOU (PURPORTEDLY SIGNED BY YOUR
    AUTHORIZED REPRESENTATIVE) OF THE LOSS, THEFT, MUTILATION, OR OTHER DESTRUCTION OF THE
    ORIGINAL HEREOF,

    EXCEPT SO FAR AS OTHERWISE EXPRESSLY STATED HEREIN, .THIS STANDBY LETTER OF CREDIT IS
    SUBJECT TO THE "UNIFORM CUSTOMS AND PRACTICES FOR DOCUMENTARY CREDITS, 2007 REVISION,
    INTERNATIONAL CHAMBER OF COMMERCE (PUBLICATION NO, 600) ("UNIFORM CUSTOMS"). AS TO
    MATIERS NOT GOVERNED BY THE UNIFORM CUSTOMS, THIS STANDBY LETIER OF CREDIT SHALL BE
    GOVERNED BY AND CONSTRUED IN ACCORDANCE WIT THE LAWS OF THE STATE OF CALIFORNIA.



                                                  Very truly yours,

                                                  (Name of Issuing Bank)




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    3702s1-00009/4-5-12/lomllam                      .4.
Case 2:16-bk-23679-SK                       Doc 354-1 Filed 03/15/17 Entered 03/15/17 16:36:50                                                  Desc
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                                        (



                                                                     .EXHIBIT D


                              APPROVED TENANT IMPROVEMENT COSTS AS Of M8BCH 30, 2012

    Vendor                    Invoice       lnvoloe Dato   Deacrlptlon
    George Masker lno.        22620         1/1912012      Paint for Alameda                                                     ~
                                                           Subtotal                                                              3~,663,60




    DX Baxley                 16077         1/16/2012      Carpel for Alameda                                                    ~
                                                           l.lubtotal                                                             82,631,26


    Dawson Eleotrlo           72111         1/31/2012      Eleotrlo for Alameda                                                    1,629.06
    Dawson Slecirlo           72095         1/31/201~      Work req«lred to reconfigure Alameda                                   4.fllliLll2
                                                           Subtotal                                                                61609.BS


    &JV!oe Wes1               162305·       1129/2012      Work required to consolidate from Concord \o Alameda                    4,000.00
                              N001
    Service West              160126        11/10/2011     Work required to reoonOgure to Alameda                                .11i.B51l.On
                                                           Subtotal                                                              19,365.00


    RelooaUon Connecllons     327647        11/16/2011     Porilon or lnvoloe tolal Space planning and project mgmt to             2,406,22
                                                           reconflgl1re Alameda
    Relooauon Connections     327679        1211/2011      Project mgmt Alameda                                                     745.00
    Relooatlon Connections    327066        12116/2011     Por1fon ol Invoice total Pro)eot mg mt for carpaUpalnt Alameda          2,453,75
    Relocation Connections    327916        1/1/2012       Portion of Invoice total Projeot mg ml for oarpaVpalnt Alamecfa         3,024.26
    Relooallon Connections    327935        1/16/2012      Portion of Invoice total Project mgmt for carpeVpalnl Alall\eda         1,699,50
   , Relooatlon Conneotlons   327959        21112012       Portion of Invoice total Project ffil/frlt for carpeUpalnl Alameda      1,116.25
    Relooatlon Connecllons    327991        2/1612012      Portion of Invoice total Pro)eol rn(lml for carpaUpalnl Alameda         ~
                                                           Subtotal                                                               11,ll10,22


    Ralocauon connections     327847        11/16/2011     Portlon or Invoice total, $Jlllca planning ancf projeol mgmt lo        ~
                                                           rnoonngure Alameda. Appllcable to Test FllAllowanc~·
                                                           l.lubtotal                                                              4,000.00


                                                           Subtotal Applloabla to Tonant Jmprovamont AllowaMe                   $123,677.06
                                                           Subtotal Applicable to Test Flt Allowmo&                             $ 4,000,00
                                                           'rota I                                                              $127,677.Bff




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                                           FIRST AMENDMENT TO LEAS.E

            THIS Fl.RST AMENDMENT TO LEASE (this "Amendment") is made ~nd entered Into as
   of Octoper :.3J~t' 2013; by and between .PTF for Operating Engineers, LLC, a Delaware limited
   liability company ("Landlord"), and Associated Third· Party Administrators, a California
   corporation ("Tenant").




          A.     Landlord and Tenant have heretofore entered into a Standard Form Office Lease
   (Base Year) dated as of March 21, 2012 (the "Lease").                                  · ·

          B.      Under the Lease.• Tenant is leasing approximately 49,067 rentable square. feet in
   the building located at 1640 South LOOP Road, Alameda, California (as. more particularly
   described in the Lec;1se, the "Premises").

           c~    The Lease provides for a Fifteen Dqllar ($15,00) tenant impr<:)vement allowance
   which was split Into a Fowr bollar Allowance, available to the Tenant during the first: twelve
   months following the date. of the Lease, and an Eleven Dollar Allowance, availaple if there .is a
   Qualified Guarantor Recapitalization, for a period of twelve (12) months following the Qualified
   Guarantor Recapita!izatibn.

           D.     Landlord and "fenant now desjr~ to amend the Lease to change the Eleven
   DoUar Allowance Into an Eight Dollar Allowance and a Three Dollar Allowance and to make
   certain other changes set forth below.




          NOVV, THEREFORE, for valuable consideration, the receipt and sufficiency of which are
   hereby acknowledged, Landlord and Tenant .agree as follows:                             ·

         1.     Defined Terms. All terms defined In the Lease:When used herein shall have the
   meanings ascribed to such terms in the Lease unle9s expressly supi;irseded by the terms. qf this
   Amendment.

            2.      Improvement Allowance.         The Eleven Dollar Allowance, as defined In
   Section 22.1 (f) of the Lease, I~ hereby modified to be split Into an allowance of (I) Three Dollars ·
   ($3.00) per agreed rentable square foot of the Premises (the "Three Dollar AUmNanc~"), ~nd
   (ii) Eight Dollars ($8.00) per agreecj rentable square foot of the Premises (the 11 Eight Dollar
   Allowance").

                    (a)      The Three Dollar Allqwance shall be availabie to Tenant following the
    mutual execution of this Amendment and shall be disbursed to Tenant In the same manner that
    the Four Dollar Allowance, al:! defined in. Section 22 ..1(f) of the Lease, was disbursed to Tehaht.
    Landlord .shall retain (lny part of tile Three D.ollar Allowance riot paid to Tenant during the period
    following the date of this Amendment and ending six (6) months thereafter,




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                   (b)       The E:lght Dollar Allowance shall be avallable to Tenant if Guarantor has ,
   a Ol.lalified Guarnntor Recapitalization on or befo're December 31, 2013. If the Guarantor
   Recapitalization does not bec()rne a Qualified Gl.larantor Recapitalization on or before
   December 31, 2013, t.hen the Eight Pollar Allowance shall hot be. available at all and the
   Monthly Rent for the balance of the Initial Term of the Lease shall be' red1.1ced as shown In the
   "Alternat,e Monthly Rent Table if no Q'ualified Guarantor Recapitalization" which Is included in
   Section 9 of the Basic Lease Provisions of the Lease, as modified by thisAmendment.
   Landlord shall retain aDY portion of the Eight Dollar Allowance not paid to Tenant during the
   period starting on the date the Guarantor Recapitalization becomes a Qualified Guarantor
   Recapitalization and ending twelve (12) .months thereafter. Notwithstanding the preceding
   ~entence, if Tenant qucillfles for the Eight Pollar Allowance and if amounts thereunder have not
   been paid to Tenant during the twelve (12) mont.h. period when the Eight Dollar Allowance may
   be paid to Tenant, then the unpaid portion of the Eight Dollar Allowance, but not in excess of
   Five Dollars ($5.00) per agreed rentable square foot in the Building, shall be appliec:l to re.duce
   the Rent payable ln each fl.lll calendar month remaining In the Term of the Le.ase from and
   inclwding the first full calendar month of the Term following the twelve (12) month period and the
   last of which shall be the final full calendar month of theT«i;:irm (with the reduction In each month
   to be equal to the amount of the reductloh in.each other month).

            3.      Guarantor Recapitalization. The second sentence of Section 21.20 sets forth
   several requirements which, .If completed, comprise a "Guarantor Recapitalization." The second
   of these requirements is set forth in clause (ii) of i;;uch second sen,tence which clause is h€3reby
   rnocilfied to read, a!;) follows: "(ii) ec:ich of G.ua.rantor's loar]s shall havE:i a maturity date that may
   not be acceleratE;id by the lender for any reason other than default by th,e 0\la~antor;". The
   parties agree that the requirements of a Guarantor Reccipitallzation have not yet occurred due
   to the fqct not all of the requirements of a Guarantor Recapltallzatlon have bccurrE;id Including,
   without limitation, that the Guarantor's debt, excluding trade pc:iyables 1 has not. been r~duced to
   less than Seven Mllllon Dollars ($7,000,000),

           4.      Alternate Monthly Rent Table if no Qualified Guarantor Recapitalization.
   Tile table. in Seqtior 9 of the ~e,ase;i,. which is. hea.ded with the caption "Alternate Monthly Rent
   Table if no Qualified Guarantor Recapitalization, 11 is· hereby amended; I~ its entirety, to read
   as follows:


            . Alternate Monthly Rent !able if no Qualified Guarahtor Recabitalizatlon

              Not'Nlthstandlng the above table, from gnd after February 1, 2014, the Monthly Rent
              shall be the following If there is no Qualified Guarantor Recapitalization by December 31,
              2013:

                         Period of the Term            Monthly Rent for Each
                                                       Month During the Perl.od

                    Feb. 1, 2014 - Nov. ,30, 2014             $93,723,09
                    Pee. 1, 2014 - Nov. 30, 2015               $96,994.78
                    bee. 1, 2015-Nov. 30, 2016                 $99,7{35.63
                    Deo. 1, 2016- Nov. 30, 2017               $102,908.30




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            5.      Ratification ahd Confirmation. Except as set forth in th1$ Amendment, all of
   the terms aqd provisiqqs of .the ~€lase Ji.re hereby ratified and confirmed. and shall remain
   unmodified and in full force and. effect and each of Teriant'.s representations h1 the Lecise are
   hereby remade and shall be true .a.nd corre.ct as. pf th.e date when originally made and as of the
   date of this Amendment. Each p$rty represents to the other party that the party making the
   representation does not know of any breach or qefaylt by the other party under the Lease nor is
   the psriy making the representation aw13re 9f any event or ¢1rcurnstance which would be a
   breach, default or Event .of Default under the Lease, by t.he other party, with the giving of notice
   or the P<=lssage of time or both.. In the even~ of any conflict between the terms and conditions of
   th.e LE:Jase cind the terms and conditions of this Amendment, the terms and cor:idit.lons of this
   Amendment shall prevail.

           6.     Counterparts.         This. Amendment may be executed in any number of
    counterparts, each ()f which shall be d.eemed.to be an original, and all of Which counterparts,
    when taken together, shi;ill b.e deemed to constitute one and .the sar'ne instrument.

             IN WITNESS WHEREOF, the parties hereto h.ave executed .this Amendment as of the
    date first above written.

    LANDLORD:                                              TENANT:

    PTF FOR OPERATING ENGINEERS, LLC,                      ASSOCIATED THIRD PARTY
    a Delaware limited liability company                   ADMINISTRATORS,
                                                           a California corporation



    Its:



                 Name:·Matcoh1"i Talcott ~
                 Title: -vtee-firesldent                      Name: _ _ _ _ _ _ _ _ _ __
                                                              Title: _ _ _ _ _ _ _ _.___ _
                      MA ~-f?- ~ IA-"YL<1;,.k_.
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                    EXHIBIT 3
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From:                           Aaron E. de Leest <adeleest@dgdk.com>
Sent:                           Thursday, February 2, 2017 4:57 PM
To:                             Kathleen.Andrade@colliers.com
Cc:                             Gold, Ivan; Richard K. Diamond
Subject:                        ATPA


Kathleen

It was a pleasure meeting you today. Just as an FYI, the trustee's accountants will be at the Alameda property
tomorrow as well.

Sent from my iPhone


Danning, Gill, Diamond & Kollitz, LLP
1900 Avenue of the Stars, 11th Floor
Los Angeles CA 90067
(310) 277-00771(310)277-5735 fax
adeleest@dgdk.com I www.dgdk.com


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                    EXHIBIT 4
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                                             Exhibit 1-6 Page 61 of 71



From:                                Aaron E. de Leest <adeleest@dgdk.com>
Sent:                                Friday, February 3, 2017 11 :32 AM
To:                                  Andrade, Kathleen (REMS-WNC)
Cc:                                  Gold, Ivan; Richard K. Diamond
Subject:                             Re: ATPA


Kathleen

I don't have a problem with you going by today to take pictures. You can reach the trustee's
Representatives who should still be on site today at the numbers below

   David -281-217-1310
Dorian - 650-201-2760

Sent from my iPhone

On Feb 2, 2017, at 5:13 PM, Andrade, Kathleen (REMS-WNC) <Kathleen.Andrade@colliers.com>
wrote:

        Aaron,

        Do you mind if I return to the property tomorrow, while the accountants are on-site, and
        take a few pictures of the interior condition of the building? Please advise if this is possible
        and, if so, what time.

        Thanks!

        Kathleen Andrade
        Property Manager
        (925) 279-4600
        Kathleen.Andrade@colliers.com




Aaron E. de Leest
Danning, Gill, Diamond & Kollitz, LLP
1900 A venue of the Stars, 11th Floor
Los Angeles CA 90067-4402
(310) 277-00771(310)277-5735 fax
adeleest@dgdk.comIwww.dgdk.com




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intended to bind the sender, Danning, Gill, Diamond & Kollitz, LLP, any of its clients, or any other person or entity.




            -----Original Message-----
            From: Aaron E. de Leest [mailto:adeleest@dgdk.com]
            Sent: Thursday, February 02, 2017 4:57 PM
            To: Andrade, Kathleen (REMS-WNC) <Kathleen.Andrade@colliers.com>
            Cc: Gold Ivan <igold@allenmatkins.com>; Richard K. Diamond <RDiamond@dgdk.com>
            Subject: ATPA

            Kathleen

            It was a pleasure meeting you today. Just as an FYI, the trustee's accountants will be at the
            Alameda property tom01Tow as well.

            Sent from my iPhone


            Danning, Gill, Diamond & Kollitz, LLP
            1900 Avenue of the Stars, 11th Floor
            Los Angeles CA 90067
            (310) 277-0077 I (310) 277-5735 fax
            adeleest@dgdk.comIwww.dgdk.com


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transaction or matter addressed herein.




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                    EXHIBIT 5
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....... --- ........ ,.___,.____ . ___J_~j.~----~t\.b S:::......~- ..~--- ,__JJ~:'S-:r:.~..l,,.~.E..J~'<........ ---· ............... ·····------·-··--··- ... ····-.-"-· .... -- --- ····-~
....... .......... ·-·--------- .----Ba.:S0W.. b.r?.:C>-----~- ..        ----~ .... \J:::J_.~::c8 . Li.,.,cJ~..,,----·-···-----·-· .. ·---·------~----- ·" ..               ----····· ......... .
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E-MAIL ADDRESS:
SPANTA@DODK.COM
                                    DGDK
                                    DANN ING, GILL, bIAMOND. &. KOLLITZ,   LLP
                                                                                          1900 AVENlJB OF THE STARS
                                                                                                          11 111 FLOOR
                                                                                 Los ANGELES, CALIFORNIA 90067-4402

                                                                                                (310) 277-0077 -TllL
                                                                                                (310) 277-5735- FAX



                                               February 27, 2017

    TO:                  Kathleen Andrade
                         Property Manager
                         Colliers International
                         1850 Mount Diablo Boulevard, Suite
                         200
                         Walnut Creek, CA 94596


    FROM:                Shelly Panta
                         Paralegal

    RE:                  ATP A Alameda Location


    Enclosed please find: FOB for Alameda location

    D     For your information
    D     Please sign
    D     Please read
    D     Please comment
    D     Please return to me
    D     Please file and return a conformed copy
    D     Please telephone me
    D     Please acknowledge receipt
    D     For your files
    D      Please handle
     D     Please read and advise me how to reply
     D     In accordance with your request

     SP:sp




     1397717.1 1623679
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                    EXHIBIT 6

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From:                                     Andrade, Kathleen (REMS-WNC) <Kathleen.Andrade@colliers.com>
Sent:                                     Friday, March 10, 2017 9:08 AM
To:                                       Nicholas R. Troszak
Cc:                                       Tom Jeremiassen; Rowen Dizon; Aaron E. de Leest; Gold, Ivan
Subject:                                  RE: APTA - Associated Third Party Administrators - Office Visit


Nicholas,

Thank you for the clarification on the time. With regards to the alarm system, I am unable to provide you with a direct
answer as to It being active/non-active as this account was the responsibility of ATPA. I can state that when I entered
the alarm code provided by the Trustee last Friday the alarm pad did not do anything ... nor did any alarms sound.

Regards,
  Kathleen

Kathleen Andrade
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From: Nicholas R. Troszak [mailto:NTroszak@thlnkbrg.com]
Sent: Thursday, March 09, 2017 6:00 PM
To: Andrade, Kathleen (REMS-WNC) <Kathleen.Andrade@colliers.com>
Cc: Tom Jeremiassen <TJeremiassen@thlnkbrg.com>; Rowen Dizon <RDizon@thlnkbrg.com>; Aaron E. de Leest
<adeleest@dgdk.com>; Ivan Gold <igold@allenmatklns.com>
Subject: RE: APTA - Associated Third Party Administrators - Office Visit
                                                                         1
        Case 2:16-bk-23679-SK            Doc 354-1 Filed 03/15/17 Entered 03/15/17 16:36:50                    Desc
                                             Exhibit 1-6 Page 69 of 71


Kathleen,

Rowen will have a key to the building and will be there prior to 10 AM working and more than likely be at the office after
2 PM. Once Rowen reviews the unlocked offices, he will need access to the offices that only open with the key fob. My
understanding Is that you possess the key fob for these locked offices. Rowen will need to access these offices to review
their contents and possibly package up accounting records/documents.

Also, our understanding Is that the office has an alarm system, but lt currently Is not active. Can you please confirm the
alarm is not active? If it is active, can you please provide the security access code? Rowen can then disarm/arm the
alarm upon arrival and departure.

Please let us know your thoughts on the above. I have not been to the office, so all the assistance you can provide
would be great.

Thanks again



Nicholas R. Troszak I Associate Director

Berkeley Research Group, LLC
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D 310.499.4741I0 510.285.3300 IM 517.290.6000 IF 424.371.2031
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From: Andrade, Kathleen (REMS-WNC) [mailto:Kathleen.Andrade@colllers.com]
Sent: Thursday, March 9, 2017 4:16 PM
To: Nicholas R. Troszak <NTroszak@thlnkbrg.com>
Cc: Tom Jeremiassen <TJeremlassen@thlnkbrg.com>; Rowen Dizon <RDizon@thlnkbrg.com>; Aaron E. de Leest
<adeleest@dgdk.com>; Ivan Gold <lgold@allenmatkins.com>
Subject: RE: APTA - Associated Third Party Administrators - Office Visit


Nicholas,

As I mentioned, I will be on-site March 15th from 10a-2p to accommodate an alternate vendor access. Do you anticipate
Rowen needing access to the building beyond 2pm? Reason I ask, is because you had mentioned that Rowen has a key
to building and I wanted to know If he would be using It to access the building after 2pm.

Thank you.

Kathleen Andrade
Property Manager

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                                                             2
          Case 2:16-bk-23679-SK                  Doc 354-1 Filed 03/15/17 Entered 03/15/17 16:36:50          Desc
                                                     Exhibit 1-6 Page 70 of 71
For properties: 2610 Crow Canyon Road, San Ramon,· Kiewit Infrastructure, Fairfield

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                         2016 T-op Property Mana«ers
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From: Nicholas R. Troszak [mailto:NTroszak@thinkbrg.com]
Sent: Thursday, March 09, 2017 3:57 PM
To: Andrade, Kathleen (REMS-WNC) <Kathleen.Andrade@colliers.com>
Cc: Tom Jeremlassen <TJeremiassen@thlnkbrg.com>; Rowen Dizon <RDizon@thinkbrg.com>; Aaron E. de Leest
<adeleest@dgdk.com>
Subject: APTA - Associated Third Party Administrators - Office Visit


Hello Kathleen,



It was a pleasure speaking with you today.



Rowen Dizon from Berkeley Research Group, LLC ("BRG") will be visiting the APTA Alameda office located at 1640 South
Loop Road, Alameda, CA. on March 16, 2017. Rowen will be arriving ·at the office early morning on March 16, 2017 and
will more than likely be at the offices until late afternoon. Rowen will be locating, reviewing and packing up accounting
records (For example account receivable and account payable records, bank statements, canceled checks, etc.) for
shipment to Los Angeles. If you could please meet Rowen at the office prior to noon to open the locked doors, that
would be great.



 Rowen's cell phone number is 626-463-8755 and he is also cc'd on this email.



Thanks again and please let us know if you have any questions.



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                                                   Exhibit 1-6 Page 71 of 71


Nicholas R. Troszak I Associate Director



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